      Case 1:19-md-02915-AJT-JFA Document 2285-1 Filed 11/07/23 Page 1 of 119 PageID#
                                         49990
                                Must be postmarked        CAPITAL ONE SETTLEMENT ADMINISTRATOR
   '400551829999999995'
                                or submitted oniine                           P.O. BOX 4518
                                NO LATER THAN                         PORTLAND.OR 97208-4518
                                September 30,2022              WWW.CAPITALONESETTLEMBNT.COM


                                      Capital One Data Breach Claim Form
                          SETTLEMENT BENEFITS- WHAT YOU MAY GET
      If you are a U.S. resident whose information was accessed in the Capital One data breach announced on
      July 29,2019, you may submit a claim.
      The easiest way to submit a claim is online at www.CapitalOneSettlement.com, or you can complete and
      mail this claim form to the mailing address above.
     You may submit a claim for one or more of these benefits:

     Identity Defense Services: Use the claim fonn to request free Identity Defense Services.
     Cash Reimbursement. Use the claim form to request money for one or more ofthe following:
              1. Reimbursement for Money You Spent. If you spent unreimbursed money trying to avoid or recover from
                 fraud or Identity theft that you believe is fairly traceable to the Capital One data breach (Out-of-Pocket
                 Losses), you can be reimbursed up to $25,000(including any claim for lost time). You must submit documents
                 supporting your claim.
          2. Reimbursement for Lost Time. If you spent time trying to avoid or recover from fraud or identity theft
             that you believe is fairly traceable to the Capital One data breach, you can get the greater of$25 per hour
             or your documented hourly wage for up to 5 total hour's, or up to 15 total hours if you provide supporting
                 documents demonstrating a valid claim for out-of-pocket losses.
     Restoration Services are an additional benefit that is separate from Identity Defense Services. No claim is required
     for Restoration Services, which can assist with fraud resolution. U.S. residents whose information was accessed
     in the Capital One data breach will be able to access Restoration Services for a period of at least 3 years once the
     settlement is final. More information is available at www.CapitalOneSettlement.com.
      Claims must be submitted online or mailed by September 30,2022. Use the address at the top of this form
                                                        for mailed claims.

      Phase note: the settlement administrator may contact you to request additional documents to process your
      claim. Your cash benefit may decrease depending on the number and amount ofclaimsfled.
      For more information and complete instiMctions visit www.CapitalOneSettlement.com.
       Please note that Settlement benefits will be distributed only after the Settlement is approved by the Court
       and becomes final.

       If you make a claim for a cash payment in this claim form, after the settlement is approved, you will receive an
       email at the email address you provide, prompting you to select how you would like to be paid. You can receive
       your payment via a variety ofdigital options such as digital debit card or PayPal,or you can elect to receive a check.




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                                                 Your Information
       We will vse this information to contactyou andprocessyour claim. It will not be usedfor any otherpurpose.If
                     any ofthefollowing information changes^ you mustpromptly notify us iy emailing
                                             info@CapitaTOneSettlement.com.
                                                         Middle
     First Name                                          Initial   Last Name

                                                       I I ^ M/l/l \Mif\MJ\ I? 1/1/4^^
     Name ofBusiness: 7

     Alternative Name(s; (If Any):


     Unique ID(As shown on the notice you received):


     Mailing Address(Required
     ^\C?\ WIKI/L^I/k71X4 I M17f
     Cityy                                                   if                       State     ZIP

                                                                                     ^ \o\?\3mz
     Phone Number

     zro -zzzi-izzzz
     Email Address:

     H V.l/rV                                  'WVA/('W'^4WIAA / \^'\M
     Year ofBfrlh(Required): i
                     WJ




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                                          Free identity Defense Services
                                 You may be eligible to receivefreeIdentity Defense Services.
     You can receive free Identity Defense Services for at least three years. These services include:
       • Dark web monitoring for your Social Security number, date of birth, address, driver's license number,
           passport number, payment cards,email addresses, and other information;
        •     Identity monitoring with authentication alerts;
        •     Lost wallet protection;
        • Security jfreeze capability in multiple categories: Credit-Experian,Equifax,TransUnion and Innovis;Specialty
          Finance - Sage Stream, Clarity DATAX and CoreLogic; Closed Checking and Savings accounts - Chex
              Systems;and Utilities-NCTUE
        • $1 million dollars in no-deductible insurance provided by a third-party insurer to cover certain costs
              related to identity theft or fraud;
        • U-S.-based customer support specially trained in identity theft and fraud discovery and remediation; and
        • Insight & tips for members on the user dashboard.

     If your Social Security number or linked bank account number was impacted in the Data Breach, you received a
     notice ofthat fact from Capital One in 2019,and your Identity Defense Services will also include:
        •     Three-bureau Credit Monitoring with instant alerts; and
        •     a Monthly Credit Score.
      Please select Option 1 ifyou want the Free Identity Defense Servicesfor which you are eligible.
                    1,Identity Defense Services: I want to receive free Identity Defense Services.
            Ifyou select this option, you will be sent instructions and an activation code after the settlement isfinal to
            your email address or home address. You won't be "upsold"any services by enrolling or otherwise asked
            to submit any paymentfor these services now or in thefuture.

                Ci^h Paymeht: JVlpney You Lost or Spent(put-of-Pocket Lojsses)
     If you lost or spent money trying to prevent or recover from fraud or identity thefl that you believe is fairiy
     traceable to the Capital One data breach and have not been reimbursed for that money (Out-of-Pocket Losses),
     you can receive reimbursement for up to $25,000 total, including your claim for Lost Time,if any.
     It is important for you to send documents tliat show what happened and how much you lost or spent, so that you
     can be reimbursed.

     To look up more details about how casli payments work, visit ww>v,CapitalOneSettlement.com or call toll-free
     1-855-604-1811. You will find more information about the types ofcosts and losses thatcan be paid back to you,what
     documents you need to attach, and how die Settlement Administrator decides whether to approve your payment.
     Byfilling out the boxes below,you are certifying that the money you spent doesn't relate to other data breaches.
     You may make as many copies of the claim form pages as necessary to list all of your expenses. If you
     need more space to list your costs and losses,please submit additional pages ofthis claim form to provide
     that information.




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      Case 1:19-md-02915-AJT-JFA Document 2285-1 Filed 11/07/23 Page 4 of 119 PageID#
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                                                               Appi'oximate Da^ ofLoss                          Amount ofLoss

     Costs for freezing or unfreezing your credit
     report on or after 3/22/2019                               MM            DD           YY

    Description of Loss or Money Spent and Supporting Documents
    (Identify what you are attaching, and why it's related to the Capital One breach)
     Examples: Receipts, notices, or account statements reflecting paymentfor a creditfreeze




     Credit monitoring and identity theft
     protection purchased between 3/22/2019
     and the date of your claim submission                      MM            DD           YY

    Description of Loss or Money Spent and Supporting Documents
    (Identify what you are attaching, and why it's related to the Capital One breach)
     Examples: Receipts orstatementsfor credit monitoring services




     Costs, expenses, and losses due to identity
     theft, fraud, or misuse of your personal
     information on or after 3/22/2019 and                      MM            DD           YY
     that you believe are fairly traceable to the
     Capital One data breach
    Description of Loss or Money Spent and Supporting Documents
    (Identify what you are attacliing, and why it's related to the Capital One breach)
     Examples: Account statement with unauthorized charges highlighted:police reports;IRSdocuments;FTCIdentity Theft Reports; letters
     refusing to refundfraudtdeiu charges; credit monitoring services you purclmsed




    Professional &es paid to address identity
    theft on or after 3/22/2019 and that you
    believe are fairly traceable to the Capital                 MM            DD           YY
     One data breach
    Description of Loss or Money Spent and Supporting Documents
    (Identify what you are attaching, and why it's related to the Capital One breach)
     Examples:Receipts, bills, and invoicesfrom accountants, lawyers, or otheis




     Other expenses such as notary,fax,postage,
     copying, mileage, and long-distance
     telephone charges related to the data breach     MM           DD        YY

    •Description pf Loss or Money Spent and Supporting Documents
    (Identify what you are attaching, and why it's related to the Capital One breach)
    Examples:Phone bills, receipts, detailed list ofplaces you traveled(i.e.police station,IRS office), reason whyyou traveled there   police
    report or letterfrom JRS re;falsified tax return)and number ofmiles you traveled




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                                            Cash Payment: Lost Time
      If you spent time trying to recover from fraud or identity theft that you believe is fairly traceable to the data
      breach,or if you spent time trying to avoid fraud or identity theftbecause ofthe data breach(placing or removing
      credit freezes on your credit files or purchasing credit monitoring services),complete the chart below.You can be
      compensated at the greater of$25 per hour or, if you took time off work, your documented hourly wage.
      If your claim for Lost Time is related to a valid, documented claim for Out-of-Pocket Losses, you may claim up
      to 15 hours. You must describe the actions you took in response to the data breach and the time each action took.
      If your claim for Lost Time is NOT related to a valid,documented claim for Out-of-Pocket Losses,but WAS time
      you spent trying to recover from fraud or identity theft that you believe is fairly traceable to the data breach, or
      time you spent to avoid fraud or identity theft because oftiie data breach, you may claim up to 5 hours.You must
      describe the actions you took in response to the data breach.
      Byfilling out the boxes below, you are certifying that the time you spent doesn i relate to other data breaches.


      Your Reimbursement Rate for approved Lost Time will be $25/hour unless you took time off work, and you
      provide documentation showing that your wage rate is higher than $25/hour. Documents showing a wage rate
      higher than $25^our could include a recent paystub or other printed payroll documentation.
       Please select either Option I or Option 2 below, but not both.
        jKf Option 1,Standard $25/hour Reimbursement Rate:
       / ^ifyou select this option, you do not need to provide documentation ofyour wage rate.
        r~l Option 2,Reimbursement Rate higher than $25/hour: I certify that my hourly wage rate is
             $r
             and that I took time off work to respond to tlie data breach. In support of this certification, 1 provide the
             following documentation:




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      Case 1:19-md-02915-AJT-JFA Document 2285-1 Filed 11/07/23 Page 6 of 119 PageID#
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                Apprpx.
                                          Number of           Supporting
                                          Hours and         Documentation?
                                                                                     . Explanation of Lost Time
             ^ ; Date^                     Minutes              (Y/N) .
                                                                                     . (Identify what you did md why)
                                      1

1 1 |-| 1 1-1 •                       1
  MM           DD

                 illlVUglX
                             YYYY
                                              Hour(s)         ^^(Yes                                                  >




                                                               □ No
1 M-l 1 l-l
  MM           DD            YYYY
                                      1    Minute(s)



1 1 1-1 1 |-|                         1
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                 UtlVU^lA
                             YYYY
                                              Hour(s)          Wves
                                                               □ No
1 1 |-| 1 |-|
 MM            DD            YYYY
                                      1    Minute(s)



1 1 |-| 1 |-|                         1
 MM            DD

                llii UUgll
                             YYYY
                                              Hour(s)         ^Yes
                                                               n No
1 1 l-l 1 l-l                         1   Minute(s)
 MM            DD            YYYY




                                                            Signature
      I affirm under the laws of the United States that the information I have supplied in this claim form and any copies
      of documents that I am sending to support my claim are true and correct to the best of my knowledge.
      I understand that 1 may be asked to provide more information by the settlement administrator before my claini,
      is complete.                        ^             ^          _                                               /JS/m.
                                                                             Date:   ZB - ro - mziz
                                                                                      MM         DD          YYYY




                                 Print Name




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   THK i;.S. S TATE DEPARTMEN T. A.MENDI':D :\\ TTl I ADDTriONAE Si-JWICING EOEEOW I PS.

       ( REF ). F.O.LA. REQUEST FP - 2022                             00139 .
          T.ECAl. RKI.EASK DEMAND OF U.S. CITIZEN'S WRONGFLILKY ALIENATED

            PERSONAL IDKNTIFTCATIONS. U.S. PASSPORT,.AND PASSPORT CARD.



   ATTN :>JS.CLORIA(;ilERR^ ARMTJELD.



   U.S. DEPARTMENT OF STATE.
   OEEICE Oh'PASSPORT SER\ ICES. CARE OF, RECORDS MANACihAIICN'T.


   U.S. DEPT. OE STATE, RECORDS REVIEW AND REI.EASE DIVISION.,

   CA/PP I7S RM/RRR.,

   44132 Mercure Circuit, P.O. Box 1227, Sterling, V.A., 20166.

   The United States of America.
   1(E):CilERRA C.A2®ST VTE.COV .



   //(Ref.) U.S. Passport, and Passport Card, via Dubai Consular
   Processing,                    a.d.m.x common State Department Finalizations
   Point. //



   I).{l\.\\ EI)NESDA> , 1 11 2()2'3, . A.I). M.\.).




   Dear Ms. Armfield;


   Please expeditiously enact upon this legal demand letter for an immediate

   restoration of these two pre-paid, yet wrongfully alienated, legal effects,
Case 1:19-md-02915-AJT-JFA Document 2285-1 Filed 11/07/23 Page 8 of 119 PageID#
                                   49997



   which the State Department owes a prompt, and expeditious'Duty Free'

   absolute resolution to this United States Citizen;


   • (1) U.S.Passport, with no mis-representations and mis-attributions.


   • (2)U.S. Passport Card,on the identical conditions of legal deliverance.

   As these articles ubiquitously constitute a pkimaky form of"GOVKiiMMEN'r

   ISSL ED PHOTO IDENTIFICATION"in relation to subsidiary documentation

   standards, and retroactive exigencies apply to expired documents for

   reference and general confirmatory purposes only; it is strictly obligatory

   upon the State Department to reverse its own prolonged tort violations in

   relation to the unjust, and indeed,illegal alienation of these two particulars,

   and alleviate the over-prolonged business with an absolute finality of action

   and ameliorative consequence.


   On the condition of dutiful processing of these(1)Dubai Consulate

   processed articles, and (2)upon the secure F.O.I.A. FP 2022 -00139 mediated

   finalized internal return of all originals submitted within the Port Louis

   Consulate(\lar.2",2019.a.d./m.x.)to the Dubai Consular avenue, full inter-

   operative autonomy shall be conditionally, and legally restored to the foreign

   Republic of Mauritius, and the equivalent foreign services plenary gifted
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                                   49998




   there by the good graces of this well forbearing United States citizen, with no

   refunds nor further redress requested, nor further owed of any Port Louis

   Consular duties and obligations. A full internal restoration of accord to be

   consistently re-graced upon its internal deputations, who are to be declared

   harmless against all past and present injuries on the basis of lengthy, and

   protracted mis-deliberations as committed under their original dut}^ of care

   and legal administration over such effects.


   I am prepared to immediately receive these articles here in Guam for a full

   confirmatory purpose (as PRI.^IARY document representation) in service to

   common insular duties at internal administration, whose privileges and

   entitlements arise by the common attachment and territorial defense of the

   entirety integrity of the United States of America as a whole.


   In the current state of relations, and by the vast and preponderant nature of

   the ordeal, we, here in the Marianas, are obUged to regard these articles as

   ILLEGALLY STOLEN by illicit individual actors embedded within the State

   Department itself (on an official torts basis, and in a profound violation of

   the U.S. Hatch Act),whose misconduct and extensive categorical violations

   we do not endorse in the common will of conserving the true cohesions of
Case 1:19-md-02915-AJT-JFA Document 2285-1 Filed 11/07/23 Page 10 of 119 PageID#
                                    49999




   the United States of America,in either internal or external basis of unique

   relations.



   I shall receive these restorations at my most current personal mailing

                address here within Guam, United States, as myself ;


                     MR ALEXANDER K RAI MSMA SUI lURIS.



                     P.O. BOX 10210,TAMIJNING,GUAM 96931,


                                THE UNITED STATES.


          (TEL):+(1 ).928 .485 .4509.(E):ALEXAI\DER.1N.GIJAM@GMA1L.COM.


   I have plainly restored all relevant protocols, articles, and articulations,

   by the letter posts, and fully remanded this issue under your original

   duties in candid remediation for its final and designated resolution.


          Thanking you for your ethical cooperations going forward.


                                  Very Truly,

                     Mr. Alexander K. Rai, M.S.M.A., Sui luris.

          THE INSULAR TERRITORY OF GUAM ISLA\DS.TIIE IMTKH S rATES OF AVIERICA i M
Case 1:19-md-02915-AJT-JFA Document 2285-1 Filed 11/07/23 Page 11 of 119 PageID#
                                    50000




                       FROM : MR.A1.E>LA-\DER K. R.\l, M.S.M.A.,SLI lURIS.

                           P.O. BOX 10210,T\iMlJ.MNG,GL \M 96931-0210.

                              THE IMTED STATES OF AMERICA.

                  ; TEL !: 1 1 .928.485 .150!). ; li ;: ALKXANDER.IXGl AMvStAiVIL.GOM.



   ATTN



   MS.GLOBIAARMFIELD CHERRY.
   OFFICE OF PASSPORT SERVICES, G\RE OF,RECORDS MANAGEMENT.


   U.S. DEPT.OF STATE,RECOEUiS REVIRW AND

   RELEASE DIVISION.,

   CA/PPT/S/RM/RRR.,

   44132 Mercure Circuit, P.O. Box 1227,
                                                                                         "^^^TES o'^
   Sterling, V.A.,20166.
   The United States of America.
     Case 1:19-md-02915-AJT-JFA Document 2285-1 Filed 11/07/23 Page 12 of 119 PageID#
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               iiliK
                                                    GOVERNMENT OF GUAM
          f\         '
                             DEPARTMENT OF PUBLIC HEALTH & SOCIAL SERVICES
                          (DIPATTAMENTON SALUT PUPBLEKO VAN SETBISION SUSIAT)
                                                             123 Chalan Kareta
Felix P. Camacho                                     Maniiiiao. Guam 96913-6304                                 J. Peter Roberto. ACSW
 GOVHRNOR                                                                                                          Acting Director


Michael W. Cruz, MD
LIEUTENANT GOVERNOR



                                 AFFIDAVIT OF FOREIGN BIRTH

       S I, MR.ALEXANDER K. RAl, M.S.fej. do hereby solemnly swear, depose, and state
                                                                                    e that
          my true and correct name is: MR. ALEXANDER K. RAI, M.S.M.A.,                                  \v^ bom
                                                                                                            b
          on JULY          13       1985 in 22.5726° N.88.3639° E                           .
             (Month) (Day)         (Year)                    (Cit>VTown/Staie/Country)



          (BIOLOGICAL PARENTSl


          Father's Name:PRIVATE, AND NOT PUBHS(Living/DeceasedJ Birthplace: PRIVATE.

          Mother's Name: PRIVATE,AND NOT PUBLtSlLiving/Deceased) Btrthplace:PRIVATE.




          Father's Name:                                               _(Living/Deceascd) Birthplace:

          Mother's Name:                                               _(Living/Deceased) Birthplace:



                          1 further state that 1 HAVE NEVER BEEN MARRIED.                              n ^0/
                          I further state that I HAVE BEEN MARIED BEFORE.      □ /
                          Tliis affidavit is made^ In support of my Application of                           Marriage    with
                                             A                 . In compliance with the Rules and Regulations of the
                          Department of Public Health and Social Services, Government of Guam.                       /



                                                                        SIGNATURE OF AFFIANT             .

          SUBSCRIBED and SWORN to before me on this


               IjoNathans.olivares
                          NOTARY PUBUC
                          In «nd for Guam, U.S A.                                                                                    J"
                   Nty Commissioo Expires: JAN. 12,2025
               }7ftKffff««»^Cone»Ave.Haaitfta. 96910. Guam
                                                                               (NOTA^^UBLIC) in and>for"S^amI
                                                                               My commlMion expires:
          NOTE: To obtain this form a fee of Sl.OO is applicable
                                                     Tel. No.: (671) 735-7263 • 735-7185
                                                                Fax: (671)734-5910
Case 1:19-md-02915-AJT-JFA Document 2285-1 Filed 11/07/23 Page 13 of 119 PageID#
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                                    VVA




                                                          -V^




                            FROM:MR. ALEXANDER K. RAI,M.S.M.A, SUl lURIS,

                194 Pi          :ran hic]             ^(#.3).,SINAJA^              ^9^0-3318.

                       THE UNIWD STATES OF                   :EL :+ 1 .908 . 287




                                                            Subject to Federal Trade Commission ..
        ATrN;U.S.CC      fit?       .TBAI,THE UA.E.         Identit)'Theft Governance, under
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         Comer o       ^           i, and Sheikh            CASE INVESTIGATION #. 125010837. ,
                       &?
              Kh ^                 I Rd.,
            P.C ^                 1777.                     US.STATE DEPARTMENT NOTICE
                                                            SOVEREIGN LEGAl- DEMAND LETITiR FOR IMMEDIATE



              II                A.E.                        DISORGEMENT
                                                            OF I.EGAI.IDENTITY EFECTS OF THE US. QTIZEN,
                  Q£
      DER THE DLTI i            LEGAL OBIJGATIONS)OF;
                                                            910 DAYS OVERDUE.
       THE HONORABLE PAUL MALIK,CONSUL GENERAL.
            THE UNITED STATES OF AMERICA.




          AN INJUNCnVE(PER,F.XCA.STANDARDS),
          DEMAND IN COMPELUNG EQUITY,
          ELECTRONICAIXY TRANSMITTED AS DATED:
          9/22/2021,(AD./M.X).
Case 1:19-md-02915-AJT-JFA Document 2285-1 Filed 11/07/23 Page 14 of 119 PageID#




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                                                                                                                                                                             i^-'.      .   ^        '■: .
                                                                                                                                                                    i-if I. ( '
                                                                                       "THANK YOU FOR                                                       SAN N[COI AS                        ■9
                                                                                                                                                           "■■'j-.Sj'.'yj            \r -
                                                                                   THE FEDERAL FUNDS!"                                                 Phone; 671-475-6453 (GUAM)
                                                                                                                                                  Email: micha6l.sannicolas@mail house.gov
                                                                                   THIS AD WAS PAID FOR WITH OFFICIAL FUNDS FROM THE OFFICE OF CONGRESSMAN MICHAEL F Q SAN NICOLAS.
Case 1:19-md-02915-AJT-JFA Document 2285-1 Filed 11/07/23 Page 15 of 119 PageID#
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                        U^.embMsy                            u s. Consulate Qenerai
                        PORT LOUIS                           DUBAI, UNrmO ARAB
                                                                  EMIRATES
            Cuatomer: ALCXANOeR K. RAIMSM^         Customer; ALEXANDER RAIMSMA
            8UI iURtS                              SUIIURIS
            Dote: 3/27/20101:34;42 PM              Data 6/22/2021 8:53:15 AM
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                                                   Tender Plastic Card
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           CARD
                                                  SURCHAR&                   /


           Balance                  ^R6,120XX)    Balenca              //$145.00
           Amount Paid              MUR6.500.00   AmoumCharged         ^ $145.00
           Change       /j          MUR380.0D ^   Changa                  $0.00
                                                             CUSTOMER COPY
                                                       ALL TRANSACTIONS ARE
                              REPUNOS^                      FINAL. NO REFUNDS
Case 1:19-md-02915-AJT-JFA Document 2285-1 Filed 11/07/23 Page 16 of 119 PageID#
                                    50005




                        I ROM : MR.AJJlVWDIiR K. R\l, M.S.M.A.,SI III RIS.

                            RO. BOX 102J 0. l A-M L M\G,G L AM 06931 -0210.

                               Tllli: IMTliD S rVHiS OR AMIi:ill(A

                  (TEL): I !.928.18:i . no;). i i- : \Li:\AM:)EH.iN.GrA\K'?(AI\ll..(;0\I.


    XTT.N :



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   Ol IMCK OR PASSPORT S1<RMCKS, CARK OR, RI-XIORDS MAWGRAIEM.


   l .S. DEPT. OF STATE,RECORDS REVIEW.AND

   REl.EASE DDISION.,

   CA PPT/S/RM/KKR.,
                                                                                  ci XiJ!
                                                                                       a
   44132 Mercure Circuit, P.O. Box 1227,

   Sterling, V.A., 20166.
   The United States of America.
        TUF 1 mTV.n STATFS OF AMKRK^V.(^FFICK OFTJIK CITIZKIN OF THE UNITED STATES:
STATILNlESTOETEEEtTOaiALaAlM A'n ESTATiONS.FROM TIIKINSl LAHTEHHITORVOI-(;tA^l.
                                  EACIFtC liNrrED STATES.
                     HEX OF PROPEilTV A\D COiVIPETENT LEOAE
                             ADMIMSTRATION lA AN ACXrON OF
        RESFONSIBLE SEEF^ GOA EHN WCE.AND EQt ITABEE VI BEIC BKiJEF = OJ.G. ^ ^ 1 .immU
        THIS CLAIM XCnON iS(X)NTI\<;ENT I vro, \ND LECALLN BINDING I PON;
                   1 MTED ST ATES DEPAUTMENT OF ST ATE,CONSl EAR AND
           INTERIOR REEATIONS OAl.B.       1405   OtAB O RANS ACnONS//. 15059909 ;D.O.E.
                  A.a VEX.      5, AA!.. E.S. CONSELATK GENERAI.EMIRATE OE DEB AE
              127 2019,( A.D. M.\.) I:14r42 P.M., E.S. EMBASSA,PORT EOEES, M AERITRiS ).
        HVUFA imn liE I'ARnCl E VIiS OF A DEBT FHEE iNSTRl MEMA IF(;()MMON EH IL (iOV EHNAMT:. ATTHE
        oBEiGvn:DP\Bn\soFFi<:iAEsoEi(:ri vnoN BA MMicnruvrpMrn ismn no vteaw anoeqi in.
     bregoine instrument was acknowledged before me this
The foregoing                                                                dav of 202;E\.d/m.x..
                                                                          34 day     202*ea.d./m.x.,
by     AEEXANDER E. KAi. M.aM.A,SEi u Ris, as adv^ocatc in fact for the Citizens of the United
States and Territories *,in a Universal and International designation, who is personally
known to me(or) who has produced a notvri/.ki) pboof oi- i.egm. H!:sn)i:N<A fob h gontini oes
AiONTHSM rnilNGl AM I                                                                                _
                                                                   |JE^MAMET0V1S|
Signature of Motarv Public                                                 jKI^SSulA.
  ®                                          ^                        MyCoiaiafa^Bxiafes:AUG.lN2«a
Personally known:                                                     P.O.to           Guam 96928
(OR i Produced Identification: ^           Tydc
                                           Type of Identificarion
                                                   Identification Produced: hnc>\..st\nd\iid
                                                                                                         »V.' V •
Affidavit of Legal Submission.
The Territory of Guam,The United States of America. Signed and
Sworn to (or Affirmed) before myself* on(
By, Mil. AIJA v^!ii K.KM.M.S.M. SI I n Ris,(Affiant),rendering the Statement by /A
Affidavit.          Signature of notarial officer:
                    Title of Office:
                                          50006
      Case 1:19-md-02915-AJT-JFA Document 2285-1 Filed 11/07/23 Page 17 of 119 PageID#
Case 1:19-md-02915-AJT-JFA Document 2285-1 Filed 11/07/23 Page 18 of 119 PageID#
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           ; HFCORDKI) vr riii: indfbtkd inKTVsoi i u.ui.soijcn vnoN.\n!>                    i vlly
      BINDING DLXIES f)l- l.\\\ !•( F & BKCIPHOCM. BKSOLI TION ^ UXBIUH TO TDK PXIVH,PFR 28: t .S.C. !74<


 I < Fl LL NjV.MK:MR. \IJ:\VNDEH K. II\l, M.S.M. U SI I II HIS \            1405   fllTi .

 2 S DATEOFBlHTIhJU.^ 12X11.. J085, VD. MA. ; H05,i UI.!.

I 3)FLYGlvpF BIKI II . NO ilS(:ORP(>liVnON;STRI<:TiA (HTXmAPHlGXF ;:22.572rF N.88.'«r29'^ E.

: 4)Gl HRF.IST M\IIJNG VDDHKSS: HO.liO\ I02IO-r\XH NINaCU Ul OfiOYl.TIIF I NITFD STXTES OF AMERICA.

.>A   TEi.ErilONE: .!.008.287.2888. 5B          EAIME :         WIH-RINJU

 C) : \ VLIDGOMvRNMEVn.SSl ED IMIOD)IDENTII IC VFION:(W \ PV.SSmRT Vi)l ElCVRD; T.R.N.. 15

PrLCONSXCHS:'? 272010.. V.D. M.\. : \M>02\ M>1 i.I lASSPORT: T.R.N. 1.5050000 :(> 22 2021     X.D.AIA. .
Case 1:19-md-02915-AJT-JFA Document 2285-1 Filed 11/07/23 Page 19 of 119 PageID#
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i.I.G. H20231221.




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    THE U.S. DEPAllTMENT OE ST^E.,
     Ki':c()aijs i$E\        & helease dimsion.

    44132 MEHCl HEClKCi n:,


    P.O. BOX 1227.,

    Sterling, Virginia,
    The United States. (VA.)20166.
      NOTARY PimiC           c
       ttd for Guvn,U.SA.
lAy Osmisskm &i3^;AIX>.17,2^
P.O.Box S3S4 Aflst Guam 96928




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                   >         X
                   5    c   •


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                   SL c P
                                 Case 1:19-md-02915-AJT-JFA Document 2285-1 Filed 11/07/23 Page 20 of 119 PageID#
Case 1:19-md-02915-AJT-JFA Document 2285-1 Filed 11/07/23 Page 21 of 119 PageID#
                                    50010




   THi: lus. di:p\ktmi:nt of state.

   RECORDS REME\>                  RELEASE DI^ ISION.

   44132 MERCl'RE CIRCL IT., P.O. BOX 1227.,

   Sterling, Virginia,

   The United States. fV.A.) 20166.

   //( Rcf.) Inter-Regulatory Compliance d?' Claims Letter, Permanent
   Notice of Action Cioncerning the i v 2022 mn iir      di ties AOBEt<;vno\s bom).

                                           INSl I.VRTI:RIUICHU hi- Cl Wl-Silf. I MTKD'^I VIES

                                                                fXo.l.lH 21 202i.' \.D. MX..




   DEAR OBLiC vri-:i) PAIVr\ (>K BESPONSIBllJTV. PI BIJC
   SO!JCI rOB. <S: BOIM)PI BI JC TBl ST FlDl ClARV Vl HIBE:



   Per your publicly binding soLicitation dated J in 'ivn ,I am endeavoring to

   fulfill, finalize, and redeem, the qualif^^ing Letter of Objection"received on

   that date from your instimtion, by fully discharging its contingencies, which,

   as a pubUcly bound and obligated artificer, you assert, as being grounded on
Case 1:19-md-02915-AJT-JFA Document 2285-1 Filed 11/07/23 Page 22 of 119 PageID#
                                    50011




       tlie disposition of material verifications of the pertinent facts at due, and
       common consideration.



       I,.perforce,          satisfy this claim of your due elicitarion, by thoroughly

       enumerating all particulars of verification so requested in good faith, and in

       the exact manner required, while sustaining the possible underlying i .s.

       iivrcn \^ : \ violations, and related specie of misfeasances as created through a

       sustained consular delinquency, in whose duration, your institution have

       apparendy taken      heed of the     which bind it to remit customary articles

       of common,and pre-serviced reliance, and by whose secure, and long-

       erjshrined grounds of due resolution an internal probe and investigation(as

       above enumerated') has, since, been dutifully originated against its articles

       through the ultimately unlaufuJ alienation of citizen property, in the applicable
                                                                                           f




       forms of the fully paid and pre-serviced United States Passport and

       Passport Card, which, the institution which you represent by your oversight,

       has wrongfully and illegally mthheld due, and timely release, in formal and

       shocking desertion of its own objective and owed duties, which both you, an

       it, hence owe a prompt disposition to this American under Law.                      j
          Case 1:19-md-02915-AJT-JFA Document 2285-1 Filed 11/07/23 Page 23 of 119 PageID#
                                              50012




,and          Needless to say, the final qualifying form of Photo Identity related

             verification("Government Issued Photo i.a")is mm other than the very

             attributions of thpsp illpgally withheld objects, for some 5 continuous years
j#iy
             under        sole revocable dvil stewardship obligation, against which neither
1, and in
             duty nor costs are in the smallest qiianta further owed your party against their
.s.

             disposition, and whose prompt and unequivocal release, thereby, we anew

             impress \.ojustly demand^ per the terms stated within your own express
.ve

             ministrations, conversely requirihg, that         rightiy and expeditiously restore
xticles
             to us these articles at their acknowledged and indicated insular venue of

             receipts, without further fraud md equivocation,intentioned evils by whose
ion(as
             commissions and sustained proliferation, you continuously disgrace, and

             further render unjust and ever more increasingly impaired, the whole order of
ipplicable
             the'Full Faith and Credit' of instrumental American Civics,while injuring
A
             the established identity of a common people, within the schemes of

               rovident posterities, ztyourovm sole liability, apart from that of allthe States
land
             and Territories.
1 you,and
             We shall gladly present you with a facsimile emission of the restored articles

             j with regards to their fitting applicability against the ori^nalrecords release^ with

             i^egards to the lawful recall of the apriori effects(circa 20ir». \.d. via.) for which
Case 1:19-md-02915-AJT-JFA Document 2285-1 Filed 11/07/23 Page 24 of 119 PageID#
                                    50013




      wd also^ and equally acknowledge no debts to be outstanding, excepting those

      generated by your own wicked desertions, against which this lk ti kk ok

      iNSTiu ci ION, confers a i iwi. acknowledgement of.u st iuidrkss ,and a timely

      waning advocating to a further and permanent desistance of such acts.

      A ruicrr of these articles by your responsibleparty is, at present,internally

      accounted within this autonomous insular domain, and jointly ratified with the

      Till-; KKDKKU/nuDKCoMMissioN, and no other jurisdiction anywhere can be

      unduly obligated to render to the bent of your demands, either internally or
         i


      externally ^jonr primary duties, as plainly established under law on the exact and

      conformable basis of the recorded 12: 202R. \.D, m.\. transaction, and again,
      rejsubsequently, upon 0 22 2(»2i, \.D. M.\. are themselves expiated, by whose
      reliance we advise you to firmly proceed to finali2e and discharge.




                                         Very Truly;


                          Mr. Alexander K. Rai, M.S.M.A., Sui luris.

                 nii:i\si lARTKKRiToin oi- (ii wi. riiiu mikdstviksoi


                             TIIK { .S, DKPVIVIMKNT iW ST\TK.
        Case 1:19-md-02915-AJT-JFA Document 2285-1 Filed 11/07/23 Page 25 of 119 PageID#
                                            50014
                                                            United States Department of State

                                                            Washm0on,D.C. 20520

           final notice                                     3f3/2023
           FP-2022-00139


timdy I Dear Mr. Alexander K. Rai, M.S.M.A,Sul lurls.
           We are returning your correspondence and any documentation that
           you have submitted. At this time, we are unable to provide you with
           the requested service based upon the information that you provided.
           If you would like for us to conduct a search for passport records,
           please resubmit your request along with the item(s)checked below:
with the
             X    ^Your typed pp.clearly prjnjtedjand signed:      ARiZED!
                 or a statement made under penalty of perjury pursuant to 28
                 UvS.G.§i746, providing your full name or any subsequent name
                 changes, date and place of birth, current mailing address,
                 current daytime telephone,current e-mail address if available
                 and a clear cdj^lY ptY^qur                     Issued photo
                 identificationJve,,driver's fieehse, non-driver's license, passport.

vhose            ^Submit the FULL name,date and place of birth of the file subject
                 and the dates that he/she may have applied for a United States
                 passport.

                 Jf the subject is under 100 years old, we require either a
                 NOTARIZED consentfrom the subject authorizing the release of
                 information from his/her passport record to you, along with a
                 copy of the subject's photo Identification OR convincing
                 evidence of the death in the form of a newspaper obituary or
                 death certificate.


                 _Please submit evidence of legal, court ordered guardianship of
                 the subject.
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                                    50015




             Certified copies of passport records require submission of a
             $50.00* fee per subject. For each additional copy the fee is
             $50.00 per subject.

             Apostilled copies of passport records require submission of an
             $8.00* fee per subject. For each additional copy^ the fee is
             $8.00 per subject. Indicate the country for the Apostiile copy.
             The country must be a member of the Hague Apostille
             Convention.


            _ U.S. passport records do not include evidence of travel such as
             entrance/exit stamps, visas residence permits, etc., since this
             Information is entered into the U.S. passport book after it is
             issued. If you are seeking travel information, we suggest that
             you contact U.S. Customs and Border Protection at 1-877-227-
             5511.


               Other: FINAL NOTICE: You were notified on 08/02/2022 and
             12/19/2022, of the deficiencies in your request. To date we have
             not received the requested documents. As a result, your case is
             closed and can be reopened once the above highlighted
             documentation is received.




       *AII fees are required to be paid via United States bank check or
       money order and made payable to "Department of State". We do not
       accept cash. Addresses are required on checks.

                           You may return the items requested to:
              U.S. Department of State, Records Review and Release Division,
                     44132 Mercure Cir, P.O. Box 1227, Sterling, VA 20166
Case 1:19-md-02915-AJT-JFA Document 2285-1 Filed 11/07/23 Page 27 of 119 PageID#
                                    50016
                                                             U.S. Department of State
                           STATEMENT OF NON-RECEIPT OF A U.S. PASSPORT
                                      Use macM tnk only Ifyoo make an amy compete a nev,- form Do not correct                              BixMn      u»%aei
                              Select the product(s) which you are reporting as not received.

    U.S. Passport Book and Card                                     □ Book Only                                nCard Only
   Ls.ma.,sui iuris                              j   First Name                                             Middle Name
                                                     MR. ALEXANDER                                           K.
                            Date of Birth {mm-od-yffy)                    Telephone Number                                        Travel Date (mnww-yyyyl
                             07/13/1985,A.DyM.X.                             +1.908.287,2888.                                      PENDING.
   dress (as trsted on onginal ai^fication)

                              MU. VLEWXDER K.R\I,\I.S.M. V,.Sl I II RIS

    0\ 102I(KTVMlLMNG.CI VM %931/rilE IlMTPID STATES OF VMERIGA

   3iam wnat you have done to find the passport book or card (/Attach a separate s/>eef of paper rf more space is needed)
   bI requirements to appropriately obtain and retain a U.S. Passport and U.S. I^ssport Card has been
   sited through two Consulates: Port Louis, Mauritius in March 27,2019, (A.DyM.X.). (on the basis of
   davit Regarding a Change of Name, which was legally processed there in accordance with the
   lied rules, and the illegal non-award Officially Recognized by the Supreme Court of Mauritius); and
   uently, June 22, 2021 .(A.D/M.X.), in the Dubai Consulate of the United Arab Emirates. The U.S.
   fnent of State has collected Two distinct Official Receipts. It is NOT Owed any additional Legal
    and an Official Theft of Identity is Legally Documented with the FTC, the GPD (Local) Police.
     Stales ). the U.S. D.OJ. and the U.S. Dept. of Interior. F.O.I.A. was prcKCssed to transition all
    us documents to Dubai on 6/22/'21, AD/MX to help Dubai resolve its then local consular obligations.
    REDACTED, acknowledging out-dated name, needs to annuled, and re-issued.
   uppofting documents thai you submrtted wAh your original passport af^licaiion returned to you'?                    Yes            No
   s desaibe which document(s) was rtot received i Example birih oertiffcate. naturalization certificate, adoption decree, etc J
   I.IA. request requested that the original receipt, customary submissions, application, and supportive
   ed affidavit be all returned and "repatriated" with the Dubai Consulate,from the Port Louis
   ite. (for the purposes of Non-Redundancy, and Duties Processing).
                            YOU MUST SIGN AND DATE THE APPLICATION BELOW
   ig-tea certiK- s-nai ' nave not 'ece'v&o trie U S passpon cow. and'or U S psssjwn caiQ for wheh i ai^^ied ! aeove under penaBy of perjury tnal tne
   *36 on this fwm are true ana cofect. I r^uesi ir^ai a r>ev. u S passport book andfor U S passport card be tsRied 10 me and certrfy that i? i receve tne u.S

                        iocai U S em^^^^^nsuiaie if i                                    Suites and return the faa3vefed passpon to the U S Oepasroerrf ot
   k ana-or u.S passport card i repooed as no; received i wiii immediately contact the Natiorai Pass^h                      Center at i-877-48?-2?78




                                                            '"^'"' ^^^^aiKer.'Father/Parent'Leoai Guaidian's Signature fit applicant is under age 16)
                                                                     (njA-do-m'ri
                                                ISSUING OFFICE USE ONLY
   s«portfT«8ecl to the corred mailing address?           IZ] ^es      [Z]                   Was delivery confirmed? P"! Yes j j No
                                                                                                     Veridor. O^SPS QuPS                         EtrQOHL


      Pas^xsrt Book Number                                                                                   Date Issued (mm-dd'yyfy)

                                                                     Date Mailed (mm-dd-yyy/)                Special Pt^lage. if used

                                                                                                             Date Issued (mm-dd-yyyy)
Case 1:19-md-02915-AJT-JFA Document 2285-1 Filed 11/07/23 Page 28 of 119 PageID#
                                    50017
                                                               HOW TO USE THIS FORM
       Th(s form Is used v^n you do not receive your U.S. passport in tfre man. You tiave 90 days from the date that your U.S.
       or pard was Issued to report that you have not received It in the mail. If you do not report within 90 days of the issue date,;
       recfulred to'reappiy and submit the full passport fee(s). Unless you have Immediate travel plans,It Is recommended'
       14days from die date your passport was Issued before you submit this statement
       Before submitting this statement:
        1,Check ithe status of your U.S. f^ssport application by contacting the National Passport Information Center at 1-877-481
           {TDD/TTY; 1-888-874-7793) or NPIC@state.gov. If the passport was mailed to you. ask for the date the passport wasf
           tracking number, and the name and address of the passport agency that Issued your passport
        2, Contact the shipping company or postal service, online or by phone,and use the tracking numljer to track the envelof
        3L Complete all sections of this statement except for the section titled "Issuing Office Only," You must submit a clear i
         i front and tiack of your valid government-issued photo identification, such as a driver's license.
        4. Mail this statement and photocopy of your photo identification to the passport agency that issued the passport you did1
       Orwe your statement Is received,the U.S. passport Isook or card that was reported as not received will l>e cancelli
       cannot be ^used for travel. If the U.S. passp^ book or card reported in this statement arrives at a later time, please call
       Pa^porlInformation Center for instructions on wrtiere to send your passport.
             ■ If you aipp//ed for your U.S. passport tjook or card while out&de ofdie United Sfafes, please contact your local U.S.
                                                consulate for instructkms on wtmre to send y(Hjr pas^rt.
         ^ROTECT YOURSELF AGAINST IDENTITY THEFT - REPORT THE NON-RECBPT OF YOUR PASSPORT BOOKj
      "A United States citizen or non-citizen national may not normally have more than one valid or potentially valid U.S. passf
       mpre than one valid or potentially vaRd U.S. passport card at a time. Therefore, when you do not receive your U.S. pass
       cafd in the mail, you must sutrniH form DS-86, Stsrtement of Non-receipt ofa U.S. Passport.
       Tte Information that you provide on this form will be entered into the Consular Lost and Stolen Passport System. This sjj
       deigned to prevent the misuse of the U.S. passport book or card that you did not receive in the mail. Passportfs) reports
       rer^ived will be cancelled and cannot be used for travel. Anyone using the U.S. passport Iwok or card reported on this fr
       yoprself, may be detained upon entry into the Unites States. If you find die U.S. passport book or card you reported
       revived, report It as found,and submit It for cancellation. You may not use that passport book or card for travel^
                                                                         WARNING

       Fdlse statements made knowingly and willfully in passport applications, including affidavits or other supporting documei
       to Support this application, are punishable tiy fine and/or imprisonment under the provisions of 18 U.S.C. 1001.18 U.S.*
       aifo/or 18 U.S.C. 1621. Alteration or mutilation of a passport issued pursuant to this application is punishable by fine ane
       imprisonment under the provisions of 18 U.S.C. 15^.The use of a passport in violation of the restrictions contained he
       passport regulations Is punishable by fine and/or imprisonment under 18 U.S.C. 1544. All statements and documents
       vdrificatiort. Failure to provide infonnation requested on this form,including your Social Security number. may result in:
       processing delays.

                                                              PRIVACY ACT STATEMENT
       AUTHORITIES: Collection of this information is authorized by 22 U.S.C. 211a et seq.;8 U.S.C. 1104;22 U.S.C. 2714a(|
       6Q39E. Eirecutive Order 11295(August 5.1996); and 22 C.F.R. parts 50 and 51.

       PURPOSE: We are requesting this information in order to determine whether to issue a replacement U.S. passport. Th^j
       the Social Security numtrer will t>e used for identity/entitlement to a U.S. passport for verification only and no other pui '
       authorized by law.

       ROUTINE USES.This information may be disclosed to another domestic government agency, a private contractor, a fo?
       govemmept agency, or to a private person or private employer in accordance with certain approved routine uses. Thesf
       uees include, but are not limited to, law enforcement activities, employment verification,fraud prevention, border ser^rit;
       oqunterterrorism. litigation activities, and activities that meet the Secretary of State's responsibility to protect U.S. dtizei!
       ci^en nationals abroad. More information on the routine uses for the system can be found in System of Records Nolle
       Overseas Citizen Services Records and Other Overseas Records and State-26, Passport Records.

       DISCLOSURE: Providing information on this form is voluntary. Be advised, however, that failure to provide your Social
       number ori your passport application may result in the denial of your application (conastent with 22 U.S.C. 2714a(f)).
         ^         .i                             PAPERWORK REDUCTION ACT STATEMENT                                                 "
       Piiblic reporting burden for this collection of information is estimated to average 15 minutes per response, including th<
       for searching existing data sources, gathering the necessary data, providing the information and/or documentation reql-L
       rejvlewing the final collection. You do not have to supply this information unless this collection displays a curtently valld|
       ntjimber. If you have comments on the accuracy of this burden estimate and/or recommendations for reducing it, plea^
       to- Passport Forms Officer, U.S. Department of State, Bureau of Consular Affeirs. Passport Services, Office of Progr
       Mjanagement and Operational Support.44132 Mercure Cir, PO Box 1199, Sterling. Virginia, 20166-1199.
       DSrae 10-2020

                                                                                                                                       1
Case 1:19-md-02915-AJT-JFA Document 2285-1 Filed 11/07/23 Page 29 of 119 PageID#
                                    50018
                                   TNXm SUPERIOR COURT OF GUAM




  IN THE MATTER ()!• THE APPLICATION




  MR.\i.E\ANDER K R\l. MSVIA..SU H RIS. Petitioner.



  RECEIVED

        F£B 2 2 2023                                                            SpecialProceedings No.
  I                                                                              SP 156. 022.

            DPHSS
   Division of H-'ublrC Woiiare
 Bureau nf Econnniic Hecur''.,



                                         THE DECL.\RiV110_N OF PCS 1 iNG.




                                                                  declare and state as follows that:

                1 .1 am legally and professionally interested in the above captioned matter(as an
                American Public Agency(" the People "),of the United States and Territories
                (55)),as legal dozen of the same over the age of Eighteen (18),and dedare
                the address of my venue(a public forum) to be as follows ;

               OKPAR IMKNT OE PI BUG HEALTH A: SOGIAI. SER\ ICES.,GEN        TAM.,"fil MARINE CORPS DR.,
                                            TAMLMNG,GCAM, 96011: I MTED STATES.




                          I further acknowledge that in discharging a general civil obligation, I am

                           not, myself, the party being represented in this declaration, but merely

                           servnce the duties of the common mediator for the purposes of general

                           public informedness, and civic enlightenment, at both, the solicitation of

                           the Superior Court of Guam,and that of the Petitioner above

      0S                   represented. I dedare under penalty of perjury the laws of Guam(6
   iUU.:_TL_-..
ItlRiAl:                  C.C.A.§
                                S 4308)that the foregoing is true and correct.
Case 1:19-md-02915-AJT-JFA Document 2285-1 Filed 11/07/23 Page 30 of 119 PageID#




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                                                                                                                                                                      LtijiiLy t   »3oo
                                                                                   SOCIAL SECURITY ADMINISTRATION
                                                                                                                                         /         Y
                                                                                    Social Security Administration
                                                                                                                                         6         )
                                                                                    770 East Sunset Blvd STE 155                         \   IZ MAY ;   ^-75.
                                                                                        Barrigada, GU 96913                                  ^0??:      0Tff87856*'
                                                                                   OFFICIAL BUSINESS
                                    50019




                                                                                                                             Phone; 8t
                                                                                                                             Date: May
                                                                                      MR ALEXANDER K RAI MSMA SUI lURIS
                                                                                      PO BOX 10210
                                                                                      TAMUNING, GU 96931
                                                                                                               9693i$0210 B03&
Case 1:19-md-02915-AJT-JFA Document 2285-1 Filed 11/07/23 Page 31 of 119 PageID#
                                    50020




 l| ALEXANDER KRAIMSMA SUIIURIS
     P.O.BOXIO210
 21 TAMUNING,GUAM 96931
     Telephone No,: 908-287-2888
 3   SelfRepresented Litigant

 4                                  IN THE SUPERIOR COURT OF GUAM

 5
     IN THE MATTER OF THE APPLICATION                                                           » 0 15 6-11
 6                                                                       Special Proceedings No.:
                      OF
 7
     ALEXANDER K RAIMSMA SUI JURIS,
 8   aka
                                                                  PETITION FOR CHANGE OF NAME
     ALEXANDER KRAI
 9
                                Petitioner.
10


11

12

              The petition of ALEXANDER K RAI MSMA SUI JURIS aka ALEXANDER K RAI
13

     respectfully shows:
14

              1.       That the Petitioner is a resident of Guam and of legal age;
15

              2.       That the Petitioner was born on July 13, 1985, at the NA,22.5726° N,88.3639° E
16

     (please see exhibit 1);
17

              3.       The Petitioner desires a change of name to that which he now has; that the new
18

     name which he proposes to take and assume is MR ALEXANDER K RAJ MSMA SUI lURIS;
19

     that the following are Petitioner's reasons for such change of name:
20

                   a. My name is mis-spelled on my social security card.
21

              4.       Petitioner intends no fraud by the proposed change of name and has never been
22

     convicted of a crime;
23

              5.       Petitioner has not made any previous application for the change of name.
24

              WHEREFORE,the Petitioner prays that the Court issue an order to change the name
25

     from ALEXANDER K RAI MSMA SUI JURIS to MR ALEXANDER K RAI MSMA SUI
26

     JURIS and such other relief as the Court deemsjust and proper.
27


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     PETmON FOR CHANGE OF NAME
     ALEXANDER K RAi MSMA SUI lURIS
     Special Proceedin9S Case/ Page i /Self Repreeented Litigant Automated Form
Case 1:19-md-02915-AJT-JFA Document 2285-1 Filed 11/07/23 Page 32 of 119 PageID#
                                    50021



               Respectfully submitted this                day of                   ,20
 1




 3
                                                             ALEXANDER K RAIMSMA SUI lURlS
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     PETITION FOR CHANGE OF NAME
     ALEXANDER K RAJ MSMA SUI lURIS
     Special Proceedings Case/ Page 2 / Self R^resented Litigant Automated Fonri
Case 1:19-md-02915-AJT-JFA Document 2285-1 Filed 11/07/23 Page 33 of 119 PageID#
                                    50022


                                                    VERIFICATION

11 HAGATNA,GUAM                    )



3I            Petitioner, being duly sworn, deposes and states as follows:
4             That he has read the foregoing petition and knows the contents thereof, and the same is
5    true of his knowledge and belief, and as to those matters he believes them to be true.


              Dated this t.       day of




                                                            ALEXANDER K RAI MSMA SUI lURIS


                                                                                  'la'4^
              SUBSCRIBED AND SWORN to before me on this                               day of ^CTc>e'^2Q »bv
     Petitioner.




                                                            NOTARY PUBLIC



          flf                                                          ESTHER OS^ROW
                                                                           NOT^Y PUBLIC
                                                                                  InandforGuam.U.S.A.
                                                                        MyCM^i^ion^pires: NOV.23.2W3

                   >ii jJ




     PETITION FOR CHANGE OF NAME
     ALEXANDER K RAt MSMA SUI iURlS
     Special Proceedings Case/ Page 3 / Self R^resented Litigant Automated Form
  Case 1:19-md-02915-AJT-JFA Document 2285-1 Filed 11/07/23 Page 34 of 119 PageID#
                                      50023
                        piyrrnoN foh                        a - cii \\(;k<)F namk-fok pi hposksof                 t   ,   ^-.4



                               vc.'ci iivrEi.i:<;u.\M)jmsijN\i.ii»KYnFi«.vrio\ inci \m. vmithki nhki>si vi>:s.    •       - ^—
                                                                                                       ■'•ji-'i-.lilC'A COURT
            MH. VLK\ WDKIl k. II\l. MSM \. SI I II RIS
         P.O. IMA 1021(1,TWIl mm;.(;i VM, I MTFI).ST\TKS OF VMFRICMKiO'll^rR^ JUL Pjd PH
         TKLKPIIONK . - .: I 02«             I.")!!!).
                                                                                                          CLirr.i; c;- no;
         Self Represented Litigant.
                                                                                                   r-v.
                                               IN TIIIC SI PKIUOII COI u r OF Cl \M                ^                  —



         MR. U.KN KNDKU K. U \I. MSM \.SI I 11 IMS. mTMOM lU,

         lOHMKRIA KNOWN VS \|.K\ VNUFR K R \l

             TII.I. VI Cl .ST 2IM.-I. U). M.N..in \ IRII K OF 0M:RI. M'PINIi IDFNTIFIC VHONS I SK .




                                                                             Special Proceedings No.;sp oi,'>(i.22.

Tliis is a petition legally originated by the private action of MR. \ 1.1:\ \ n d i; r k. r m. m s m \.
SI ! 11 RI s, who submits it to be publicly, and legally made known through tlie sensible and
transparent actions of the Court Procedure duly ratif)ang that;
        1.        That the Petitioner is a bona fide Gtiam resident of (2.2) years and of legal age to represent;

       2-         Tliat the Petitioner was bom on Jl l.% O. MW.V \.n. \i.v» ; I'ltn            .at 22.."i'2({    N ,88.'l(»'{9         F .


       3.        'ITie Petitioner, who is now called, and has borne since the year 2nrt. V.D.M.N. : M'M. \.ll. .his
                  True and Sole Official Appellation, as the true name of MR. \I.FN\Ni)KR k. R VI. MSM SI I II IU.S;en-
                  Iter^ii^l its^vet^^Lejgral Recognition in all legally valid forms of public, governmental,and prh'ate docu-
                  mentapdhsfiindlentfertains this VMKNDMKNT as a Formal .Action in Service to that Oversight, and at the PI B-
                :iJtrs Solicitation,intending that the"Overlap of Two Names"issue be Judicially righted,
              a. The Name is currently unlawfully Mis-Represented on the Petitioner's Social Securit)- Card.

       a.         The Petitioner firmly rebukes, denounces,and expropriates all attempts at public and private fraud,

      misfeasance, and deliberate legal mischief, or misrepresentations as created, or attempted, by some,through the
      straw man conceit of the existence of"overlapping names ",does not have a criminal record, and does not

      practice cor intend lawlessness.(5) W IIFRICI-'dRF, the Petitioner prays * that the ("ourt issue its foraial legal
      rccogiuiilons to MR. M.KN andkr k.r m. ms\i v .st i ii Ris, as constituting the sole valid and lawful name by which tlie
      .solemn petitioner is to be exclusively identified in competent legal relations relative to all parties and Solicitors.
      TTic Same, has been hence Respectfully submitted this 28TH.Day of Jl IA.2ft2l, \.l). M.N. ;                                X.ll. .



                                                                       MR. M.KN \NI)I:R K. RM. MSM \..S| I it RLSw

                                                                       SF.I.F-RKPRICSKNTKI)PKTH IONKR.(;i \M.I Ni l KU ST VIKS^
Case 1:19-md-02915-AJT-JFA Document 2285-1 Filed 11/07/23 Page 35 of 119 PageID#
                                    50024

 I i!\<ivrN\.<a \M   K
 The United States of America.


       The Petitioner, being duly sworn,deposes and states it as follows:
       That he has read tlic foregoing petition and is learned of the contents thereof, and the
       same is disposed to be true of his knowledge and just coiwiction, and co-equally tliose
       matters which he believes them to be secure and consistent by the \irtuc of tlic Good

       Faith presently so exercised, in a fashion, both * Necessary as well as'Proper'.

      As Dated this 2STii.day of.ji i.^ .'im. U). ma. 1113.. \.n. .


                                       Mil.              K. Iivr, MSM V.SII It ItlS




      SUBSCRlBLiP AND SWORN before me on this 2«rn.davofji i.^ .'urn. vii m.V : ii'S.i.. ui.


                                                        by the Petitioner.



                                                        NOI ARV PUBLIC




                                                                  LEA B.MARA
                                                                      notary TOBUC
                                                                      In and fbr Guam,USA.
Case 1:19-md-02915-AJT-JFA Document 2285-1 Filed 11/07/23 Page 36 of 119 PageID#
                                    50025
 1     MIL^EXANDER K.RAI,            SUI JURIS
       P.O.BOX 102101 TAimiNING
                              | GUAM 96931                                    received
 2     THE UNITED STATES OF AMERICA                                      ^^   |2-J^
       (TEI.); + 1,928.485.4509 j + 1.908.287.2888. r                          OCT 03:2323        -
 3     Self^SU^resented LitfganL                                                                                   2323 OCT-3 K!|2:|7
                                                                     -Ci! V            OFFICE
 4                                                                       Si . t .^l«yN,.0UKT0FGUAM                   CLfcRn OF COURT

 5
                                                                                                               BY:
                                   IN THE SUPERIOR COURT OF GUAM.
 6
          IN THE MATTER OF THE APPLICATION OF                                                 SPECIAL PROCEEDINGS(#).SP 0156 - 22
 7        MR.ALEXANDER K.RAI,M.S.M.A SUI IIHUS
          pgrmoNER.
 8
          AS FORMERLY KNOWN.AS:
                                                                                                           ORDER
          .ALEX.ANDER K RAI MS.MA SLIILRIS,// AKA.// ALEXANDER K RAI
 9


 10
       The application of Petitioner praying for an Order from this Coiirt to change his
 11
       LEGAL NAME from ALEXANDER K RAI MSMA SUI IURIS,AILA ALEXANDER K RAI tO MR.
 12    ALfiXANDER K.RAI,M.&MA-,SUI lURis,came on regularly to be heard on this 3^ day of
      '                            ^2^2-3                      ,before the HONORAfiLE judge JONATHAN R.QUAN,
 13
      Ju<^e of the Superior Court of Guam,and proof having given to the satisfaction of
 14   the Court,and no objection to petitioner assuming the name proposed.

 15
       IT IS THEREFORE ORDERD,ADJUDGED,AND DECREED that the name of the Petitioner,
 16    ALEXANDER KRAI MSMAsuiiuris,a.ka.alexanderKRAI, he,of the same,he
      ^"HFjaiEBY CHANCED tO MR.ALEXANDER K.RAI,M.S.MA.,SUI lURIS.
 17


 18


 19
       SO ORDERED: lOj^3
20
21
                                                                              DRABLE JUDGE                   ,RIOR COURT OF GUAM.
22                                                                             Honorable Jonatban R.
23                                                                             lU^Mrate Jndge* Snpcrior Cosit of
                                        -      v7>■        .-fire
                                            ,w. ' -x "wkii C; fhe
24                                              . . Lo jf; c' Gi'snri.
25                                                                                                                       ocro3>|gi?
26                       . O^ x^'2^                                                                                supreme
27
                                    Ainy Cc'Lsin K. Afcao
28                                                                                                                 BYt
                                        Depciy^jiir*
Case 1:19-md-02915-AJT-JFA Document 2285-1 Filed 11/07/23 Page 37 of 119 PageID#
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                            auvKojvujvs^

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                           EnomMo'^^^ ^Sf/4y6a,f/aX/6

                       { AAT.                   354^06^




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                Case 1:19-md-02915-AJT-JFA Document 2285-1 Filed 11/07/23 Page 38 of 119 PageID#
                                                    50027




                               ATTN : HON.ANTHONY BLTNKRN.
                               The U.S. State Department.
                               Office of the State Secretary,
                               ROOM #. 7226.
                               Harry S. Truman Building.,
                               2201 * C'ST., N.W,                                                 ^A1     g
                               Washington, D.C. 20520.
                               The United States.
                                                                           THl- RMIR/\TI' Ol' DUBAI,THI
                                                                                     US. CONSUI.AR AN     § 11
                                                                                                          s 13
p+?*-                           D.O.I., MAY 19, 2021, \D/MS ; 1442, A.H.

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                                                                                       8 u 5 cS -3 z
   Case 1:19-md-02915-AJT-JFA Document 2285-1 Filed 11/07/23 Page 39 of 119 PageID#
                                       50028
   ADVOCATE IN PACT - NOTARLAL DESIGNATION,(IN THE UNITED STAITS AND TERRITORIES).
 The Government of Guam, Guam Police Department,                                                                            Judiciary.
UNnT-RSAL I^WV erJUSTICE:IN CONVENTION OF PUBLIC AND TERRITORIAL DEFENSE,UNITED STA'IES.


The foregoing instrument was acknowledged before me this         day of 202i,A.D./M.X.,
by MR. ALEXANDER K. RAI, M.S.M.A,SUI lURIS, as advocate in fact for the Citizens of
the United States and Territories *,in a Universal and International designation, who is
personally known to me(or) who has produced(official identification in a world
CAPACITY) as identification, on behalf of *(all duly retained constitutional equities,
VIA the administration of the Lto.AAI iendment);

Signature of Notary Public j/                                          My
                                                                          i'.'AUMA
                                                                                    N(        i
                                                                                 In ?vndji>K)uatn, U.S.A.
                                                                                           Expires: JUNE 24,2023
                                                                         ^."'-■''^320 Heiiian d'ortcz Avenue
                                                                     JCrtfeXjuarantv Buildina. Suite 100 Haeatoa GU 96932
Personally known:                             '
(OR)Produced Identification:.                           Type of Identification Produced: wsa
354605, D.C.

                                                                ilfCIIAELA MARIE TORRES PANGIUNAN
                                                                            NOTARY PUBLIC
                                                                          In and for Guam, U.S.A.
 A rr* J        r" T      1 O       1               :       I   1 My Commission Expires: JIINE24,2023
Affidavit of Legal Sub mis sic                                            J                 "ooStna gu %932
The Territory of Guam, The United States of America.

Signed and Sworn to (or Affirmed) before myself * on (date) A/a/'

By, MR ALEXVNpER K. RAI, M.S.M.A., SUI lURIS, ( Affiant) , rendering the Statement by
Affidavit.                              /I      i       y


Signature of notarial officer :
Tide of Office :




                   My commission expires upon :                                                                              GUlAM

                            MJCHAELAjVURIETORRES PANGIUNAN
                                             NOTARY PUBLIC
                                             In and for Guam, U.S.A.
                             My Commission Expires: JUNE 24,2023
                                              320 Heman Conez Avenue
                            Title Guaranty Buildina. Suite 1 DO Haeaina GU 9f;932
    Case 1:19-md-02915-AJT-JFA Document 2285-1 Filed 11/07/23 Page 40 of 119 PageID#
                                        50029


                                                                         OFHCIAL DOCUMENTATION OF IDENTITY THEFT.
     A.G. 21-0425
                                                                         THE GOVERNMENT

                                                                         OF GUAM.
                                                                         THE UNITED STATES OF AMERICA.




                                                                  GUAM GOVERNMENT UNIQUE REF.(#.)
Statement of Report.                                           ( C.F.S.) U . 2021 - 25634 GUAM POLICE.
BY INSTITUTIONAL AFFIDA\TT:PERMANENT ARCHIVES.                 OFFICIALLY FILED AM)LNnTRS/VLLY DESIGNATED.




  (i.l )NATUIu:u-SCOPEOFDOCUMfiNrAnON( riiHITOFIDENiriY). This report uniquely identifies,
   acknowledges, enumerates, and otherwise formally documents(on the basis of a direct personal
   appearance [CIMLREPRESENTATION]), the lawful Testimony of UNLAWFULIDENTITYTHEFT of the bona
   fide United States Citizen MR.ALEXANDERK.RAI,M.S.M.A,SUIIURIS, formally accounted by a"Bank
   Affidavit    with all corresponding Proofs (per,'Law of Evidence '), as seconded by EO.LA.,
   U.S.C.I.S.(Form G-639,O.M.B(No.) 1615-0102), ETC.(Identity Theft Report #. 125010837), the
   Guam Attorney General's Office Legal Filing(A.G.#.21-0425 ), U.S. State Department Legal
   Affidavit(O.M.B.APPROVAL#.1405-0133 ), U.S. Department of Justice (Report #.'s 19249-QBQ,
   786-KMJ), the Supreme Court of Mauritius, Republic of Mauritius, Indian Ocean (985821 SC/
   14324/21), Nationalized Affirmative Acknowledgement by Judicature, U.S. State Department,
   Office of Inspector General(Acknowledgement #. 2021-F-034), Dubai Police, Government of
   Dubai, the United Arab Emirates(Official Police Report #.220064074528); Direct Diplomatic
   Cable issued by the Sovereign Citizen (Office of the United States Citizen) to His Excellency the
   Honorable j^thony J. Blinken, Secretary of State,(via Emirates Post Vessel #. RR102758136AE);
  Direct Legal      Judicial Consultation with Assistant Attorney General of the United States, U.S.
   Departmenl^ of Justice,"Office of Legal Policy Hon. B.A. Williams (via Emirates Post Vessel
  #.RR102758122AE); — Et Cetera,& Et Cetera,sic).
   Case 1:19-md-02915-AJT-JFA Document 2285-1 Filed 11/07/23 Page 41 of 119 PageID#
                                       50030


                                                                     OFHCIAL DOCUMENTATION OF IDEKTnY THEFT.

    A.G. 21-0425
                          GUlAM                                      THE GOVERNMENT

                                                                     OF GUAM.
                                                                     THE UNITED STATES OF AMERICA.




(2.1)ACCOUNT or THIiS l OLCN AK TICCliS: AFRICA,INDIAN OCEAN.The Stolen Articles respectively
acknowledge to document (I ) U.S. Adult Passport,(1) U.S. Adult Passport Card, via the U.S.
Embassy Port Louis Registry, at the U.S. State Department Register ptconsacrs, as legally transacted
on the date of(3/27/20i9,i:34:42P.M.), Indian Ocean Time,(Africa) ; Transaction 15014800, S.B.U.
Classified Encoded Certified Receipt No. 17861. Republic of Mauritius, Sovereign Unified Territory.


(2.2)ACCOlNiT OF THESTOLEN ARTICIJ-S: MIDDLEE\ST,ARABIAN GULF. The Stolen Articles respectively
acknowledge to document (1) U.S. Adult Passport,(1) U.S. Adult Passport Card, via the U.S.
Embassy Dubai Registry, at the U.S. State Department Register "cashier", as legally transacted on the
date of(6/22/2021,8:33:15A.M.), Arabian Gulf Common Time ,(Middle East); Transaction 15059909,
S.B.U. Classified Encoded Certified Receipt No. 75237. The United Arab Emirates, Sovereign Unified
Territory.


(3.1)PI'^RPETRATOR IDl^NTI'IT. The Sole Perpetrating Agent in Four (4)Counts of Theft is
ubiquitously and Officially indicated as the U.S. State Department, United States of America, by
recourse to internal agents thereof. The Crime (which is a non-indemnified Federal Tort, and a
Crime and a willful Fraud against God) recognizes this specie of a so-called"Covert"Action as
uniform and simultaneous against all individual U.S. citizens, and legal residents of the United States,
in wimess of God almighty, and the pervasive Enforcement         Further Providential Powers thereof
derived * and delegated in Legal Subsidiarity and in a Direct Consultation with the very Character
and Common Destiny of the Universal and Manifest Humanities, and all human nations, states, and
sovereign persons * .
   Case 1:19-md-02915-AJT-JFA Document 2285-1 Filed 11/07/23 Page 42 of 119 PageID#
                                       50031


                                                                         OFFICL-VL DOCUMENTATION OF IDENTTH'THEFT

                                                                         THE GOVERNMENT
       A.G. 21-0425
                                                                         OF GUAM.
                                                                         THE UNITED STATES OF AMERICA.




(3.2)i:MTEDSTATILS()FAMIiRICAASSOVEREIGNPETniONDl.\N[)REFLlCEELNi()(;()I),l>RIME(:R£.VT()R.
Since, by the prolonged, and unprecedented disservice and Ubiquitous Crime recognized, the United
States of America is itself transformed into a Sovereign Petitioner by the virtue of this dispute,
(both on the basis of INDIVIDUAL LAW and PRIVATE LAW,(as likewise), by the basis Commonweal as
well as the equitable'Common Will'of Collective Rights, through not only the Supreme Law of
the United States,(U.S. Constitutional Law), but likewise, those of its legally autonomous,if not
co-sovereign and co-equal States and Autonomous Territories (55));

(.3.3)Li:ClTIMATE LMVERSAL RECALLOF ALL AHilOlU IV,PLI'N VRV AM)OIHEK POWIMLS.

For the sake of effectively redressing with Justice, fiill Sovereignty of the Nation, and every aspect,
department, and agency of its Rule, is hereby legally restored through the person of .MR.ALEX.ANDERK.
RAI,M.S.M.A.,SUIIURIS,(Christico-Terrestrical,   Abrahamic Agency), back unto the True and Only
Source of Universal Authority, God,the Prime Creator, and the Infinite and Eternal Power of
Truth, the Sovereign Possessor of, and the 'Christ Consciousness' permeating all Things, void of
whom there is no sustenance.



< 3.4)LEGAL ANMILMEMOF'HIE F0R.MERC0MLN.AM (S).

Said enactment thereby permanentiy and unconditionally extinguishes and universally annuls the
prior Sovereign Covenant of THEUNnEDST.AlESOFAMERICA, all States and Territories, with the
Sovereign Rights of God lawfully reversed, whereof. Original Delegation in Moral Self-
Determination is directly restored and re-institute unto the free will and equal consequence of all
unique individuals, in the ubiquity of the United States and Territories, who are hence made directly
accountable to the Most High God of Truth and Life,"the ever Living God".
   Case 1:19-md-02915-AJT-JFA Document 2285-1 Filed 11/07/23 Page 43 of 119 PageID#
                                       50032

                                                                                                OFHCIALDOCUNIENTATEON OFIDENTITY THEFT.

                                                                                                THE GOVERNMENT
        A.G. 21-0425


                                                                                                 OF GUAM.
                                                                                                THE UNITED STATES OF AMERICA.




(3.5)FULL FAITH AM)CREDIT:INTERNATIONALSCOPE.

The effect of this legal transformation takes an immediate and spontaneous effect across the scope
of international relations, re-codifying all covenants, relations, and understanding in accordance, and
in utmost neutrality of the absolute Truth,in parity with its broader commons.

(4.1)PKESEMA'nON.

This Customary <& Legal Ratification is hence satisfactorily conferred upon the United States of
America, both States and Territories, and all mankind,in wimess of the autonomous and morally
accountable and self-responsible self-governing power of the Guam Government, jointly with the
United States Department of Interior, and the Guam Territory taken as a whole in the composite of
her self-jurisdictional welfare. The form of this legal representation is that of an OFIICI.AI.POLICE
REPORT,simultaneously submitted and lodged into the Court of Heaven, by this loyal Christian
Advocate, Broker Exchequer and Ad Hoc Litigator of True Christendom,and direct fiduciary of
Jesus Christ and the evergreen Tree of the One True Universal and Multiversal Monotheistic Faith,
in witness of all our Ministers, Protectors, Prophets, Counselors, and Guides, and So help me God!



(4.2)ATFESTATION d?'IMPRLVlA[llR.



Signature:
                              MR.ALEXAN'DER K.RAL M.S.M.A.. SUl lURlS.

     UNITED STATES OF AMERICA,OFFICE OF THE SOVEREIGN CITIZEN (O.S.C).

        D.O.J., MONDAY.NOVFMBFU 1 .Y,2021. A.D. i M.X.
                                                     | (I44:i, A.II.); 11'RIU lORY AM)l'IUN<Jl'ALnY()!- CLAM
          Case 1:19-md-02915-AJT-JFA Document 2285-1 Filed 11/07/23 Page 44 of 119 PageID#
                                              50033


fw    #\^ 1




                              ^gxilcMwi'jUao
                           Bahrain International Airport            CPN 01 OF 01
     II                        E-TICKET RECEIPT / ITINERARY         DATE:01SEP19
     T|   ENDORSEMENTS:NONEND/NONREF/VALID ON CX/KA ONLY PEN            ISSUED BY:33895934
     II   ALTIES MAY APPLY                                              NYC
     31   NAME:RAI MSMA SUI lURIS/MR ALEXANDER
     if   BOOKING REF:S4GGDE
     ?l   FROM                     TO                           FLIGHT  CL DATE  TIME ST BAG
     SI   BAHRAIN              BAH DUBAI                    DXB OX   746 N 03SEP 1340 OK 30K




          FARE:USD    64.00               FORM OF PAYMENT                CONDITIONS CF CAfy^IAQE
          TAXES/FEES/CHARGES:       CMEQUE
                                    CH                                   MAY BE INSPECTED ON
          BH    18.62                                                    APPLICATION TO
          HM     0.40 YR    16.80                 E~TICKET NUMBER        THEAI RLl                  jUsx
          TOTAL:USD  102.36                       160 742 1203966                Bahrain International Aiiport




                                                                                                                 00 u
        Case 1:19-md-02915-AJT-JFA Document 2285-1 Filed 11/07/23 Page 45 of 119 PageID#
                                            50034                                     Page 1 of 6
                                                                                                                                           World MasterCard Account Ending In 6174
                                                                                                                                Jul. 16, 2019-Aug. 15, 2019 1 31 days in Billing Cycle


                            Payment Information                                                                                     Account Summary
  Payment Due Date                                For online and phone payments,                           Previous Balance                                               $1,480.86

  Sep. 12, 2019                                                                                            Payments                                                      -$1,763.42

  New Balance                                       Minimum Payment Due                                    Other Credits                                                     - $75.00

  $2,661.15                                        $33.00                                                  Transactions                                                 -h $2,537.31

                                                                                                           Cash Advances                                                     $454.72
  LATE PAYMENT WARNING: If we do not receive your minimum payment
  by your due date, you may have to pay a late fee of up to $38.00.                                        Fees Charged                                                      -1- $20.00
  MINIMUM PAYMENT WARNING: If you make only the minimum                                                                                                                        -1- $6.68
                                                                                                           Interest Charged
  payment each period, you will pay more in interest and it will take you
  longer to pay off your balance. For example;                                                                                                                           = $2,881.15
                                                                                                           New Balance

      you maKe no                     you win pay on
    idditionai charges using • the balance shown
    his card and each                 on this statement                                                    Credit Limit                                                    $4,500.00
      onth vou oav...                 in about...
                                                                                                           Available Credit (as of Aug. 15, 2019)                          $1,838.85 ^
    Minimum Payment                   15 Years                     $7,768                                  Cash Advance Credit Limit                                         $500.00
    $109                              3 Years                      $3,919
                                                                                                           Available Credit for Cash Advances                                  $38.00
  I Estimated savings if balance is paid off in about 3 years; $3,849
                                                                                                       ]
  If you would like information about credit counseling services, call 1-888-326-8055.
                                                                                                                   Sfilifii-
                                                                                                              Rewards Balance as of
                                                                                                                   08/14/2019               Track and redeem your rewards wi^ our
                                                                                                                                              mobile app or on
                                                                                                                  $21.87
                                                                                                             Previous Balance             Earned                     Redeemed'
                                                                                                                   $2.53                 $34.84                      -$15,50;!


                                                                                Account Notifications
       Welcome to your account notifications. Check back here each month for
       important updates about your account.




Pay or manage your account on our mobile app or at www.capitalone.com.                               Customer Service; 1-800-903-3637              See reverse for Important Information


                              Please send us this portion of your statement and only one check (or one money order) to
Capha.                        ensure your payment is processed promptly. Allow at least seven business days for delivery.

                                                                                                                                                    Get the app designed
                                                                                                                                                    to save time.
  Payment Due Date: Sep. 12, 2019                                                Account Ending in 6174                                             Effortlessiy manage your
                                                                                                                                                    account on the go with
    New Balance                           Minimum Payment Due                            Amount Enclosed                                            the Capital One* mobile app.
   $2,661.15                             $33.00                                      $

        ALEXANDER K RAI NSMA SUI lURIS
        20 PAVILION RD
        VOORHEESi NJ DfiOM3-mSf                                                                                          Capital One
                                                                                                                         P.O. Box
                                                                                                                         Carol Stream-. IL tD117-bk'^2




                                                                                    1 5178059018656174 15 2661151480860033004
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                                                                          002
                                    50035
  How can I Avoid Paving Interest Charges? If you pay your statement's New Balance in             How do vou Process Payments? When you make a payment, you authorize us to
  full by the due date, we will not charge you interest on any new transactions that post to      initiate an ACH or electronic payment that will be debit^ from your bank account or
  the purchase segment. If you have been paying your account in full with no Interest             other related account When you provide a check or check infbnnation to make a
  Charges, but thai you do not pay your next New Balance in fiitl, we will charge interest on     payment, you authorize us to use information from the check to make a one-time ACH or
  the portion of the balance that you did not pay. For Cash Advances and Spedal                   other electronic transfer from your bank account. We may also process it as a check
  Transfers, we will start charging interest on the transaction date. Certain promotional         transaction. Funds may be withdrawn from your bank account as soon as the same day
  offers may allow you to pay less than the total New Balance and avoid paying Interest           we process your payment
  Charges on new purchases. Please refer to the front of your statement for additional            How do vou Apply Mv Payment? We generally apply payments up to your Minimum
  information.                                                                                    Payment first to the balance with the lowest APR (induding 0% APR), and then to
  How is the Interest Charge applied? Interest Charges accrue from the date of the                balances with higher APRs. We apply any part of yourpayment exceeding your Minimum
  transaction or thie first day of the Billing Cycle. Interest Charges accrue on every unpaid     Payment to the balance with the highest APR,and then to balances vnth lower APRs.
 amount until it Is paid in full. This means you may owe Interest Charges even if you pay         Billing Rinhts Summary (Does not Aoolv to Small Business Accountsi
 the entire New Balance for one Billing Cyde, but did not do so the previous Billing Cycle.      What To Do If You Think You Find A Mistake On Your Statement: If you think there
 Unpaid interest Charges are added to the corresponding segment of your account.                 is an error on your statement write to us at:
  Do vou assess a Minimum Interest Charoa? We may assess a minimum Interest                      Capital One P.O. Box 30285 Salt Lake City, UT 84130-0285.
  Charge of $0.50for each Billing Cyde if your account is subject to an Interest Charge.         In your letter, give us the following information:
  How do vou Calculate the Interest Charge? We use a method called Average Daily
  Balance(induding new transactions).                                                            • Account information: Your name and account number.
  1.Rrst, for each segment we take the beginning balance each day and add in new                 • Dollar amount The dollar amount of the suspected error.
    transactions and the periodic Interest Charge on the previous day's balance. Then we         • Description of Problem: If you think there Is an error on your bill, describe what you
    subtract any payments and credits for that segment as of that day. The result Is the          believe is wrong and why you believe it Is a mistake. You must contact us within 60
    daily balance for each segment However, if your previous statement balance was zero           days after the error appeared on your statement. You must notify us of any potential
    or a credit amount, new transactions which post to your purchase segment are not              errors In writing. You may call us or notify us electronically, but if you do we are not
    added to the daily balance.                                                                   required to investigate any potential errors and you may have to pay the amount in
 2. Next, for each segment we add the daily balances together and divide the sum by the           question. We will notify you in writing within 30 days of our receipt of your letter. While
    number of days in the Billing Cycle. The result is the Average Daily Balance for each         we investigate whether or not there has been an error, the following are true:
    segment.                                                                                     • We cannot try to collect the amount In question, or report you as delinquent on that
 3. At the end of each Billing Cyde, we multiply your Average Daily Balance for each              amount The charge in quesb'on may remain on your statement and we may continue to
   segment by the daily periodic rate(APR divided by 365)for that segment, and then we            charge you interest on that amount. But, if we determine that we made a mistake, you
    multiply the result by the number of days in the Billing Cyde. We add the Interest            will not have to pay the amount in question or any interest or other fees related to that
    Charges for aO segments together. The result Is your total Interest Charge for the Billing    amount.
    Cycle.                                                                                   • While you do not have to pay the amount in question until we send you a notice about
 The Average Daily Balance is referred to as the Balance Subject to Interest Rate in the the outcome of our investigation, you are responsible for the remainder of your balance.
 interest Charge Calculation section of this Statement.                                      • We can apply any unpaid amount against your credit limit. Within SO days of our
 NOTE: Due to rounding or a minimum Interest Charge, this calculation may vary slightly receipt of your letter, we will send you a written notice explaining either that we
 from the Interest;Charge actually assessed.                                                 corrected the error (to appear on your next statement) or the reasons we believe the bill
 How can mv Variable APR change? Your APRs may Increase or decrease based on one is correct
 of the following indices (reported in The Wall Street Journal). The letter code below Your Rights If You Are Dissatisfied With Your Purchase: If you are dissatisfied with
 corresponds with the letter next to your APRs in the Interest Charge Calculation section of the goods or services that you have purchased with your credit card, and you have tried
 this statement.                                                                             in good feith to correct the problem with the merchant, you may have the right not to pay
  Code next to How do we calculate your                 When your APR(s)will change          the remaining amount due on the purchase. To use this right, the following must
  vour APRfs) APRfst? Index * margin                                                             be true:
                          Prime Rate + margin          The first day of the Billing Cydes that   1) You must have used your credit card for the purchase. Purchases made with cash
                        3 month LIBOR t margin         end in Jan., April, July, and Oct.        advances from an ATM or with a check that accesses your credit card account do not
                                                                                                 qualify; and
                         Prime Rate + margin          The first day of each Billing Cycle.
                                                                                                 2)You must not yet have fully paid for the purchase.
                       1 month LIBOR + margin
                                                                                                 If all of the criteria above are met and you are sbTI dissatisfied with the purchase,contact
  tow can I Avoid Membership Fees? if a Renewal Notice is printed on this statement,
                                                                                                 us In writing at: Capital One,P.O. Box 30285,Salt Lake City, UT 84130-0285. While we
 you may avoid paying an annual membership Fee by contacting Customer Service no later
                                                                                                 investigate, the same rules apply to the disputed amount as discussed above. After we
 than 45 days after the last day in the Billing Cycle covered by this statement to request
                                                                                                 finish our invesb'gatlon, we will tell you our decision. At that point, if we think you owe an
 that we close your account. To avoid paying a monthly membership Fee, dose your
                                                                                                 amount and you do not pay we may report you as delinquent.
 account and we will stop assessing your monthly membership Fee.
 How can I Close Mv Account? You can contact Customer Service anytime to request                                                                                                     ETC-08
                                                                                                 © 2016 Capital One. Capital One is a federally registered service mark             11/01/16
 that we dose your account.




Changing Mailing Address?                                                                        How do I Make Payments? You may make your payment in several ways:
                                                                                                 1. Online Banking by logging into your account;
You can change your address by signing into your account online or calling Customer
                                                                                                 2. Capital One Mobile Banking app for approved electronic devices;
Service.
                                                                                                 3. Calling the telephone number listed on the front of this statement and providing the
                                                                                                      required payment infbnnation;
                                                                                                 4.    Sending mail payments to the address on the front of this statement with the
           Pay online at www.capltalone.com                                                            payment coupon or your account information.

                                                                                                 When will vou Credit Mv Payment?
        Pay using our mobile app
                                                                                                 •     For mobSe, online or over the phone,as of the business day we receive it, as long
                                                                                                       as it is made by 8 p.m. ET.
                                                                                                 •     For mail, as of the business day we receive iL as long as it is received by 5 p.m.
                                                                                                       local time at our processing center. You mustsend the bottom portion of this
                                                                                                       statement and your check to the payment address on the front of this statement
                                                                                                       Please allow at least seven(7) business days for mail delivery. Mailed payments
                                                                                                       received by us at any other location or payments in any other form may not be
                                                                                                       credited as of the day we receive them.




           Any written requests on this form will not be honored. To manage your account, please refer to your billing statement for customer service options.
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                                                                                                   World MasterCard Account Ending in 6174
                                                                                        Jul. 16, 2019 - Aug. 15, 2019 I 31 days in Billing Cycle


                           Transactions                                                   Transactions Continued

        Visit -.v.m.        .com to see detailed transactions.           Date     Description                                            Amount

                                                                         Jul 15   MEDACTIV CASCAVELLECASCAVELLE                           $1.55
ALEXANDER K RAI MSMA SUI lURIS #6174: Payments, Credits and                       55.00 MUR
Adjustments                                                                       35.483870968 Exchange Rate

Date         Description                                     Amount      Jul 16   PAYPAL"EBAY INC4029357733CA                             $0.73

Jul 2        BAHRAIN VISABARCELONAESP                      - $75.00      Jul 16   PAYPAL *EBAY INC4029357733CA                            $0.46

Jul 25       CAPITAL ONE ONLINE PYMTAuthDate              -$282.56       Jul 16   PAYPAL•CARAVAN58344029357733CA                          $7.00
             25-Jul
                                                                         Jul 16   PAYPAL *SHASHIPATEL4029357733CA                        $10.98
AugS         ELECTRONIC PAYMENT                         -$1,480.86
                                                                         Jul 16   THE FOURSOME LTDCASCAVELLE                             $11.39
                                                                                  405.00 MUR
ALEXANDER K RAI MSMA SUI lURIS #6174: Transactions                                35.557506585 Exchange Rate

                                                                         Jul 16   KATBALOU HAIR & BEAUTYQUATRE                            $8.44
Date         Description                                     Amount
                                                                                  BORNES
                                                                                  300.00 MUR
Jui 12       THE FOURSOME LTDCASCAVELLE                          $3.09
                                                                                  35.545023697 Exchange Rate
             110.00 MUR
             35.598705502 Exchange Rate                                  Jul 16   CASELA SPORTS CENTREFLIC EN FLAC                        $2.25
                                                                                  80.00 MUR
Jul 12       THE FOURSOME LTDCASCAVELLE                          $2.53
                                                                                  35.555555556 Exchange Rate
             90.00 MUR
             35.573122530 Exchange Rate                                  Jul 17   TENG ROOTS LTDFLIC EN FLAC                             $13.89
                                                                                  495.00 MUR
Jul 13       THE FOURSOME LTDCASCAVELLE                          $3.09
                                                                                  35.637149028 Exchange Rate
             110.00 MUR
             35.598705502 Exchange Rate                                  Jul 17   THE FOURSOME LTDCASCAVELLE                              $2.52
                                                                                  90.00 MUR
Jul 13       THE FOURSOME LTDCASCAVELLE                          $2.53
                                                                                  35.714285714 Exchange Rate
             90.00 MUR
             35.573122530 Exchange Rate                                  Jul 17   F EN FLAC PHARMACYFLIC EN FLAC                         $11.05
                                                                                  394.00 MUR
             THE FOURSOME LTDCASCAVELLE
                                                                                  35.656108597 Exchange Rate
             90.00 MUR
             35.573122530 Exchange Rate                                  Jul 18   JUMBO EXPRESS PASADENAFLIC EN                           $4.95
                                                                                  FLACMUS
             JUMBO EXPRESS PASADENAFLIC EN FLAC
                                                                                  176.45 MUR
             150.00 MUR
                                                                                  35.646464646 Exchange Rate
             35.545023697 Exchange Rate
                                                                         Jul 18   OPC*Hudson Co CC866-487-4567NJ                         $25.00
             THE FOURSOME LTDCASCAVELLE
             90.00 MUR                                                   Jul 18   THE FOURSOME LTDCASCAVELLE                              $8.10
             35.573122530 Exchange Rate                                           290.00 MUR
                                                                                  35.802469136 Exchange Rate
             JUMBO EXPRESS PASADENAFLIC EN
             FLACMUS                                                     Jul 18   CASELA SPORTS CENTREFLIC EN FLAC                        $4.47
             106,45 MUR                                                           160.00 MUR
             35.602006689 Exchange Rate                                           35.794183445 Exchange Rate
Jul 15       MC DONALDS -                                        $1.66   Jul 19   WOOLWORTHS-                                            $44.01
             CASCAVELLCASCAVELLEMUS                                               CASCAVELLCASCAVELLEMUS
             59.00 MUR                                                            1,575.00 MUR
             35.542168675 Exchange Rate                                           35.787321063 Exchange Rate
Jul 15       TONY PHONE LTDCASCAVELLE                        $16.88      Jul 19   LOVELIFE - PASADENAFLIC EN FLACMUS                     $15.76
             600.00 MUR                                                           564.00 MUR
             35.545023697 Exchange Rate                                           35.786802030 Exchange Rate
Jul 15       WINNERS CASCAVELLECASCAVELLE                        $1.40   Jul 19   SENDMYBAG (Nl) LTDBANGORGBR                           $307.22
             49.90 MUR
             35.642857143 Exchange Rate                                  Jul 19   WINNERS CASCAVELLECASCAVELLE                            $1.11
                                                                                  39.50 MUR
Jul 15       THE FOURSOME LTDCASCAVELLE                          $2.53            35.585585586 Exchange Rate
             90.00 MUR
             35.573122530 Exchange Rate

Jul 15       THE FOURSOME LTDCASCAVELLE                          $8.16
             290.00 MUR
             35.539215686 Exchange Rate                                             Transactions continue on the bacK of this page
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                                                                               World MasterCard Account Ending in 6174
                                                                   Jul. 16, 2019 - Aug. 15, 2019 I 31 days in Billing Cycle


                 Transactions Continued                               Transactions Continued
Date     Description                       Amount   Date     Description                                            Amount

Jul 19   CRAFT DECOR LTDCASCAVELLE          $2.80   Jul 22   THE FOURSOME LTDCASCAVELLE                             $8.11
         100,00 MUR                                          290.00 MUR
         35.714285714 Exchange Rate                          35.758323058 Exchange Rate

Jul 19   BANGKOK COMPANY LTDFLIC EN FLAC    $6.14   Jul 23   WWW.C0URSEHER0.C0M8886349397CA                       $119.40
         219.00 MUR
         35.667752443 Exchange Rate                 Jul 23   CAFE LUXFLOREAL                                        $6.57
                                                             235.00 MUR
Jul 19   THE FOURSOME LTDCASCAVELLE         $8.96            35.768645358 Exchange Rate
         320.00 MUR
         35.714285714 Exchange Rate                 Jul 23   MEEM LTDPORT LOUIS                                    $14.79
                                                             529.00 MUR
Jul 20   WWW.ACETXT.COMHORSLEYNSW          $19.90            35.767410412 Exchange Rate

Jul 20   SKYPE.COM/G0/BILL6508991504CA     $14.23   Jul 24   0000032342PORT LOUIS                                 $286.91

Jul 20   WINNERS CASCAVELLECASCAVELLEMUS    $1.10   Jul 24   PAYPAL *EBAY INC4029357733CA                           $0.20
         39.50 MUR
         35.909090909 Exchange Rate                 Jul 24   SKYPE.COM/GO/BILL6508991504CA                         $12.99

Jul 20   MC DONALDS-                        $1.65   Jul 24   PAYPAL *CARAVAN58344029357733CA                        $3.00
         CASCAVELLCASCAVELLEMUS
                                                    Jul 24   CAFE LUXFLOREAL                                        $4.03
         59.00 MUR
                                                             145.00 MUR
         35.757575758 Exchange Rate
                                                             35.980148883 Exchange Rate
Jul 20   THE FOURSOME LTDCASCAVELLE         $2.52
                                                    Jul 24   CAFE LUXFLOREAL                                        $2.50
         90.00 MUR
                                                             90.00 MUR
         35.714285714 Exchange Rate
                                                             36.000000000 Exchange Rate
Jul 20   THE FOURSOME LTDCASCAVELLE         $8.12
                                                    Jul 24   CAFE LUXFLOREAL                                        $2.50
         290.00 MUR
                                                             90.00 MUR
         35.714285714 Exchange Rate
                                                             36.000000000 Exchange Rate
Jul 21   PAYPAL'EBAY INC4029357733CA        $1.10
                                                    Jul 24   COFFEE LOUNGEPORT LOUIS                                $3.89
Jul 21   PAYPAL *CJMCEC0VERS4029357733CA   $16.53            140.00 MUR
                                                             35.989717224 Exchange Rate
Jul 21   MC DONALDS-                        $1.65
         CASCAVELLCASCAVELLEMUS                     Jul 25   PAYPAL *EBAY INC4029357733CA                           $0.44
         59.00 MUR
                                                    Jul 25   PAYPAL *GOLDPATHINC4029357733CA                        $6.63
         35.757575758 Exchange Rate
                                                    Jul 25   JUMBO EXPRESS PASADENAFLIC EN                          $1.39
Jul 21   WINNERS CASCAVELLECASCAVELLE       $1.11
                                                             FLACMUS
         39.50 MUR
                                                             49.95 MUR
         35.585585586 Exchange Rate
                                                             35.935251799 Exchange Rate
Jul 21   TENG ROOTS LTDFLIC EN FLAC        $8.40
                                                    Jul 25   PHARMACIE DU CENTREPORT-LOUISMUS                       $5.54
         300.00 MUR
                                                             199.00 MUR
         35.714285714 Exchange Rate
                                                             35.920577617 Exchange Rate
Jul 21   THE FOURSOME LTDCASCAVELLE        $8.12
                                                    Jul 25   COA                                                   $74.95
         290.00 MUR
                                                             -WWW.CHEAP0AIR.C0M8004254567NY
         35.714285714 Exchange Rate
                                                    Jul 25   CAFE LUXFLOREAL                                        $6.55
Jul 22   PAYPAL'EBAY INC4029357733CA       $0.41
                                                             235.00 MUR
Jul 22   PAYPAL'EBAY INC4029357733CA       $0.56             35.877862595 Exchange Rate

Jul 22   PAYPAL *WMACHARRIE4029357733CA    $6.15    Jul 25   THE FOURSOME LTDCASCAVELLE                             $8.08
                                                             290.00 MUR
Jul 22   PAYPAL ''ALBRUM4029357733CA       $8.45             35.891089109 Exchange Rate

Jul 22   JUMBO EXPRESS PASADENAFLIC EN     $2.53    Jul 25   KENYAAIR7070673325001370NAIROBIK                    $602.69
         FLACMUS                                             EN
         90.35 MUR                                           TK#;70673325001370
         35.711462451 Exchange Rate                          PSGR: RAI MSMA SUI lU
                                                             uniu: ivinu, uco i : rdu
Jul 22   CAFE LUXFLOREAL                   $2.52              S/O: 0 CARRIER: KQ SVC: N
         90.00 MUR
         35.714285714 Exchange Rate

                                                                   Transactions continue on the next page
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                     Transactions Continued                                      Transactions Continued

    Date     Description                       Amount|          Date     Description                                           Amount

             ORIG: NBO, DEBT: HAH                               Jul 29   MC DONALDS - PORT                                     $1.64
               S/0: 0 CARRIER: KQSVC: N                                  LOUIPORT-LOUISMUS
             ORIG: HAH, DEST: NBO                                        59.00 MUR
               S/0: 0 CARRIER: KQSVC: N                                  35.975609756 Exchange Rate
             ORIG: NBO, DEST: MRU
               S/0: 0 CARRIER: KQSVC: N                         Jul 29   CAFE LUXFLOREAL                                       $6.56
                                                                         235.00 MUR
    Jul 26   PAYPAL *EBAYINC4029357733CA       $0.66                     35.823170732 Exchange Rate
    Jul 26   PAYPAL *A1A1A14384029357733CA     $9.99            Jul 29   COFFEE LOUNGEPORT LOUIS                               $3.91
                                                                         140.00 MUR
    Jul 26   CAFE LUXFLOREAL                   $2.51
                                                                         35.805626598 Exchange Rate
             90.00 MUR
             35.856573705 Exchange Rate                         Jul 29   S AND K WATERFRONT LTDPORT LOUIS                      $6.70
                                                                         240.00 MUR
    Jul 26   CAFE LUXFLOREAL                   $1.25
                                                                         35.820895522 Exchange Rate
             45.00 MUR
             36.000000000 Exchange Rate                         Jul 30   CAFE LUXFLOREAL                                       $3.91
                                                                         140.00 MUR
    Jul 26   TASTE OF ASIAPORT LOUIS           $3.34
                                                                         35.805626598 Exchange Rate
             120.00 MUR
             35.928143713 Exchange Rate                         Jul 30   CAFE LUXFLOREAL                                       $6.56
                                                                         235.00 MUR
    Jul 27   CAFE LUXFLOREAL                    $2.51
                                                                         35.823170732 Exchange Rate
             90.00 MUR
             35.856573705 Exchange Rate                         Jul 30   CAFE LUXFLOREAL                                        $1.26
                                                                         45.00 MUR
    Jul 27   CAFE LUXFLOREAL                   $1.25
                                                                         35.714285714 Exchange Rate
             45.00 MUR
             36.000000000 Exchange Rate                         Jul 30   MEEM LTDPORT LOUIS                                     $3.57
                                                                         128.00 MUR
    Jul 27   TASTE OF ASIAPORT LOUIS            $5.71
                                                                         35.854341737 Exchange Rate
             205.00 MUR
             35.901926445 Exchange Rate                         Jul 31   CAFE LUXFLOREAL                                        $4.05
                                                                         145.00 MUR
    Jul 27   THE POST BOXPORT LOUIS             $3.90
                                                                         35.802469136 Exchange Rate
             140.00 MUR
             35.897435897 Exchange Rate                         Jul 31   BEAN PLANT LIMINAIROBI                                 $5.95
    Jul 28   J2 *MYFAX SERVICES6132160978IRL   $14.49           Jul 31   PAYPAL *EBAY INC4029357733CA                           $0.41
             13.00 EUR
             0.897170462 Exchange Rate                          Jul 31   PAYPAL *EBAY INC4029357733CA                           $1.37

    Jul 28   PAYPAL *EBAY INC4029357733CA       $0.21           Jul 31   PAYPAL *EBAY INC4029357733CA                           $0.13

    Jul 28   PAYPAL *CHBARA4029357733CA         $3.34           Jul 31   PAYPAL *CARAVAN58344029357733CA                        $2.00

    Jul 28   TASTE OF ASIAPORT LOUIS            $3.48           Jul 31   PAYPAL *ALBRUM4029357733CA                             $6.20
             125.00 MUR
             35.919540230 Exchange Rate                         Jul 31   PAYPAL *SHASHIPATEL4029357733CA                      $20.67

    Jul 28   ARABIAPORT LOUIS                   $3.21           Jul 31   SAFARI PARK HOTELNAIROBIKEN                            $1.92
             115.00 MUR                                                  200.00 KES
             35.825545171 Exchange Rate                                  104.166666667 Exchange Rate

    Jul 28   ARABIAPORT LOUIS                   $3.62           Jul 31   PAYPAL *EBAY INC4029357733CA                           $3.90
             130.00 MUR
             35.911602210 Exchange Rate                         Jul 31   PAYPAL *GULLIVERSTA4029357733CA                      $58.87

                                                                Jul 31   NAIROBI JAVA HONAIROBI                                 $2.04
    Jul 28   COFFEE LOUNGEPORT LOUIS            $4.03
                                                                         210.00 KES
    Jul 29   PAYPAL *EBAY INC4029357733CA       $0.33                    102.941176471 Exchange Rate

    Jul 29   PAYPAL *EBAY INC4029357733CA       $0.57           Jul 31   NAIROBI JAVA HONAIROBI                                 $4.06

    Jul 29   PAYPAL *GOLDPATHINC4029357733CA   $5.00            Jul 31   NAIROBI JAVA HONAIROBI                               $21.01

    Jul 29   PAYPAL *MATTHIJSSEB4029357733CA   $8.65            Aug2     Directpay-Vigor HospDublinIRL                        $95.74
                                                                         86.15 EUR
1                                                       1
                                                                         0.899832881 Exchange Rate
                                                            1                                                                            1
                                                                           Transactions continue on the back of this page
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                 Transactions Continued                                  Transactions Continued
Date     Description                        Amount   Date       Description                                            Amount

Aug 2    C0URSRA4AKZfLCOMH5DKW6502657649    $49.00   Aug 13     CAFE LUXFLOREAL                                        $3.83
         OA                                                     135.00 MUR
                                                                35.248041775 Exchange Rate
Aug 3    Directpay-Vigor HospDublinIRL       $9.45
         8.50 EUR                                    Aug 13     ARABIAPORT LOUIS                                      $10.07
         0.899470899 Exchange Rate                              355.00 MUR
                                                                35.253227408 Exchange Rate
Aug 4    Directpay-Vigor HospDublinIRL      $14.28
         12.85 EUR                                   Aug 13     NEXT STATION LTDPORT LOUIS                             $1.99
         0.899859944 Exchange Rate                              70.00 MUR
                                                                35.175879397 Exchange Rate
Aug 5    Directpay-Vigor HospDublinIRL      $25.20
         22.50 EUR                                   Aug 13     SKYFALL MGT SERVICESPORT LOUIS                       $150.40
         0.892857143 Exchange Rate                              5,300.00 MUR
                                                                35.239361702 Exchange Rate
Aug 5    Directpay-Vigor HospDublinIRL      $13.19
         11.78 EUR                                   Aug 13     PAYPAL *EBAY INC4029357733CA                           $1.34
         0.893100834 Exchange Rate
                                                     Aug 13     PAYPAL •DUKE46STAMP4029357733CA                       $20.13
Aug 6    Directpay-Vigor HospDublinIRL      $31.33
         27.86 EUR                                   Aug 14     DNH-MEDIA TEMPLE INC877-5784000CA                     $16.00
         0.889243537 Exchange Rate
                                                     Aug 15     DESI LUNCH BOXDUBAIARE                                 $7.08
Aug6     PAYPAL*EBAYINC4029357733CA          $0.68              26.00 AED
                                                                3.672316384 Exchange Rate
Aug 6    PAYPAL *ANIRAM4029357733CA         $10.20
                                                     Aug 15     DUBAI DUTY FREE- T3 PUDUBAIUAE                         $4.29
Aug 7    Directpay-Vigor HospDublinIRL       $2.36              15.75 AED
         2.10 EUR                                               3.671328671 Exchange Rate
         0.889830508 Exchange Rate
                                                     Aug 15     COSTA COFFEEDUBAIUAE                                   $3.74
Aug 7    PSU UNDERGRAD                      $65.00              13.75 AED
         ADMISSI0814-8638709PA                                  3.676470588 Exchange Rate

Aug 8    Directpay-Vigor HospDublinIRL      $12.03   Aug 15     COSTA COFFEEDUBAIUAE                                   $1.91
         10.70 EUR                                              7.00 AED
         0.889443059 Exchange Rate                              3.664921466 Exchange Rate

Aug 8    Directpay-Vigor HospDublinIRL       $8.43   ALEXANDER K RAI hASMA SUI lURIS #6174: Total                  $2,992.03
         7.50 EUR
         0.889679715 Exchange Rate
                                                     Total Transactions for This Period                           $2,992.03
Aug 9    Directpay-Vigor HospDublinIRL      $12.02
         10.71 EUR
         0.891014975 Exchange Rate

Aug 9    PAYPAL'EBAY INC4029357733CA         $0.52   Date       Description                                           Amount

Aug 9    PAYPAL *CJMCECOVERS4029357733CA     $7.91   Jul 25     CASH ADVANCE FEE                                      $10.00

Aug11    PAYPAL'EBAY INC4029357733CA         $7.72   Aug 14     CASH ADVANCE FEE                                      $10.00

Aug11    PAYPAL *WISHLER20004029357733CA   $108.09   Total Fees for This Period                                      $20.00
Aug 12   YOG EAST AFRICA LTDNAIROBIKEN       $5.00

Aug 12   YOG EAST AFRICA LTDNAIROBIKEN       $5.00

Aug 13   SBM' ATM NEW AINEW AIRPORT        $167.81   Interest Charge on Purchases                                      $0.00
         6,000.00 MUR
         35.754722603 Exchange Rate
                                                     Interest Charge on Cash Advances                                  $6.68

                                                     Interest Charge on Other Balances                                 $0.00
Aug 13   CAUDAN PHARMACY CO LTDPORT         $40.97
         LOUISMUS
         1,464.70 MUR                                Total Interest for This Period                                    $6.68
         35.750549182 Exchange Rate

Aug 13   CAUDAN PHARMACY CO LTDPORT
         LOUISMUS
         195.00 MUR
         35.779816514 Exchange Rate
                                                                     Transactions continue on the next page
      Case 1:19-md-02915-AJT-JFA Document 2285-1 Filed 11/07/23 Page 51 of 119 PageID#
                                          50040                                     Page 6 of 6
                                                                                                    World MasterCard Account Ending in 6174
                                                                                          Jul. 16, 2019-Aug. 15, 2019 1 31 days in Billing Cycle




     Total Fees charged                                                      $180.00

     Total Interest charged                                                   $61.07




       Your Annual Percentage Rate (APR) is the annual interest rate on your account.

    Type of                  Annual Percentage      Balance Subject     Interest Charge
    Balance                       Rate(APR)          to Interest Rate

    Purchases                    27.15% P

    Cash Advances                27.15% P               $289.63


    P,L,D,F = Variable Rate. See reverse of page 1 for details.




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         Case Information

         Case number
         220827070508347



         Reference number:
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         Document Files


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         1          CAPITAL_ONE_EVALUATIONS_merged_compressed.pdf                                          (4.4MB)




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                   BENEITTS. PLEASE RESOIA ETIIROI C.H LE<;1TIM \TE PROPIvRTV RESTORNTION OF
                   ST0M':N ARTICIJiS.



       Tin: oi'i ickofhie inspector(mineral.



                          USAID.

                         A    U.S.AGENCY FOR INTERNATIONAL

                     J^J DEVELOPAIENT.
                             P.O. BOX 657.


                   WASillNGTON,D.C. 20044 0657.
    D.O.I: I RIDAN.SKH 2<)TIL. 202X A.I). \i.\. :14-45. f A.ll. .




    Dear           Privy Inspector General i l iSAID i ;


    AS KKSPONDKNITO i ,(2), iS: T Wfm RKO ARDS TOTIII-: PKOBLKM BKINC UKPOHIKD.

    DAriNOS OF ITS DISCI.OSlREiSi. WO rilK I.FNr.TII OF ACTl AL PFRSKA EHANCK ;




    This is                                                      5. I HE



    (ci ri/FA), directly acknowledging to fully and truthfully dispose, an account at

    some i,(i4" days! in continuous pendency, relative to a duplicated ordering of

    two sets of T.s.Passport and i .s. Passport Cards^, between M AR.2".2nH) and jun.

    22.2021. at two distinct consular deliberative venues, the first being the Port

    1 41 C.E-'.R.:i()l   7.Per Diem Allowances.

    2 22 C.F.u. 51,Implementation of the Program Fraud Civil Remedies Act.
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   Louis Consulate at Mauritius, while the second having been ratified and

   reposed with the Dubai Consulate within the United Arab Emirates.


   This complaint is now justly commended to the oversight of the usaid

   framework for its cogent and final investigation 3, in that the underlying

   interests of its evaluations directly concern usaid contexts in foreign

   relations, and as this appUes and affects U.S. expatriates,(Citizens of the

   United States, that intend to represent themselves as such overseas 3).


   All confirmed and required duties and procedures,including, but not limited

   to, a full remittance of the conventional fees of documentation, were duly

   and completely vindicated^ in both sequences "7, with the first incident in

   particular duly obliging a o.m.b. i/i05.nis3 directed filing of a name chanck

   affidavit, acknowledging a fully verified ratification of the sole and exclusive




   3 22 C.F.R. 224,Implementation of the Program Fraud Civil Remedies Act.
    22 C.F.R. 201,Rules and Procedures Applicable to Commodit}^ Transactions Financed
   by the usaid.
   5 22 C.F.R. 130,Personal Property Disposition at Posts Abroad.
   6 22 C.F.R. 213,Claims Collection.

   7 41 C.F.R. PARTS 101 43,Utilization of Personal Property.
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   use of a consistent name, as perpetuated through a legal and customary^

   standard.



   AS RESPONDENT TO (4 ).WITH REGARDS TO THE RECENT OCCURRENCE OF THE PROBLEM

   SCENARIO SITlIATIOiNALm ;




   Though the U.S. State Department has since prefaced numerous preambles, all

   of them officious,(and none of them legally substantive or compelling in

   their own right against duties), even the most reasonable propitiations of a

   range of these officious bureaucratic acts have failed to obtain the just

   deliverance of the ordered documents           which, consistently, we have

   acknowledged as stolen          articles within the insular guani jurisdiction of

   America, on the basis of a filed police report attesting against this theft, with

   the intent, we (fellow Americas )believe, to be directed towards cooption

   our name,laws, values, economy, and routinized representation, for

   diversionary and non-professed international uses, of which we ourselves

   shall not be now, nor will become in the future, legitimate international

   8 22 c.F.R. 212,Public Information.

   9 31 c.F.R.904,Referrals to the Department of Justice.
   10 22 C.F.R.224,Implementation of the Program Fraud Civil Remedies Act.

   11 5 C.F.R. 1320,Controlling Paperwork Burdens on the PublicA.
Case 1:19-md-02915-AJT-JFA Document 2285-1 Filed 11/07/23 Page 56 of 119 PageID#
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   sponsors as taxpayers. Consistently,' Qui Tarn'grounds in a mediated claims

   representation can confer to an underlying basis within this individualized and

   equally legitimate and binding personal claim, by which the personal rights of

   the American people,(whether of nativity or naturalized),are possibly

   being subjected to the politicization and cooptions of the State Department

   clerics^2^ whose thieveries trace back all the way to the year 20ir>, when the

   peculiar Department appropriated name endorsing bank affidavits, a

   quadruple payment of servicing fees, and a non-returned article of the

   possessor's true likeness, in what appears to be its deputation's illegitimate and

   corruptive intention of discrediting underlying and broadly permeated

   cultural and identity rights and autonomies of the common American

   citizenry, jointly with higher rights to which the State is not itself beholden,

   and can not claim appropriation, except by fraud, thievery, and remarkable

   deceit, abuses against which the State Department can now only legally

   disgorge^'^, by legalia heti rmnc one set of confokviing l.s. passpoivi/passpoht




   12 5 c.Kii.735,Employee Responsibilities and Conduct.

   13 /|8 c.F.R. PART 706.302 70,Impairment of Foreign Aid Programs.
   14 31 c.ER.001,Standards for the Administrative Collection of Claims.
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          particularly by reliance unto the latter filing, while the duplicate set as

   originated within Mauritius, I, the naturalized citizen, am content to expiate as

   a token of goodwill^^ in service to Mauritius-United States unconditional and

   peaceable relations (in line with the goodwill of the usaid framework,insofar

   as that this shall favor the Mauritians, while not harm the Americans).


   AS RKSPON'DKNTTO (5.),THE IDENTIFICATION DOCIiVIEN1S.PERSONS.AND AC 11\n iES.

   I OR THE PI RPOSES OF"PROBLEM VERIFICATION" ;



   Numerous demands made through the eo.la.enquiry to have all submissions

   and originals particular to the Mauritius filing (so as to eliminate any

   underlying conflict of interests particular to that foreign country)to be

   faithfully returned and "restored"to solely the dubai consulate centralized

   archives ^"7, have been rebuffed by the apparent nescience of a bureaucratic

   wall, and we expect you to research this issue, and kindly confirm such a

   mediated re-officiation, while equally demanding that the State Department

   practice civic compliance by formally posting to me the dlbai serviced



   15 31 c.ER.902,Standard for the Compromise of Claims.
   16 5 C.ER.308,Volunteer Services.

   17 5 C.ER.110.503 503,Scope — Authority of the Head of an Agency — Records.
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   passport and passport card, acknowledging place of birth by solely

   GEOCii\PiiiCAiJ» coordinates, and not through any political entity or named

   entity attribution, since the nation to which providence has caused my

   conception, does not apprehend to itself the virtues of a dual citizenship, and

   thus can not, by its own laws, practice illegitimate self-attributionism by

   misusing my personal identity as a loophole by which it might intend

   otherwise to gain false entitlements. No such right shall be identified,

   recognized, satisfied, or legally extended by this individual, who owes no link

   nor allegiance along political, religious, or economic lines to that self-

   determined foreign nation (with whom no covenant is sustained),whilst,

   Mauritius,in noti^ retaining that clear conflict of interest, is suitably

   reconciled by a single-time enactment of a pacific renunciation of personal

   and economic intentions, enabling its Island Republic to collate itself

   meaningfully with consistent United States ventures and publics in a fashion

   best desired by both peoples, but without presuming to utilize any personal

   products or efficacious identity links that create a link of co-attribution.



   18 22 c.F.R.228.03,Identification of Principal Geographic Code Numbers.
   19 22 c.F.R.3, Gifts & Decorations from Foreign Governments.
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   leaving solely the dlb.\i consul.aj\ filings to be standard and common

   interface^o.



   AS RFSPO\nR\TTO ((W. AnniTIOXAr INFORM ATtON:




   In urging your U.S.aid office to directly liaise on this issue with secretary of

   STATE RLiNKEN'S office      I wiU further purpose and proceed to co-

   acknowledge a wide range of allegations, which I reasonably believe shall

   have played an anecdotal(and/or) underlying role in the undue alienation

   and theft of the ordered State Department Identification products;


   • (1)THE FALSE CLAIMS BASIS IN THE ALLEGATION: By effective reliance to the de

     facto'Qui Tam'application in the False Claims Act (F.C.A.),the unlawful

     and improper presumptive"takings"narrative of this citizen's legitimately

     renewed United States Passport ad Passport Card documents(both civic

     and personal property), the false claims basis,(correctly preserving

     through itself the common rights and responsible duties of ALL American

     Citizens)is invoked against the wrongful legitimate deliverance withholding


   20 5 C.ER.263/1,Executive Branch Financial Disclosure, Qualified Trusts, ad Certificates
   of Divestiture.

   21 5 C.F.R.735,Employee Responsibilities and Conduct.
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      narrative as implicitiy opined by that Federal agency 22^ which have,in their

     own turn, ushered forth no defensible justification as which might permit

     such a false appropriation, excepting that they may claim to not serve

     legitimate American subjects, as either naturalized or assumed by a mode of

     natural conception. Granted the simultaneous, and subsequent uptick in the

      waves of illegal migration across the nation's Southern Borders to the tune

     of the public importation of some(2)million illegal migrants, the

     implicate intent to defraud and disinherit legal(honafide) Americans, and

     falsify the common citizenship, while delegitimizing the just provisions of

     common law and boundaries, both national, as well as international, by

     recourse to falsification by misappropriation, would appear connected,

     linked, and contingent. It is, as such, a fact, that through the thieveries/

     duties withholdings, the State Department has legally defrauded the American

     people     of their legitimate Self-Representations, and thereby, equally

     administered an unjust and wrongful spoliation of our duly constituted

     government. Treating our constitutional truths, and responsible rights as


   22 22 5 c.pji. 2634.Executive Branch Financial Disclosure, Qualified Trusts, ad
   Certificates of Divestiture.

   23 5 c.RR.225,Protection of Human Subjects.
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     trifle truisms, while holding the law itself in contempt,they have spurned

     the very basis of America, while permeating unprecedented and widespread

     lawlessness by tangential and all pervading modalities, presenting a vast

     exhibition of contempt against underlying and providential forces.

     i 2)THR THEFT/ FMBKZZKEMFATS BASIS IN THE ALLEGATION :


     (2 A ) I HE iOlfi THEFTS: MISAPPKOPIHAriON rilllOl GH OVER-PAYMENTS I The State

     Department quadruply charged costs against its issuance of a single United

     States passport, containing incorrect information, and critical

     misattributions. While the stapled booklet issued by itself continues to be

     the propetty24 of its payer, it can only be considered, as issued, as a foil for

     the State Department itself, and akin to purchasing the State department in

     a tokenist form (in its own likeness and persona), rather than truly

     authenticating a legitimate personal identity. We have since initiated due

     process to obtain the primary Cashier Cheques of those excess payments,

     which, as it so happens, are released and endorsed by the true name of their

     proprietor, who is this self-represented plaintiff, mounting hence, by this

     complaint itself, a'Qui Tam'defense basis in common preservation of

   24 /ii c.ER.PARTS 101 43,Utilization of Personal Property.
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     our public civics and attributions at delegation. Three of these Four

     payments may have been transmitted at a substantial mis-inducement,

     against which the State Department has never certified any commissioned

     refunds25.



     ( 2 B VrilE 201fi TIIKF IS ; MISAPPROPRIATION OF ORIGINAL LIKFAKSS| The State


     Department claimed a format issue on the initially submitted correct

     personal likeness imprints, but has since silently refused to return these

     ori^nals when an express and legal solicitation of their lawful return was
     unequivocally represented to the department's estate. We have filed a formally

     commissioned enquiry petition as a point of relief to re-secure this original

     item of interest, as a point of principle, and directly with the Records^

     Review, and Release division in United States, Virginia. The point of

     verification, certified through lajAM,is within attached in line with such a

     constructive and Truthful enquiry.


   • f 2 C !] rui:201« I'l n^F'rS:MISAPPROPRl VnON OF TWO BANk AI FIDAVn s The State

     Department stole (2) Notarized State of New Jersey Bank Affidavits, as

     submitted in acknowledgement and formal ratification of the correct use

   25 22 c.F.K. 226.52,Financial Reporting.
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       of the True Name form (to which it illegally did not issue the passport).

       We have filed a formally commissioned enquiry petition as a point of relief

       to re-secure this original item of interest, as a point of principle, and

       direcdy with the Records. Review, and Release division in United States,

       Virginia,(complete with ah corresponding fees).

   • 1 2 I) . I HE 2019 IMEFTS: VIISAPPHOPRIATION OF A I S. PASSPOIVI.AM)A I.S. PASSPOIVr


       cARn! The State. Department stole (2)Identity Documents, after having

       accepted and formally received aU customary, corresponding, official

       submission forms, and expiatory payments. It subsequendy resorted to

       ceremonialize an elaborate interactional filibuster, resorting to a form of

       inter-bureaucratic pantheism entailing the re-directed unqualified veneration

       of a very large number of offices, institutions, and agencies, each reflecting

       back to its originator (the State Department),the primary deficiency of a

       Fii'VUD (through the illegitimate misappropriations attempted by itself,

       exactly o\k year prior to the so-caUed"Pandemic"). We duly attach those

       receipts for your suitable inspections.


   •   I 2 E THK 2019   2021 TIIFFI S ; MISAPPROPRIATION OF A MAI lll l 11 S AFFIDAVIT.


       RKLATivRTOTiiK o.M.B. 1405 013^ FORMAiJT^ The State Department has failed
Case 1:19-md-02915-AJT-JFA Document 2285-1 Filed 11/07/23 Page 64 of 119 PageID#
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     to testore (i) Mauritius Affidavit(to the Consular Jurisdiction of the

     Di BAi Consulate, where an si:co\d application was filed), the sole original

     article of applicable legislation as vindicating the qualifiable obtainments of

     the unduly withheld primary identity articles. This is a Misfeasance Tort of

     Interference with the Dubai Consulate's attempt at legitimate re-

     facilitation, and also an act of qualified Legal Obstruction of the duties

     owed to the law, by reliance specifically to such an affidavit as originally

     procured, the absence of which appears to have prevented the publication/

     styijiied the Dubai Consulate's legal facilitation of this citizen's identity
     articles (against which, otherwise, no duties are accounted as to be owed).

   • . 2 I'rrilE 2021 THEFTS:MISAPPKOPIIIATION OFTHF.COSTS OF A I .S. PASSPORT.AM)A I .S.


     PASSPORT CARD The State Department then stole the second set of fees

     serviced in procuration of the (2) Identity Documents, after having

     received clear legal(and corresponding f.o.la.)instructions, to formally

     repatriate aU Mauritius Consular documentations via the internal

     disposition (to the Dubai Consulate)by a standard Diplomatic Pouch.

     Neither the State Department as a whole, nor its Dubai branch, have since

     processed the due remittance of the Passport and Passport Card articles to
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     this plaintiff's prolonged and nearly (2.5) years continuous habitation of

     the Insular United States Territory of ci am .


     (2 C )THE 2023THEF TS: MISAPPROPRIATION OF MOMESTRANSMITTED AS FEES.A FORM

     OF FRAl aCOMMTn ED RVTHE RECORDS. RFIMEWI AND RFERASE DIVISION



     In subsequent conformity to an acknowledgement letter received, a c.i am

     affidavit was certified and rendered (as requested), correctly delineating

     the receivable points of designations, with regards to diverse curated

     originals(circa 2016 - 2021,(A.D./M.X.)),against which full payment was

     transmitted by an itemized United States Postal Money Order. To date, the

     State Department has noi^ restored at demand (at a taxation of six

     continuous months in forbearance), a single article in their original

     integrities, a delay and proxy misappropriation, for which it alone remains

     legally responsible.


     (3 i THE MiSALAiNAGEMENT BASIS IN THE ALLEGATION: The aforestated Conditions


     sufficiently aggrandize to the minutest nuance, the widespread and habitual

     mismanagement that appears to permeate endemic within this branch of

     the Federal Government. It should be clarified here, that I have directly

     represented this issue to the candid concern of the Secretary of State
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     Blinken (from the Emirates, as via email, more originally), whose willful

     and habitual pretended nescience on such an issue, appoints vicariously
         j
     tovjards his own personal and legally privileged office,in which all
     derivative predilections acquaint themselves to collectively converge in a

     conversely"official" fashion.


     (i THE CREDIT CARD FKAiJD IN TiIE ALLEGATION ; All four payments made for the

     articles at mediation were duly commissioned credit card payments, and it

     ought be appreciated, that a CapitalOne cyber security breach incident

     (itself, currently in parallel institutional setdements) transpired almost as

     simultaneously as the original application of the 2019 point of sale of the

     afflicted articles (via the Mauritius located u.s. Consulate). Since the State

     Department has refused to deliver to its duties (by returning the relevant

     identity effects ), the legal Theft of Identity, as filed in a guam jurisdiction

     official police report, assesses against this underlying fraud at squarely the

     Department's own assumed liability, and till such a duration and interval in

     timj, as that it persists in the wrongful duties withholding, by faiUng the
     release the lawfully secured identity articles.
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     (6)THE BRIBERY / CONFIJCT OF INTEREST IN THE ALLEGATION : To avert VagUC

     speculations and preambles, we advise and advocate that the us.\id o.i.g.'s

     office narrowly investigate on the basis of its own independent and

     specialized knowledge, potential conflicts of interest and bribery

     connotations relative to the local and international politics circulating

     around the current and historical managements of the Mauritius consulate

     in particular, and equally the Dubai Consulate by derivation, whose

     contextual relations ought to be materially assessed and examined,in Hne

     with known and unknown issues, by reliance upon audits, fundings,

     whisdeblower disclosures (across this timeline) and related researches and

     explorations, as such issues appear to be collateral to the underlying

     motivations promulgating themselves towards such lengthy chain of grave

     mis-deliberations and abuses.



     (2)THE FMPLOYFF MiSGONni GT IN THE ALLEGATION: The employee misconduct

     element would seem to be particular and privileged to those specific

     individuals who claim to assume"discretion"and retain specialized

     "entitlements"(deeded by the original delegations of the bona fide

     United States citizenry) over the records,revifav;and release management
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        in relation to American subjects, and expatriates official documents'

        production oversight. On a hierarchical basis of legitimization, legitimate

        authority alone retains objective respondent responsibilities, which,in this

        case, behooves hon.antony j.bliken to engage the investigation as an

        obligated respondent to the"ongoing conversation"(between himself,

        andj all American subjects).
        (8 rHE CONTll/VCT / GlUiN'T/ PROCUREMENT FRAUD IN THE ALLEGATION : Please note


        itena (2'a * 'g'i to this point at duly justiciable, and mutually beneficial

        category of concern.


         f) THETRAX ELTIME AND ATTENDANCE FRAI D IN THE ALLEGATION : The egregiouS

        and sustained demands as so continuously exerted by the State

        Dejjartment's underlying offenses, have protracted themselves both

        intensively and extensively to extenuating Department of State non-

        conjpensated travel costs 26(required in order to meet the vast burden of
        managing".... the government of another "),non-compensated time,

        and forbearance uses, both professional as well as personal 27 (while

   26     c.EK.PARTS 102 118,Transportation Payment and Audit.

   27 /5i c.EK.301 8,Reimbursement of Actual Subsistence Expenses.
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    "employees"obtain"salaries "28 against which they provide no real

     services to the American people whom they rob, while vicariously

     perpetuating an appearance of professions through an underlying

     multiplication of never ending disservices). Further, the consistent

     duplications in scope of underlying representation and self-borne costs by

     which salaried and non-salaried representations are non-mutually made to

     allocate to false dependencies, creating a continuous stream of robust

     inflation (the current state of our national economy) through the induced

     public sector extortions         by these endless actions of proxy thefts and

     externalization of the entire value chain, re-subjected, at virtually every point

     of iteration and representation, to a ceaseless stream of unrepresented

     taxations and related abuses. To render this misuse proportionate, such so-

     called"employees"should be mortgaged against their at-will uses of all

     federal offices and buildings (for whose preservation costs they should

     themselves bear 70% of the costs out of salary ); made to pay a monthly


   28 5 c.F.K. 213.3202,Entire Executive Civil Service.

   29 31 c.F.ii. 208,Management of Federal Agency Disbursements.
   30/51 C.F.R. PARTS 101-20,Management of Buildings and Grounds.

   31 w C.F.R.PARTS 101 25.101,Criteria for Determining Method of Supply.
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     fee as a reverse tithe to their rulers,(the American people qx. the States and

     Territories)to the vanity tides they sport to the global persuasion ;and

     secure by acts of democratic panhandling and prayers of universal relief

     any further remnant in the sustenance. In other words, no American subject

     will seek to be taxed without representation32, unless equally retaining the

     reveirsionary right, to tax the suffrage differential to whom as it shaU justly

     account without impunity, and against the created wrongs.


   • {111: THE FALSK STATKVIRNTS ASPECTS IN THE ALLEGATION: The State Department

     has categorically emitted a series of false statements, by which it has

     attempted a multitude of diversionary prevarications that claim deficiency

     in the filing of original papers. All such preambles can, however, upon due

     examination, be directly refuted and thoroughly examined by means of the

     evidentiary burdens, contextual itemizations, and existent laws, particularly

     the item of the o.m.b. 1405-oi33, which the State Department has, at multiple

     occasions, attempted to illegally refute and deny as valid, by insinuating

     against its authenticity(as a law)and as a form of legality. It has repeatedly

     attempted to divert its own liabilities as acquired to itself by claiming to be


   32 41 c.F.K.PARTS 101 43,Utilization of Personal Property.
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     the sole venue of valorizing the international representation of aaiericAiN

     citizens and passport holders, while simultaneously attempting to re-divert

     this injunction to the States, both foreign and domestic, while skirting its

     own owed obligations, as are otherwise shown to be plainly stated in the

     open decorum. It has done this by artificially inflating and compounding

     (with false legalisms, vain preambles, and conceits) the actual burden of

     proof, by attempting to re-attenuate the primariness to a wide swathe of

     other agencies, peoples, groups, and institutions, while simultaneously

     retaining within itself, a historical publications monopoly, revocable by the

     will or act of Congress, and or the competent action of the American

     people/Original Providence(by means of Anti-Trust laws, as applied to

     some particulars of current assumed government branch monopolies or

     monopolistic usages).


     (ji)THE OTHER VIOLATIONS (I.E.,' U.S.lUATCH ACT') : The State Department has,

     through these schemes, violated both the spirit and letter of the United

     States Hatch Act^ and an official complaint of attestation along such lines

     has been duly transmitted to the U.S. Special Counsel's office,in both

     contingent and established terms of due redress.
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     (K!)££isis appropriation: The plaintiff certifies at signage, that the State
            I
            I



      Department has ingratiated itself against the protracted and prolific

      misuses of citizen property by wrongful taking and unjust appropriation at
     ( iX/i") days continuous, of the likeness and economic person of this,(and

      that of all other American Citizens upon whom a corresponding

      usu^ation has been unjustly and"non-directiy"visited within such a

      duration), and bears, through its organic and constitutional dependence

      upon the whims33 of the Office of Management and Budget34. the full

      collective as well as institutional responsibility for the reimbursements^s,

      material redress, and just restitutions^^ against all costs^^, and deficiencies as

      created by itself in the oversight's, as promulgated through its own

      adamant misuse (which,to retain the right of public monopoly,it shall



   33 5 c.F.R.432,Performance Based Reduction in Grade and Removal Actions.

   34 5 c.KR.430,Performance Management.
   35 5         334,Temporary Assignments Under the Intergovernmental Personnel Act
   (IPA).

   35 5 c.isR.340, Other Than Full-Time Career Employment (Part Time, Seasonal, On-
   Call, and Intermittent).
   37 5 c.F.R..534,Pay Under Other Systems.
   38 5 c.F.R.530,Pay Rates ad Systems(General).
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     coerce itself now to effectively renounce ^9 and that these acts, being as

     that they are so intentioned to spoliate, are deemed offenses against both

     God and the justices and genuine constitutions and laws of all the States,

     and their peoples, and So help me God               j




                                  Respectfully Submitted;


                                MR.ALEV\NDER K. a\I, M.S.M.A.,SUI lURIS




               THE UMTED STATES AMERICA AS REL.VIOR,AGAINST ITS BENEFICLVRIES AND I SERS.


               THE ORGANIZED.AI TONOMOLS..VND lNCORl*ORVrED INSI ENRTERRITORY OF Gl AM.




                                                               ALL KE\^ DOCUMENTS TO THE DISCOVERY SUBSCRroED.


                                                               THIS COMPENDIUM IL\S BEEN I.EGITIMIZED AND
                                                               WANDERED AT A DIRECT ILXPENSE AND COMMON
                                                               EQUITABLE SERVICE TO THE AM EIUCAN PUBLIC
                                                               TAXPWTiR,BY WHOM FULL COSTS AGAINST
                                                               lUiSPONSIBLE USES ARE HEREIN LEGALLY IMPRESSED.




                          D.O.I; FRIDAY.SEP.29TH..2023,(A.D./M.X.); 1445.(A.H.;




   39 5 c.F.R. 2634,Executive Branch Financial Disclosure, Qualified Trusts, and Certificates
   of Divestiture.

   40 5 c.F.R.338, Qualification Requirements (General).
Case 1:19-md-02915-AJT-JFA Document 2285-1 Filed 11/07/23 Page 74 of 119 PageID#
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Case 1:19-md-02915-AJT-JFA Document 2285-1 Filed 11/07/23 Page 75 of 119 PageID#
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                               IN THE SUPERIOR COURT OF GUAM




      IN THR MA'ITER OFTHE APPiJCNTlON




      MR.ALEX.ANDEI\ K R\I, MSMA.SU UJRJS. Petitioner.



     DULCE NOMBRE DE MARIA
      CATHEDRAL-BASIUCA
207 ARCHBISHOP FC. FLORES STREET
       HAQATNA, GU 96910
                                                                        Special Proceedings No.
                                                                        SP 15().022.




                           THE DECLAR/VriON OF PCSTLNG.




               I,                                           declare and state as follows that


            1 .1 am legally and professionally interested in the above captioned matter (as an
            American Public Agency(" the People "),of the United States and Territories
            (55)), as legal citizen of the same over the age of Eighteen(18),and declare
            the address of my venue(a public forum) to be as follows ;

       THE CATH01JC ARCIHDIOCESE OF AG.VXA., DLIXE NOMBER DE MARIA GVmEDRAL BASil.ICA,
                    sr <.:HANCERY office,196 B San RAMON,AGANA,9G910,GUAM.




                    I furtlier acknowledge that in discharging a general civil obligation, I am

                    not, myself, the party being represented in this declaration, but merely

                    service the duties of the common mediator for the purposes of general

                    public informedness, and civic enlightenment, at both, the solicitation of

                    the Superior Court of Guam,and that of the Petitioner above

                    represented. I declare under penalty of perjury the laws of Guam (6

                    G.C..A.§ 4308) that the foregoing is true and correct.
HE l Acovmicss THE i.s.(:o\<:rivS.s the i.s.congress
        Case 1:19-md-02915-AJT-JFA                   the r.s.(:o\(;ftKss
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         118 TH .cjlNCilUCSS; 1ST.SKSSION, H.R.79 TO DIUKCTTHK PR^:Sli)l:^TTO^^ ITHDRXW THK I MTKI)ST\Ti:s
              FROM tHE CONSTITl TION <)FTHE\VORLi> HE M TH ()R(;\NIXATK)N.\M)FOR OTHER PI RPOSES.

             The U.S. House of Representatives(United States Congress).
                   In an Informed and Internal Colloquy, as Mediated at Direct
             Representation ;With,The Government of Guam,and all other Ethical
                      podies in Common Domestic, <& International Relations.

    The foregoing instrument was acknowledged before me this(                                                    J2!!L) day of
    2023,A.D. M.\., hy MR.ALEX.ANDER K.R.\i, M.s.M.A,SI III Ris, as advocate in fact for the Citizens
    of the United States and Territories *,in a Universal and International designation, who
    is personally kno\^n to me(or) who has produced(oi-ficlal identification );

                                                                             3UAM LgeiSLATURE                                      %
                                                                             PROTOCOL OFFICE
    Signature of Notary Public                                               V             may .10 2023
   Personally known:                                                          me*.                  1        f
  (OR)Produjced Identification: ^                            Type of Iddiil^lStSSn—
   Produced: in^jkpkndisnt ijcc\i.<:ri*:i)knti vi., dkstrk.t of com mbi \,thk i


                                                                                                    Xli n 9 23
   Affidavit of Legal Submission.
                                                                                             SUPmUB COURT
                                                                                                    Of GUAiyi
   The Territory of Guam,The United States of America.                                        BYs

                                                                                                                             M.
   Signed and Sworn to (or Affirmed) before myself * on(date)                                                    ^

   By, MR..alf:x.a^«M!,r k.rvi,m.s.m.a,sli il ris,(Affiant),rendering the
   Statement by Affidavit.

   Signature of jnotarial officer:
            Title of Office :
            My com^                   expires upon :

                        ^MARIETOVES
                        ,NOT^YPl}BOC
                       , Mand fi)fGiani,U.SA
                 fyfy CnnmiKslnrt Rvpfrts: AITC, 17,2083
                 P.O. Box 8354 Agat Guam %91%
Case 1:19-md-02915-AJT-JFA Document 2285-1 Filed 11/07/23 Page 77 of 119 PageID#
 AUTHENTICATED
US.GOVERNMENT
  INFORMATION
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                 118th congress
                    1st Session
                                             H.R.79
                 To direct the President to withdraw the United States from the Constitution
                          of the World Health Organization, and for other purposes.




                         IN THE HOUSE OF REPRESENTATIVES
                                              January 9, 2023
                 Mr. Biggs (for himself, Mr. Perry, Mrs. Miller of Illinois, Mr. Massie, and
                     Mr. Rosendale) introduced the folloAving bill; which was referred to the
                     Committee on Foreign Affairs




                                            A BILL
                 To direct the President to withdraw the United States from
                      the Constitntion of the World Health Organization, and
                      for other purposes.

                  1        Be it enacted hy the Senate and House of Representa-

                  2 tives of the United States ofAmerica in Congress assembled,

                  3 SECTION 1. SHORT TITLE.

                  4        This Act may be cited as the ''WHO Withdrawal
                  5 Act".

                  6 SEC. 2. WITHDRAWAL OF UNITED STATES FROM THE CON-

                  7                  STITUnON OF THE WORLD HEALTH ORGANI-

                  8                 • ZATION;PROHIBITION ON USE OF FUNDS.

                  9        Effective on the date of the enactment of this Act—
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                                          2

             1           (1) the President shall withdraw the United

             2       States from the Constitution of the World Health

             3       Organization (62 Stat. 2679; 14 U.N.T.S 186); and
             4           (2) no funds available to any Federal depart-
             5       ment or agency may used to provide for the partici-
             6       pation of the United States in the World Health Or-
             7       ganization or any successor organization.
             8 SEC.3. REPEAL OF THE ACT OF JUNE 14,1948.

             9       The Act of June 14, 1948 (Public Law 806-43; 62
            10 Stat. 441; 22 U.S.C. 290 et seq.), providing for member-
            11 sliip and participation by the United States in the World
            12 Health Organization and authorizing an appropriation
            13 therefor, is repealed.
                                          O




                 •HR 79 m
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                             COl lVr50068
                                      ORDERED DATA CORRECTION
                                    HEREINAFTER APPLY TO THE 0M8 STATI^AIT.NTS.




   Al l \ : MS./AMV DAMS,DIHIiC I OKOF FlUl DS,KISK AlWAGEMIiN'r A INM'ISUGAHONS.


   CAPITAL ONE FTNANCTAT. CORP.

   1680 CAPITAL                               DR.

   MCLEAN,VIRGINIA,yA.22102

   THE UNITED STATES.

     TEL ): M .703.720 .1000 |( E ): AMY.DAN IS(sC\JTrALUM£.COM




                                                    ( D.O.I.) OCT.21,2023,A.D./M.X.).;14'S5,(A.H.).




   Greetings Ms. Davis;

   Despite numerous and ongoing oiiiUANDS that your institution expeditiously

          iEthe fully retroactive financial statements(.iij.\E2019 - ci kkent) in

   support of an ongoing aldits LNVEs riGATio.N, and at the cardholder's leg.al

   second address (primary business address apart from a new jeksey

   domiciliation) here in (;i.am ; your office has neither returned to that lawful

   and all obliging courtesy, nor initiated an investigation appropriate and

   consistent to its underlying secure demarcations with regards to the
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   sustei^ance of legitimate accounts security, since the breach committed
   against the account by the third party seemed to transpire at exactly the

   identical timeframe, as that this account holder came into a parallel state of

   consternation with Overseas United States Consular Irregularities in

   Mauritius, relative to the equally profound and ongoing Public Sector Tort

   Liabilities, whose double severity this United States Citizen has been since

   singularly bearing as a carryover amalgamated oversight burden, at his own

   acquired costs, and as a proxy service to the Government and People of

   GUAM,(where a police report against the theft of identity has since been

   well documented under the established f.t.c. operative and reportage norms),

   as well as the united states.



   Taking note of these multiple areas at simultaneous and overlapping

   vulnerability, I have since assumed to the due initiative of securing a court

   ORDERED NAME CHANGE(s.R 0156-22)through a legal action by the Superior Court

   of Guam(with Supreme Court of Guam witnessing),as a protocol of

   STAND ALONE IDENTIIT VERIFICATION for REALTIME DATA CONFIRMATION AND

   CORRECTION purposes, while acknowledging that the former articulation of

   this identical incorporation as having had been originally mediated through
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   the 2019(A.D./M.X.)iVL\URlTIUS OVERSEAS CONStL.\TE fUcd(O.M.B. 1405-0133)formal

   International and Consular Attestation protocol.


   A copy of this articulation is within enclosed (jointly with the formally gua.\i

   witnessed/registered official,and attested police report),and is to be

   permanently affixed through your office's interior initiative to the registered

   files of my two held cards ending in 6174( new jersey)and 0368(guajm ).

   By an effective reliance to the s.p.0156-22 protocol of dataverifiability, you are

   hereby ordered to update all further and current remittance of 0368 card

   statements to solely originate to this designated guam business address, as

   hence duly ratified within our insular territorial jurisdiction (jointly with

   designated most current telephone and email detailings);


                        MR.ALEXANDER K. RAX,M.S.M.A.,SI I lURIS


                  P.O. BOX 10210,TAMUMNG,GUAM 96931,THE UNITED STATES.



            (TEL) ;   1 .928.485 .4509|(E ):ALEXA\DER.IN.GUAM@G.\IAIL.COM


            Thank You for your anticipated Cooperation on this issue!

                                    Very Truly;


     MR.ALEXANDER K. RAI,M.S.M.A.,SUI lURIS,CAPITAI. ONE ACCTS.fim( N.J.),AND 0368((iUAM )
Case 1:19-md-02915-AJT-JFA Document 2285-1 Filed 11/07/23 Page 82 of 119 PageID#
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                                   FKOM : MR.AIJi\A.M>KK K. R.\I..M.S.M.A., SLl lURIS

                                         r.o. BOX 10210, r\Mi mxo.gllam 909^1-0210.

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                            (TEL): I 1 .»2« .-iSj . 'i.".!)!). i . K : \I.K\ \M)KIUN.(;i AM'sCAIML.COM




     Capit^One
     AT I N : MS. AMY DAMS,DIRECTOR Oi- KRAI DS, RISK \l ANACE^MEXT A; l\\ KSTIGATIOXS.


     CAPI IAL ONE FINANCTAL CORP.

     1680 CAPITAL ONE DR.,
     MCLEAN,VIRGINIA,V.A. 22102 - 3491.

     THE LIMTED STATES.

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                                          THE ISRAELI PEOPLE'S COMMITTEE
                                               TTniTKn m'pnn nivi




                                 The Israeli People's Committee
               Report of Adverse Events Related to the Corona Vaccine, May 2021:
                              Never has a vaccine injured so many
    We hereby clarify that The Israeli People's Committee is an independent organization relying on
    publicly available information from official publications, social networks and especially from many
    reports coming directly from individuals to our website.The Information has been checked by members
    of the committee to avoid false, refuted, and erroneous data. However,the report should not be relied
    upon for medical or other purposes, and it certainly does not contain any medical recommendation.
    Anyone who considers it as such, does so of his own accord.

    We have chosen to open this important report with a summary, immediately followed by the report
    itself.

    While the Prime Minister of Israel and senior officials of the Israeli ministry of health brag that Israel
    serves as a global model for nationwide vaccination, and while they boast that Pfizer has chosen us to
    be the experimental country thanks to the advanced technological systems of our HMOs [Health
    Maintenance Organizations], the state has systematically shut down all monitoring and tracking
    systems, which are designed to identify and alert of adverse events that occur in proximity of receiving
    the corona vaccine. This Irresponsible conduct by the Israeli ministry of health during a mass operation
    providing an experimental treatment to millions of people, regardless of whether such conduct is
    negligent or intentional, has led to an unprecedented flood of thousands of reports about serious
    adverse events after vaccination on social media, which seems to be the only forum that still allows
    people to share their experiences. Surprisingly, such widespread phenomenon has not received any
    media coverage or attention from public officials.

    The silencing mechanisms of the Israeli health system regarding the adverse events related to the
    corona vaccine, and the denial of their severity and worrisome scope, combined with the fact that the
    mainstream media in Israel have ignored adverse events and avoided reporting them, have created a
    situation whereby the Israeli public is almost completely unaware of the existence, nature and
    prevalence of the post-vaccination adverse events. This vagueness that exists among the Israeli public
    with respect to the vaccine-related adverse events prevents citizens from receiving all the information
    they need to make a balanced and responsible decision about the vaccination. Moreover, It raises the
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    concern that the lack of contraindications for susceptible populations to the vaccine has unnecessarily
    harmed the citizens to the point of needless mortality.
    The healthcare system's failure to monitor the vaccine's adverse events and issue alerts, coupled with
    the media's disclaiming its roles as an important mechanism for inspecting and criticizing the
    authorities' conduct and as a pivotal platform for exposing the hard truth, have led to the abandonment
    of the health of the citizens of the country. In the vacuum that has ensued we, as an independent
    investigation committee comprising of concerned citizens, have been left with no choice other than
    using all means, albeit limited, at our disposal to research and expose the truth regarding the corona
    vaccine's adverse events. From our inquiry a disturbing image has emerged of the high rate of serious
    adverse events, observed in proximity to receiving the vaccine, even among young people. Many
    adverse events are life-threatening, and regretfully more than a few ended in death.

    The incomprehensible gap between the existing reality and the information published by the Israeli
    ministk of health and by the Israeli media raises concern of a dangerous deception not only of Israeli
    citizens but of citizens of the entire world, who view Israel as the research laboratory of Pfizer's corona
    vaccine. Such a deception, whether negligent or premeditated, could create additional cycles of harm
    to humans around the globe.
    In this report we wish to say to the Israeli government and governments throughout the world; a lack
    of transparency kills people. Deception and concealment lead people to disability and loss of life.
    Remove all confidentiality,create transparent and controlled reporting mechanisms;only then can lives
    be saved and further damage avoided from the very tool that is supposed to preserve health. Is this a
    case \A here the drug is more deadly than the disease? Or is it equally or less deadly? We can only come
    to a trjue conclusion if comprehensive data is revealed in real time and if the press, which is supposed
    to be free and a watchdog of democracy, will remain on guard and raise the alarm when necessary. And
    it is indeed very necessary.

    And before we delve into the depth of things, here are our main findings:

    ^ We received 330 reports of deaths occurring in proximity after the vaccination (90% up to 10 days
       afJer the vaccination).64% are men.According to the ministry of health's statement:only 45 deaths
       occurred in proximity after the vaccination.

    ^ According to data from the Central Bureau of Statistics (CBS), during January-March 2021, in the
        midst of the vaccination operation,there was a 18% increase in overall mortality in Israel compared
       to the tri-monthly average mortality in the previous year. In fact,the period of January-March 2021
        is Ijhe deadiiest one in the last decade, with the highest overall mortality rates, when compared to
       the corresponding months over the last 10 years.

        Among the age group of 20-29, the increase in overall mortality rate is even more dramatic. In this
       group, during the same vaccination period, January-March 2021, there has been a 30% Increase in
       overall mortality compared to the tri-monthly average mortality in 2020.
                                                        2
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    ^ A statistical analysis of data from the CBS combined with information from the ministry of health
      leads to the conclusion that the mortality rate amongst the vaccinated is estimated at 1:3000
      (1:18000 for ages 20-49,1:5000 for ages 50-69,1:1100 for ages 70+). According to this assessment,
      it is possible to estimate that the number of deaths in Israel, which have occurred in proximity after
      the vaccination, currently stands at about 1600-1700 people.

    ^ There is a high correlation between the number of people vaccinated per day and the number of
      deaths per day, in the range of up to 10 days post vaccination, in all age groups. For ages 20-49- a
      range of 8 days from the date of vaccination to death; for ages 50-69 - 5 days from the date of
      vaccination to death;for ages 70 and up-3 days from the date of vaccination to death.

    ^ The risk of death after the second vaccination is higher than the risk of death after the first
       vaccination.


       Up until the publication date of this report, a total of 2646 reports of adverse events have been
       recorded by The Israeli People's Committee, and the reports continue to flow in. These reports
       indicate damage to almost every system in the human body. They also highlight the
       incomprehensible gap between official Israeli media reports and what is really happening, enabling
       a "two worlds" situation due to journalistic failure to sense, identify and report on what is actually
        happening in citizens' real-life.

    ^ The accumulated post-vaccination adverse events in our database is the outcome of our work with
      very limited resources and despite many kinds of government's pressures aimed at concealing this
      critical information from the public eye. Therefore, we believe that our database of vaccine-related
      adverse events reflects a very small fraction of the real picture, which is about 1% of the actual
      number of cases according to our assessment.

       This assessment is added to the fact that around 250000 people did not show up to get the second
       dose of vaccine, despite all massive social and occupational pressure of the green passport. We
       believe that the majority of them decided so due to experiencing adverse effects following the first
       vaccine dose.


    ^ There are close similarities in the reports of adverse events from countries with relatively high
      vaccination rates, with hundreds of death reports, as well as reports of damage to many human
        body systems.

       In our analysis, we have found a relatively high rate of cardiac-related injuries. 25% of all cardiac
       events occurred in young people below the age of 40, the most common diagnosis in these cases
        being myocarditis or pericarditis.

       Additionally, a high prevalence of massive vaginal bleeding, neurological,skeletal and skin damages
        have been observed.
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    ^ It should be noted that a significant number of adverse events reported are related, directly or
       indirectly, to coagulopathy(myocardial infarction, stroke, miscarriages, disruption of blood flow to
       the limbs, pulmonary embolism).

       Thp reporting of adverse events from hospitals and HMO clinics has been very low, and there is a
       tendency for a diagnostic bias that excludes the possibility of a link between the adverse events and
       the vaccination. There are probably many thousands of unreported cases. We get growing numbers
       of reports about this phenomenon from medical staff within hospitals. The general impression is
       that hospitals seem to be dealing with a chaos and confusion regarding the way to handle growing
       numbers of vaccine injured patients while at the same time to keep them out of records. Many
       doctors in emergency rooms nowadays begin their anamnestic inquiry by the question:"When were
       you vaccinated?" yet write nothing about it in discharge letters.

       The general policy regarding adverse effects seems to be "over-protective" of the idea of continuing
       the vaccinations at all costs. In this atmosphere, and in stark contrast to the accepted medical codes
       according to which mortality and morbidity caused after any medical treatment should be
       attributed to the treatment itself unless proven otherwise, most Israeli doctors avoid raising
       reasonable medical suspicions about the potential contribution of the vaccine to new adverse
       effects. Instead, doctors, hospitals and media all talk in one voice that says: "It has nothing to do
       with the vaccine, until you prove it completely". This is, of course, just a smoke screen aimed at
       preventing the truth, which ruins the essential foundations of differential diagnosis and
       brainstorming based medicine, and whose consequence is a breakdown of normal and scientific
       medicine.

       In light of the extent and severity of post-vaccination adverse events we are witnessing, we would
       like to express the committee's definite position that vaccinating children is both dangerous and
       lacking any medical basis. It may lead to adverse events, similar to those observed in adults
       (including young adults from age of 16), which could result in the death of completely healthy
       children. The committee believes that the intention to vaccinate children, while putting in danger
       their lives, their health, and their future development, has no medical justification since the
       coronavlrus does not endanger children at all.

       According to US VAERS system 7 deaths in ages 0-17 were reported in relation to Covid 19
       vaccination during 2021,6 of them of Pfizer Biontec. We hope that the radical idea of vaccinating
       children against the coronavlrus will soon be taken off the table; and if not, that it will be completely
       rejected by most of the parents around the world.
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       Never has a vaccine injured so many!The American VAERS system reveals 3409 reports of mortality
       amongst vaccinated people in the United States in the first 4 months of 2021. This datum reflects a
       rise of thousands of percent from the annual average, which stood at 108 reports of post-
       vaccination mortality per year, whilst the difference in vaccination rate (in comparison to influenza
       vaccination) is less than 40%. in other words, more post-vaccination deaths have been recorded in
       the VAERS system during a single vaccination campaign than from all other vaccines combined over
       the preceding three decades. See the chart below.

                                  Events Reported By Year Reported




                                                  1000   ISOO   2000   2500   9000   9000

                                                     Events Reported

    ^ In light of all the above and the detailed information ahead and for the sake of the good, reliable
       and advanced medicine,for all people and from the pure intention, we would like to hereby declare
       the statement that all branches of medicine should agree about:

       "Once you apply new medication of all sorts to mass people and have insufficient knowledge about
       its true safety, all adverse effects that follow must be regarded as related to this medication until
       proven otherwise. This is the only way to obtain the true information, to ensure maximal safety
       surveillance and to make sure that non-medical motives will have no influence on the process of
       evaluating and learning the true nature of this medication and its influence on people."
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    PROLOGUE
          j
    Of all the injustices that have been Inflicted upon the Israeli citizens during the corona vaccine campaign
    in Israel, which have been widespread in all areas of life, as we described in detail in our interim
    conclusions report, particularly prominent and deserving of our attention is the health injustice caused
    by the malfunctioning and neglectful conduct in regard to the monitoring and reporting of adverse
    events from the Pfizer vaccine. Unfortunately, it seems that in Israel there is an almost complete
    concealment of the adverse events associated with Pfizer's corona vaccine product, which appears to
    be tendentious and has led to a deception of Israel's citizens, exposing them to significant health risks
    and even unnecessary mortality. This practice of concealment is orchestrated by the ministry of health,
    with vast cooperation (voluntary or submissive) of the entire health system, and under the auspices of
    mainstream media.

    In order to dispel the smoke screen which Israeli citizens find themselves facing, and in the hope of
    balancing the distorted situation presented to them by the establishment and the media, we have
    chosen to focus this report on the adverse events associated with Pfizer's corona vaccine product and
    to broaden the exposure of the testimonies at hand. As part of the report, we will draw a picture of the
    current situation, based on thousands of reports and testimonies,some of which are still being verified
    and processed, which have been passed on to us from the corona vaccine injured, doctors and medical
    staff. We will additionally provide a complementary statistical analysis of data from publicly available
    information sources in Israel and around the world, which supports and reinforces the indications that
    arise from our database of reported corona vaccine adverse events. As with the midterm conclusions
    report, the current report is not only intended for Israeli citizens but will be distributed in several
    languages around the world. This is because of our fear of a potential blatant bias in the results of the
    research currently underway in Israel on Pfizer's corona vaccine, which when published, could provide
    the entire world a shaky and misleading information base regarding vaccine safety.

    The report consists of four chapters. The first chapter provides background information and describes
    our work methodology. The two subsequent chapters reveal mortality and morbidity data observed in
    Israel in close proximity to receiving the vaccine, where Chapter 2focuses on analyzing mortality data,
    and Chapter 3 deals with a wide range of other adverse events associated with the vaccine. We
    collected the data presented in chapters 2 and 3from the public and from other sources of information,
    through the limited means at our disposal, in view of the negligence of the health system and the
    failures of all the major mainstream media, which in a properly functioning country have a role and
    duty to collect data and report it to the public. In chapter 4 we will explain how such a bleak situation,
    as described in Chapters 2 and 3, has been hidden from the Israeli public. The chapter describes how
    Israel's health system systematically paralyzes and shuts down all monitoring and alter systems that
    can detect adverse events, occurring in close proximity to receiving the vaccine, and warn about them,
    and how all the mainstream media channels in Israel aid and support these dangerous acts of silence
    and concealment.
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    CHAPTER 1 - BACKGROUND AND WORK METHODOLOGY

    IN SHORT: In the absence of an orderly,transparent and professional activity of collecting data from the
    citizens and publicly reporting it in real time, without filters or bias, the Israeli People's Committee
    enlisted to address to the complex task of contacting the public and collecting data on corona vaccine
    adverse events, all the while ensuring the validity and reliability of the data and cataloguing it in the
    most professional manner available to us. In so doing, the Israeli People's Committee has become the
    main body in Israel to undertake the investigation, documentation and reporting of adverse events
    related to the corona vaccine, where those supposedly responsible for this task have renounced their
    duty or have failed it completely.

    The campaign to vaccinate the population of Israel against the corona virus using the corona vaccine
    product made by Pfizer began in December 2020. The campaign was accompanied by aggressive
    propaganda, during which it was claimed that the vaccine had received FDA approval, and had passed
    ail the organization's stringent safety tests, although in practice the vaccine had only been given a
    temporary emergency use authorization and is defined by the FDA as an "Investigational New Drug"
    (IND)^ The operation progressed at a dizzying pace,and by March 10,2021 more than 5 million people,
    out of a population of about 10 million in Israel, had been vaccinated with the first dose, according to
    the National Security Council. Contrary to the FDA guidelines, which defined contraindications to the
    vaccine's administration^ in Israel, apart from life-threatening events arising from a previous allergy to
    a vaccine or Its components, no contraindications were defined. Also, unlike other countries (see for
    example, US^ and Italy'*), the vaccine has been administered without the signing of an informed consent
    form and without Informing those being vaccinated of possible adverse events after the vaccine. This
    happened even amongst pregnant women -a fact that Prof. Bran Dolev from the Vaccine Prioritization
    Committee^ warned about, and for which he resigned from the committee®. Throughout the



    ^ FDA.(2020). Pfizer-BioNTech COVID-19 Vaccine. Letter of Authorization.
    https://www.fda.eov/media/144412/download

    2 INTERIM CLINICAL CONSIDERATIONS FOR USE OF COVID-19 VACCINES CURRENTLY AUTHORIZED IN THE US.
    https://www.cdc.gov/vaccines/covid-19/info-bv-product/clinical-considerations.html

    3 FACT SHEET FOR RECIPIENTS AND CAREGIVERS.
    https://labeline.pfizer.com/ShowLabeling.aspx?id=14472

    "VACCINAZIONE ANTI-C0VID19 MODULO Dl CONSENSO.
    https://cdn.onb.it/2020/12/all-l-
    Consenso.pdf?fbclid=lwAROzof futBbMOMCBIaltoePGXGVILVNeka vfb4vKLwd6HDHwvXKQeawy4

    ® Advisory team to the Corona Committee. The Ministry of Health,January 22,2021
    https://www.eov.il/BlobFolder/reports/vaccine-priorities-board/he/files publications corona vaccine-priorities-board-
    21012021.Ddf?fbclid=lwAR0GSAnDKSiblXceTPSDEN5ZYuKav0W7wYMi9DedLab4rbvb0N6 ZfVHSvo

    6 The Public Emergency Council for the Covidl9 Crisis, March 18, 2021
    https://www.facebook.com/machatzlakorona/posts/142663231094153?            eft   [01=AZUWiwmpNns268AlKEHzkOzGJul9r9
    SilvKwaHPvitXTwxVlxUpt4MLsxT7bOYpicl3KE6v32avZcVQKDHs5ULDlwRu3idpW8V 0n4DtwbY-
    09vB0ZYcn75TvH 7LFCdQVXms8cwF52BHQUVrfzDzRrGm th9SFZGAGaRbe7HnaXnQ&                    tn   =%2CO%2CP-R

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    vaccin ation campaign,the ministry of health has scarcely reported vaccine-related adverse events, and
    such reports have barely been published in the media. By stark contrast, social media networks have
    been f ooded with reports of adverse events that many citizens experienced shortly after vaccination.
    Given the huge gap between the very small number of corona vaccine adverse events reported by the
    ministiry of health or reported in mainstream media and the enormous amount of reports on social
    media of adverse events that people experienced shortly after the vaccine, as well as hundreds of
    inquiries on this issue addressed directly to the committee, the committee's professional team has
    startecji collecting, recording and analyzing the data reported by the public. We collected the data
    regarc^ing adverse events by reaching out to the public via social media networks (mainly Facebook)
    requesting that reports be sent to a designated committee email address, as well as by searching for
    report^ of adverse events published on social media networks and in the media. The accumulated
    report^ were verified, processed and filtered, with the aim of creating a reliable database, free of
    duplicates or of vague or ambiguous data. Our professional team checks the reliability of the reports
    sent to us and categorizes them by talking to the affected people or the medical staff treating them and
    by exa|Tiining medical documents, hospital discharge letters and photographs of injuries. We also check
    the reliability of the reports we collect from social networks, where we contact the person who
    reported an incident and conduct an inquiry if possible, and anyway we only include such a report in
    our records if the person's name is identified with a genuine profile, a photo,a history of online activity
    and interactions with other people. Our professional team compares the identifying details that appear
    in the various reports in order to avoid duplicate documentation of events reported by a number of
    sources. We also conduct cross-sectional filtering processes of the severity of reported adverse events.
    during which we screen the reports for minor adverse events and exclude them from our database.
    Obviously, this way of gathering adverse events information does not allow an accurate quantitative
    analys is of their prevalence among the vaccinated but can give an indication of unusually common and
    recurri ng adverse events, which require careful examination of their association with the vaccine.

    So far, we have collected 2646 reports of unusual health events that occurred shortly after the vaccine,
    of whi h 2346 have already been checked and processed, and are therefore included in our database.
    while f^bout 300 more reports are still being checked and processed before being added to our
    database. Of the reports currently included in our database,330 are reports of events that sadly ended
    in death. We emphasize that our database only partially depicts the real situation, due to severe under-
    reportjng, either because the general public was not given instructions on how to submit reports, and
    in practice there is no proper transparent reporting system, or because the public mindset undermines
    the legitimacy of attributing abnormal health events to the corona vaccine, and also because of the
    time constraints of the professional staff of the committee who is required to handle tremendous
    amounts of reports with proper diligence. We estimate that the under-reporting is particularly
    significant among the older population, for whom social networks are inaccessible. Our professional
    team is still working on analyzing the flow of reports of abnormal health events observed shortly after
    vaccination, and we have a large number of reports that are in the process of being checked and
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    verified, and thus have not yet been included in our database. Diagram 1 displays an overview of the
    frequency distribution of reports sorted into the main categories.

    Diagram 1-distribution of reports brought to our attention and included in our database

                                           Deaths                                                               330
                                      Gynecology in'i.MU'mwn«,v.w.i.maaUnm tA\                                   i/'.' ,',Tin-,n.u 422
                                       Neurology                                                                326
                                             Pain    ft..; »fa.a^a„,TTiintr,fj.vhVtf.j.«vvahiWiTjM 205
                                            Heart               .i..;.,.'                         197
                                             Skin    ■                     a 107
                                            Lungs                           104
                                             Ears
                                        Allergy      QBQBsm 57
                               Lymphadenopathy       BSSBSSSBB 52
                                    Inflammation
                                             Eyes
                        Covid-l9 after vaccination
                                             Blood
                                   Endocrinology
                                          internal
                                      Malignancy
                                    Autoimmune
                                       Infectious


                    j                                0       50       100       150       200       250   300   350     400      450


    The findings of our inquiry are presented in Chapters 2 and 3. In Chapter 2 we will focus on the deaths
    reported in close proximity to the vaccine, while in Chapter 3 we will address the wide range of other
    adverse events observed shortly after the vaccine, with emphasis on the most severe and common
    among them. In both chapters, we will also present statistical analyses of data from publicly available
    information sources in Israel and around the world, which support and complete the data collected in
    our database.


    CHAPTER 2- ON THE VACCINE-RELATED EXCESS MORTALITY

    IN SHORT:There has never been a vaccine that has injured so many people! In our database we have so
    far collected 330 reports of deaths that occurred shortly after the corona vaccine and were largely
    caused by heart problems. These significantly under-reported cases could offer a possible explanation
    for the sharp and abnormal increase in overall mortality in Israel in January-March 2021, at a time when
    most ofthe corona vaccinations in Israel were administered, and which has proven to be the most lethal
    in the last decade in terms of overall mortality rates. Our statistical analysis indicates a statistically
    significant relationship between the excess mortality in these months and the corona vaccines.

    As mentioned,330 reports of deaths that occurred shortly after the corona vaccine, within a period of
    up to about three weeks post vaccination, were so far accumulated in our database. Most deaths
    occurred within a shorter period of up to 10 days from the date of vaccination. As an illustration, and
    in order to get a sense of the nature of the reported cases, we will present below some examples from
    the many reports that were sent to us.
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    Here is the first example:"My 33 year-old brother-in-law died 6 days after the first vaccination. He did
    not wake up in the morning. He complained of back,side and leg pain the day before. An autopsy was
    performed, but they were told that the results will be obtained in six months time".

    And here is another example:"My son-in-law, Itzik, 40 year-old, completely healthy, died 3 days after
    the second vaccination".

    And another:"Three days after the vaccination, my sister-in-law,Sarah,25 year-old, is in coma.She has
    never been in hospital since the day she was born".
    And here's another example of many different types, this time it is a quote from a death certificate:"A
    49 yesjr-old foreign worker, a caregiver, usually healthy without medication, was sometimes treated
    with Fjjsid for foot edema. Two days before hospitalization, she received a second dose of the Covid-
    19 vacjcine, which was followed by general weakness. Complaints were of dizziness and decreased
    sensation in the right hand, vomiting and subsequent loss of consciousness".
    Some jof the reports even claimed that representatives of the ministry of health had asked the family
    not to ^ell or publish the case. For example:"I lost two childhood friends(46)after the vaccination. One
    who initially received Bell's Palsy and then cardiac arrest and the other only cardiac arrest. A
    representative of the ministry of health came to one of the grieving families and asked them not to tell
    or report the case".

    All of these are just a few examples from the huge amount of reports we have received. We will now
    move on to the analysis and mapping of all the reports of death events that have been brought to our
    attention and included in our database. Table 2 shown below maps the reports we collected on death
    events shortly after vaccination according to the parameters of age,gender, and cause of death. As can
    be seen in the table, 55% of the 330 deaths following vaccination in our database occurred suddenly
    after the vaccine,28% of the reports explicitly stated that the cause of death was cardiac arrest or heart
    attack in proximity after vaccination, while the rest of the cases occurred as a result of other causes,
    including strokes, corona disease after vaccination, multi-system failure, blood clots, blood infection,
    allergy and more. According to Table 2(Panel A), out of the 330 reports of deaths after vaccination, 173
    are wi^h no age indication, but these are early reports from the start of the vaccination campaign, at
    that tijne the elderly population was mostly vaccinated, so it can be assumed that the victims were
    aged 60 and over. All 157 other reports include age data, including 68 deaths of people under 60, 47
    deaths of people under 50,23 deaths of people under 40,13 deaths of people under the age of 30, and
    one dqath under the age of 20. Table 2(Panel B)shows that more cases of mortality after vaccination
    were observed among the male population than among the female population. Of the 330 deaths after
    vaccination,64% are men's deaths and only 36% are women's deaths (including one pregnant woman's
           i
    death): It is possible that the increase in deaths in men, especially those aged 60 and over, is due to the
    prevalence of heart problems and the use of blood thinners among this population. Our hypothesis is
    based on the high rate of post-vaccination deaths associated with heart problems, as well as the fact


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    that Pfizer stated in Its corona vaccine product leaflet that the benefit should be weighed against the
    harm In administering the vaccine to people who use blood thlnners^.

    Table 2-Post-vaccine death events recorded In our database,segmented by age,gender & death cause
      Panel A
                       Age                                                                               Earlier
      Cause                  16-19      20-29    30-39     40-49   50-59   60-69   70-79   80-89   90+   reports   Total
      of death                                                                                            60+
                                                                                                                   183
        Sudden death          1          6           4      17      8       10      16      11     6      104
                                                                                                                   5596
        Cardiac arrest/                                                                                             91
                               -         2           4      6       8       10      9       4      4       44
         Heart attack                                                                                              2896
                                                                                                                    18
              Stroke           -         1            -      -      2       4       1       4       -      6
                                                                                                                    596
        Corona disease                                                                                              15
                               -          -           -      -      2       1       2        -      -      10
       after vaccination                                                                                            596
                                                                                                                    8
      Multi-organ failure      -          -           -      -      1        -      1        -      -      6
                                                                                                                    296
                                                                                                                    15
              Other            -         3            2      1       -      1       3        -      3      3
                                                                                                                    596
                              1          12          10     24      21      26      31      19     13     173
              Total                                                                                                330
                                         496         396    796     696     896     996     696    496    5396


      Panel B
                   Gender
      Cause                  Women              Man        Total
      of death
                                                           183
         Sudden death              65           118
                                                           55%
        Cardiac arrest/                                     91
                                   31           60
          Heart attack                                     28%
                                                            18
              Stroke               9            9
                                                           5%
        Corona disease                                      15
                                   4            11
       after vaccination                                   5%
                                                            8
      Multi-organ failure          2             6
                                                            2%
                                                            15
              Other                9             6
                                                           5%
                               120              210
              Total                                        330
                               36%              64%


    The large number of reports of death occurring shortly after vaccination, which have been accumulated
    In our database, Is consistent with reports coming from around the world. For example, a document




    ^httP5://www.gov.uk/government/publications/regulatorv-approval-of-Dfizer-biontech-vaccine-for-covid-19/information-
    for-healthcare-professionals-on-pfizerbiontech-covid-19-vaccine
                                                                   11
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     dated j 12 April 2021 from the British ministry of health reported 314 deaths after the vaccine®. In the
     U.S. VAERS system, 3409 post-vaccination deaths were reported in the first four months of 2021®,
     reflecting a rise of thousands of percent from the annual average that stood at 108 reports of post-
     vaccination mortality per year, whilst the difference in the vaccination rate (in comparison to influenza
     vaccination) is les than 40%. We are wondering how specificaiiy in Israel, the country that claims to
     serve as the world's experimental laboratory for Pfizer's corona vaccine product, and which has the
     highest immunization rate in the world,the ministry of health has abstained from attributing even one
     death case to the vaccine. For example, in a search of the Israeli ministry of health's website dated
     March 18, 2021 the following statement was found:"... so far only a few cases of significant allergy
     have been observed and not a single case of mortality, that is after about 20 million doses of vaccine
     were given"^°. in a letter of response to a query submitted to the Israeli ministry of health by a group of lawyers,
     who asked for information about deaths that occurred shortly after the vaccination under the Freedom
     of information Act, the ministry of health replied that as of March 15,2021, 25 deaths occurred in the
     time frame of up to 16 days after receiving the first vaccine dose and 20 deaths occurred in the time
     period of up to 21 days after receiving the second vaccine dose. The ministry of health further added,
     in response to the same query,that in tests that were conducted,so far, no circumstantial link has been
    found between the deaths cases and the vaccination". We wonder how it is possible that while the
    world reports hundreds of deaths each week occurring in close proximity after receiving the vaccine,
    and while our committee in its limited and meager means has already identified 330 deaths after the
    vaccination, the Israeli ministry of health, which is exposed to the full data, succeeded in identifying a
     total o|f 45 deaths cases which occurred shortly after the vaccine, and refrained from attributing even
    one case to the vaccine itself. We would expect the ministry of health, who is responsible for public
    health to adopt a more responsible and careful approach, considering the possibility that the mass
    experiment taking place here has also adverse effects. On a side note, we point out that even under
    the terms of the emergency permit for Pfizer's corona vaccine product,the ministry of health and Pfizer
    itself had to report and inquire any medical incident that occurred shortly after the vaccination.

     When adding to all of the above the general mortality data in Israel, as published by the Central Bureau
    of Statistics, one cannot avoid raising the suspicion that the ministry of health's silencing and
    concealment mechanisms may have been designed to hide "under the radar" the truth data that could
    foil Pfizer's research. The CBS data updated for May 9, 2021 (deaths of Israeli residents, by month of


     ® COVID-19 mRNA Pfizer- BioNTech vaccine analysis print.(April 12,2021).
     https://assets.publishine.service.eov.uk/government/uploads/svstem/upioads/attachment data/file/978316/050421 PF
     DAP.pdf

     ® VAERS-MedAlerts.
     https://www.medalerts.ore/vaersdb/findfield.php?TABLE=0N&GR0UPl=CAT&EVENTS=0N&VAX=C0VID19

    "Ministry of Health- Vaccine efficiency and safety
     https://govextra.gov.il/ministrv-of-health/covidl9-vaccine/covidl9-vaccine-faa
       Ministry of Health (March 21,2021). A request for information within the Freedom of Information Act - a requirement
     to disclbsethe harms of the vaccine. Reference: 343960421. Application number:643202
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    death, 2000-2021)^^ reflects a sharp and unusual increase in the overall mortality data in Israel, since
    the start of vaccination campaign with the vaccine product of Pfizer. Specifically, in January-March
    2020, 12575 deaths were recorded, while in the corresponding months in 2021 - in the midst of the
    corona vaccine campaign in Israel -14398 deaths were recorded,implying an increase of 15% compared
    to the previous year. A comparison of the mortality data reported in January-March 2021 to the tri-
    monthly average of 12183 deaths in Israel in 2020 reflects an even steeper increase of 18%. Moreover,
    CBS data show that January-March 2021 were the deadliest in the last decade. Comparison of mortality
    in January-March 2021 compared with mortality data in those months in previous years, while of course
    adjusting to population growth over the years,shows that the mortality rate in January-March relative
    to population size was in the year 2021 the largest in all 2010-2020 years.

    Table 3 below presents the overall mortality data in Israel in January-March 2021, divided into age
    groups, as compared to the tri- monthly average mortality in 2020^^ and as compared to the mortality
    data in January-March 2020. The table indicates excess mortality in all age groups over the age of 20.
    Of particular concern is the abnormal excess mortality in the young population aged 20-29 in January-
    March 2021. The table reflects a steep increase of 30% in the overall mortality in the young population
    aged 20-29 in January-March 2021 compared to the tri-monthly average of mortality in these ages in
    2020, and a steep increase of 20% in comparison with the overall mortality in this age group in January-
    March 2020. In the absence of an inquiry of the connection between deaths and the vaccine, can it be
    ruled out that this is the vaccine that led to the deaths of so many additional people in the first quarter
    of 2021, when the vaccination campaign was in full progress?

     Table 3 - Excess general mortality in Israel in January-March 2021
                                                                                                        Excess mortality in
                                                           Excess mortality in
                                                                                                       January-March 2021
                 Number of deaths     Number of deaths    January-March 2021     Average tri-monthiy
        Age                                                                                                compared to
                January-March 2021   January-March 2020       compared to          deaths for 2020
       group                                                                                              the average tri-
                                                          January-March 2020
                                                                                                         monthiy for 2020
       0-19            193                  210                    -
                                                                                        195                     -




       20-29           140                  117                   20%                   108                   30%
       30-39           173                  143                   21%                   155                   12%
       40-49           347                  318                   9%                    305                   14%
       50-59           743                  651                   14%                   665                   12%
       60-69           1787                 1570                  14%                  1534                   17%
       70-79           3215                 2484                  29%                  2541                   27%
       80-89           4686                 4232                  11%                  4010                   17%
        90+            3114                 2850                  9%                   2670                   17%
       Total          14398                12575                  15%                  12183                  18%




       Central Bureau of Statistics. Death of Israeli residents
     https://www.cbs.eov.il/he/Pages/search/TableMaps.asDX?CbsSubiect=%D7%AA%D7%9E%D7%95%D7%AA%D7%94%20%
     D7%95%D7%AA%D7%95%D7%97%D7%9C%D7%AA%20%D7%97%D7%99%D7%99%D7%9D

    "The tri-monthly average mortality in 2020 is computed as three times the monthly average number of deaths.
                                                             13
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    These alarming indications are not sufficient for the Israeli ministry of health to stop the vaccination
    campaign immediately and carry out an in-depth inquiry process, as required, or at the very least bring
    things to an open public discussion. Moreover,the Israeli ministry of health seems to completely deny
    the facrts and official data, as well exemplified by its statement as part of a report on respiratory virus
    monitoring in Israel from April 10,2021", according to which "as of the ninth week ending on March 6,
    2021,the decline in the death rate from all causes continues"(our emphasis). How can the ministry of
    health claims, a few days after two months of a sharp rise in the overall mortality rates, which is
    exceptional not only compared to the previous year, but also compared to the last 10 years, that there
            i
    is a "cpntinuing" decrease in mortality rates?

    In an attempt to understand the cause of the abnormal excess mortality observed in Israel during the
    vaccination campaign, we analyzed the statistical relationship between the daily overall mortality data,
    as published by the Central Bureau of Statistics^^ and the daily immunization data published by the
    ministry of health^®. The analysis indicates that the excess mortality observed in early 2021 can be
    statistically attributed to corona vaccines, both in relation to the entire population in Israel and when
    dividing the population into age groups^^ An illustration of these statistical findings is given below in
    Diagram 4, which shows in the blue graph the daily observations of the number of vaccinated (in the
    first or second dose of the vaccine) in comparison to the red graph of the daily observations of the
    number of deaths occurring a few days after the vaccination, as for three age groups: a young group of
    ages 20-49, an intermediate group of ages 50-69, and an older group of ages 70 and up. It can be seen
    from the diagram that the fluctuation in the red graph of deaths is largely consistent with the
    fluctuation in the blue graph of the vaccinated, in all age groups.




   "Ministry of Health- Respiratory virus monitoring report in Israel, Report for week 14 that ended on April 1,2021
    https://www.eov.il/BlobFolder/reports/corona-flu-10042021/he/files weeklv-flu-corona corona-flu-
    10042021.pdf?fbclid=lwAR0z6fc    IMHuGui07cLvPe7dDFrrXlnntiG82wlC78922hw9C ShL66-DA

      The Central Bureau of Statistics. Mortality of Israeli Citizens
    https://www.cbs.gov.il/he/PaBes/search/TableMaps.aspx?CbsSubiect=%D7%AA%D7%9E%D7%5%D7%AA%D7%94%20%D
    7%95%D7%AA%D7%95%D7%97%D7%9C%D7%AA%20%D7%97%D7%99%D7%99%D7%9D

       The Central Bureau of Statistics. Mortality of Israeli Citizens
    httPs://www.cbs.gov.il/he/Pages/search/TableMaps.aspx?CbsSubiect=%D7%AA%D7%9E%D7%95%D7%AA%D7%94%20%
    D7%95%D7%AA%D7%95%D7%97%D7%9C%D7%AA%20%D7%97%D7%99%D7%99%D7%9D

   "The statistical analysis is based on a linear regression model OLS with the daily number of vaccinated as an independent
    variable and the daily number of deaths(a few days post vaccination day)as the dependent variable. This, in an attempt to
    find a linear approximation to the relationship between the daily number of vaccinated and the number of daily deaths a
    few days post vaccination day, and for the purpose of estimating the length of the time window between the event of
    vaccination and the subsequent event ofdeath.To the best of our knowledge,this type of statistical analysis, which manages
    to statistically establish a relationship between the vaccination and the excess mortality observed in Israel in the midst of
    the corona vaccination campaign, has not yet been implemented in other countries. We find it of great importance
    replicating the statistical analysis also in reference to data from other countries.

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    Diagram 4 - The relationship between the number of daily vaccinated in Israel and the number of daily
    deaths shortly after vaccination

                   Age group 20 to 120; Dose [1, 2]                            Age group 20 to 49; Dose [1, 2]
                                                       1
                                                                    120000
                                          Vaccinated

        200000                            Deaths
                                                                    100000
                                                                                                                    10 >«
                                                           150-6     80000
        150000

                                                                     60000-
      u 100000

                                                                     40000 -

         50000
                                                                     20000•                  Vaccinated
                                                                                             Deaths
                                                                                                           i
                             aoT> ip-^ ^o1> tsS^                              ^oT> T.oi> tcP> ^o1>          T.dJ>
                            Vaccination day                                              Vaccination day

                   Age group 50 to 69; Dose[1, 2]                              Age group 70 to 120; Dose [1. 2]
                                                                     60000 -
         80000                            vaccinated                                                   Vaccinated
                                          Deaths                     50000                             Deaths


         60000
                                                                     40000


                                                                    c 30000
         40000 -

                                                                   > 20000           -




         20000
                                                                     10000

                                                                                         VVVV^/^/^/V^ur

          Tdi> Tcn> Tp7> TdJ> Tdl> Tdl>                               lOT>          TpT> t(S1> ^0^>
                            vaccination day                                              Vaccination day


    We found a statistically significant correlation between the daily mortality data and the daily vaccine
    data during January-March 2021 when referring to either the two vaccine doses together or each of
    them alone, but the extent of vaccination with the second dose explains more significantly the excess
    mortality than the extent of vaccination with the first dose. It seems thus that the second vaccine dose
    is followed by a more significant wave of deaths than the first vaccine dose. We thus derived our main
    estimates based on the statistical relation that we found between the mortality data and the second
    vaccination dose data. For simplicity of presentation, we highlight the main insights from this statistical
    analysis, without elaborating on the underlying technical details, which are given in the appendix. In
    the young group of 20-49 years the most significant correlation was obtained with respect to the
    number of deaths on the eighth day after the vaccination date, in the intermediate group of 50-69 the

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    most significant correlation was obtained with regard to the number of deaths on the fifth day after
    vaccination, while in the elderly group of 70 and up the most significant correlation was obtained with
    the number of deaths on the third day after receiving the vaccine^®.These findings suggest a time gap
    between the vaccine and the death event that decreases as the age of the vaccinated increases.
    According to the statistical findings obtained, the mortality attributed to the corona vaccine is
    estimated at a rate of approximately 1:3000 in the general population, 1:18000 in the young age group
    of 20-49,1:5000 in the intermediate group of 50-69,and 1:1100 in the older age group of people aged
    70 and over^®. By implementing these estimates to the population vaccinated against corona in Israel,
    our assessment Is that the number of deaths following vaccination in Israel currently stands at about
    1600-1700 people. It is particularly sad and worrying to see that the estimated mortality rate from
    corona vaccines among the young population is incomparably higher than the mortality rate of this
    population group from the corona virus, against which the vaccine is designed to protect. These data
    are pa^icularly disturbing in light ofthe intention of the heads of the health system in Israel to vaccinate
    the entire population of children in the country with Pfizer's corona vaccine product.
    Interestingly, we also found a strong correlation of 66% between the daily vaccination data and the
    daily data of mortality due to post-vaccination corona during the corona vaccination campaign in Israel.
    An illustration of this statistical correlation is given below in Diagram 5. The blue graph in the diagram
    shows the daily observations of the number of vaccinated (in the first dose). The red graph in the
    diagram shows the daily observations of the number of deaths occurring due to corona in a lag time of
    20 davs from the vaccination date. When comparing the two graphs, it can be seen that the fluctuation
    in the red graph of deaths due to post-vaccination corona is largely consistent with the fluctuation in
    the blue graph of the vaccinated. We don't have a satisfactory explanation to this surprising statistical
    finding. Does it suggest that the vaccination against corona actually exposes vaccinated people to a
    higher] risk of mortality from corona? Perhaps it alternatively implies to manipulation in the reported
    data regarding the number of deaths from corona? We leave these questions open.




       The linear regression model underlying our statistical analysis was run multipie times, with each run based on the entire
    series of observations of the daily number of vaccinated and a series of daily observations ofthe number of deaths in a time
    difference from the vaccination date, which varies between runs. The reported findings are based on the results of the
    regression with the time difference between vaccination day (second dose) and death day,for which the most significant
    statistical relationship was found. The correlation is 0.525 for the entire population,0.336 in the age group 20-49,0.541 in
    the age group 50-69,0.671 in the age group 70 and up.The p-value is below 3% in ail age groups and in the entire population.
      The reported findings are based on the estimate obtained for the slope ofthe regression iine, which approximately reflects
    the death rate from the number of vaccinated (second dose). For the sake of presentation simplicity, point estimates of the
    regression iine slope obtained in each age group were presented after rounding down (showing a more optimistic
    assessment). The 95% confidence interval for the ratio of dead to vaccinated within the entire population is 1:2118-4532,
    in the age group 20-49 it is 1:10788-47212, in the age group 50-69 it is 1:3470-7175, and in the age group 70+ it is 1:871-
    1443.

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    Diagram 5 - The relationship between the number of daily vaccinated in Israel and the number of daily
    deaths due to corona shortly after vaccination

                                      Atl ages; Dose 1: Correl3tion»0.658, p-value=:2.S46e-15
                                                                                            vaccinated
                                                                                            Covid mortality




                           120000




                           100000




                       c   80000




                           40000




                           ZOOOO




                                                           Vacclnatlofl day




    CHAPTER 3 - ON THE WIDE RANGE OF VACCINE-RELATED ADVERSE EVENTS

    IN SHORT: There has never been a vaccine that has injured so many people I In addition to the 330
    reports of fatalities in proximity after the vaccine, another 2016 reports were collected in our database,
    describing a wide and multi-system range of adverse events that caused moderate to severe damage
    to vaccinated. Among the adverse events, a relatively high rate of harm has been observed in women,
    including massive vaginal bleeding, menstrual disorders, miscarriages and still births. There is also a
    high prevalence of neurological injuries and cardiovascular problems. A particularly notable and
    alarming adverse event, which Is reflected from our database in high frequency. Is myocarditis, which
    also affects young people, and can shed further light on post-vaccination deaths that were mostly
    caused by heart problems.

    In this chapter we will relate to the wide range of serious adverse events observed following vaccination
    and reported to us, after deducting the reports of deaths discussed in the previous chapter.To illustrate
    the nature of the reported cases, we will present some examples from the many reports flowing to us.

    Here is a first example of a report received from a 42 year-old man who was healthy before the vaccine:
    "Disaster struck my body. Two days after the second vaccination I felt my chest was going to explode, I
    had 22 suffocation attacks and was diagnosed with emphysema.To this day, I suffer from severe bouts
    of shortness of breath and stress, loss of appetite, weight loss, a outbreak of pneumonic disease and
    severe inflammation of the nervous system".
                                                              17
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     And another example of a report received from a healthy 47-vear-old woman, mother of four children
     and a yoga teacher: "Two weeks after the first vaccine I experienced challenging 48-hour adverse
     events. A week after the vaccine - for about two weeks -1 was almost completely disabled. It started
     with fever, 48-hour chills, and continued with strong muscle pains while moving, weakness, and quite
     stressful tingling all over the body (especially when exposed to heat,sun or hot water)that feel like an
     attack offire ants. After a visit to the family doctor(who laughed at me when I arrived), another home-
     visit doctor (who sent me with an ambulance to the emergency room), and doctors in the E.R. who
     determined that I had nothing and sent me home after a few tests - a friend insisted and made an
     appoirjtment with a professor in Ichilov hospital. From my blood tests he diagnosed a multi-system
     inflammation, probably as a result ofthe vaccine. It has been almost a month since and I am on steroids.
     During the day I function about 80 percent with the steroids, go to bed weak and sore, and when I get
     up every morning -1 can barely move until the pill affects. The electric currents in the body attack every
     time the body heats up and create very unpleasant sensations in the body. My work has been damaged,
     I function less at home,and my mood is really poor".

     And here is another example of a report by a 19 year-old young man: "Several days after the second
     vaccine I was hospitalized with chest pain. High troponin".

     And now an example of a report by a 16 year-old boy: "After a second vaccination, general
     lymphadenopathy appeared. Lymphocytosis condition, probably as well. For two months now I undergo
     a full medical examination by a hematologist and an oncologist with no clear findings. Just before a
     bone marrow".

     And one more example of a report by a mother of a 16 year-old boy, who told our professional team
     that her son was hospitalized,shortly after receiving the second vaccine dose,in a vascular department,
     and has been there for more than a month, after undergoing emergency surgery, with a diagnosis of
     acute Ipft hand ischemia and a suspected clot In the subclavian artery on the left side.
    Finally, an example of a report about a young woman: "25 years old from Rosh HaAyin, after first
    vaccination, pregnant in the ninth month,she had a brain hemorrhage, fell and fainted. Her husband
    found her on the floor. They delivered the fetus. She underwent several head surgeries. Her condition
     is very serious".
            !


     At the time of writing, our database of post-vaccination adverse events includes 2346 reports that have
     already been reviewed and processed. After deducting the 330 reports of events that ended in death
     and were reviewed in the previous chapter, all 2016 additional reports refer to a wide and multi-system
            i
     range of adverse events that occurred in proximity after vaccination and caused moderate to severe,
     and even life-threatening, damage to injured (minor adverse events are not included in our database).
     Table 6 below shows the mapping of these reports into different categories of adverse events.




                                                        18
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    Table 6-Post-vaccine adverse events recorded in our database, divided into categories
                                                                                         Number of    Percent of
         Category                                Sub-Category
                                                                                         complaints     total

                                                 Sudden death                               183
                                    Death from cardiac arrest/ heart attack                 91
                                               Death from stroke                            18
          Death                      Death from covid-19 after vaccination                  15
                                        Death from multi-system failure                      8
                                           Death from another reason                        15
                                                                                            330        14.1%

                                                Vaginal bleeding                            190
                                              Menstrual Disorders                           135
                                                 Miscarriage                                51
                                    Preterm contractions and preterm birth                  13
                                           Pregnancy hospitalization                        10
        Gynecology
                                                     Stilbirth                               8
                                             Endometriosis flare up                          4
                           Other(premature contractions, breastfeeding difficulties /       11
                                             Infertility/ baby issues)
                                                                                            422         17.9%

                                            Neurological impairment                         85
                               (vertigo, paresthesia. Facial nerve palsy, paralysis)
                                                     Stroke                                 82
                                                   Bell's Palsy                             63
         Neurology              Neurological-motor impairment(limb paralysis)               44
                                                     Seizure                                 24
                                         Neurological-cranial impairment                     12
                         Other (cognitive impairment, neurological-sensory impairment,       16
                                       intracranial pressure, ageusia, ALS)
                                                                                            326         13.9%

                                                    Limb pain                                59
                                               Extreme headache                             47
                                                   Myalgia                                   34
           Pain                                   Back pain                                  29
                                              Abdominal cramps                               21
                                    Other(chest pain, bone pain,joint pain,                  15
                                            fibromyalgia flare-up)
                                                                                            205         8.7%

                                            Heart attack. Myocarditis                       178
           Heart                                       UNS                                   19
                                                                                            197         8.4%

                                                     Shingles                                75
                                                 Rash & blisters                             9
           Skin                            Dermatology-general                               14
                                    Other(edema,aphthous ulcer, psoriasis)                   9
                                                                                            107         4.6%

                                  Pneumonia,Pulmonary edema,Pleural fluid                   103
           Lungs                                     Dyspnea                                 1
                                                                                            104         4.4%




                                                             19
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                                                    Inner ear Tinnitus                             49
                                                   Hearing impairment                              7
                Ears
                                                          Other                                    7
                                                                                                   63     2.7%

                                                     Allergic reaction                             50
           jAllergy                               Anaphylactic reaction                            7
            1                                                                                      57     2.4%
      Lymphadenopathy                                                                              52     2.2%

                                                 Inflammation - general                            33
                                                         Arthritis                                 6
        Inflammation                             Multi organ syndrome                              3
                                       Other (gastritis, cholecystitis, pancreatitis)              8

                                                                                                  50      2.1%

                                                     Eye disorders                                 24
                                                   Visual impairment                               21
                Eyes
                                                      Loss of vision                               2
                                                                                                  47      2.0%
          Covid-19                                                                                39      1.7%
                                                       Blood clots                                 18
                                                    Internal bleeding                              5
                                                        Bleeding                                   3
                Blood
                          Other(blood infection, blood clotting disorders, Intra-cranial/Rectal    9
                                                  bleeding, hematuria)
                                                                                                  35      1.5%

                                                     Thyroid gland                                 12
        Endocrinology                         Drastically high blood sugar                         7
                                                    Juvenile diabetes                              1
                                                                                                  20     0.9%

                                                        Kidneys                                    6
           Internal                                 Digestive system                               6
                                                      Liver function                               4
                                                                                                  16     0.7%

                                                   Cancer-general                                  7
                                                Lymph node malignancy                              5
         Mcilignancy
                                         Exacerbation of oncological condition                     4
                                                                                                  16     0.7%
            I
                                                  Autoimmune Disease                              12
        Au^immune                                         Lupus                                    2
                                                                                                  14     0.6%

                                                   Bacterial infection                             4
                                                          CMV                                      3
          Infectious
                                                           AIDS                                    1
                                                                                                   8     0.3%

                               Hospitalizations, Dysfunction,Syncope, Unconsciousness,
                Other                      Extreme fatigue. Mental disorders
                                                                                                  238    10.2%

     Total ajnalyzed I                                                                            2346   100.0%
     Received, not analyzed yet                                                                   300
     Total rjeports |                                                                             2646



                                                                20
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     We have no doubt that the reports we have collected on adverse events associated with Pfizer vaccine,
     as reflected in Table 6, are only a partial update due to considerable under-reporting, but we can still
     learn from them about a very wide range of adverse events observed in proximity after corona
     vaccination, which affects almost all systems in the human body. A very alarming adverse event that
     appears in our database with a particularly high incidence is myocarditis(178 reports, of which 44 refer
     to young people under the age of 40, with a significant proportion of reports in young people that relate
     to myocardial and pericarditis). This phenomenon can also shed further light on mortality data, which
     were observed in proximity after vaccination and were extensively reviewed in the previous chapter,
     as most of them were derived from various cardiovascular events. Other adverse events that are
     prominent in their high prevalence have been observed in women and include massive bleeding (190
     reports), menstrual disorders(135 reports), as well as miscarriages and stillbirths(59 reports). There is
     also a high prevalence of neurological injuries that occur in proximity after immunization. It is possible
     that the multiplicity of adverse events associated with Pfizer's corona vaccine explains, as well, why
     about 5% of the citizens who were vaccinated in the first dose did not complete the immunization
     process with the second dose.

     The prevalence of vaccination-related adverse events in our database, as well as the nature they carry,
     are consistent with reports coming from around the world. For example, according to a report by the
     UK government from April 15^°, the UK administered 11 million of first dose Pfizer vaccines and 4.4
     million of second dose Pfizer vaccines in the period from the beginning of vaccination campaign on
     March 9,2021,to April 5,2021. That is, a total of approximately 15.4 million doses. The report^^ further
     indicates that during this period, 55,716 reports of adverse events, that included 159219 adverse
     events, related to Pfizer's corona vaccine, were reported to the MHRA through the Yellow Card
     Scheme's reporting mechanism. 370 of these reports relate to deaths cases. As for side effects, the
     report includes 2048 cases of cardiac disorders (including 37 cases of Myocarditis /pericarditis), 5498
     cases of blood disorders, 871 cases of immune system problems, and 100 cases of adverse events in
     pregnant women (including 54 spontaneous miscarriages). Also reported 29614 cases of nervous
     system disorders, 16512 cases of gastrointestinal problems, 3070 cases of infections, 2708 cases of
     psychiatric disorders (including 92 cases of hallucinations, 43 cases of panic attacks, 81 cases of
     abnormal dreams),2279 cases of vascular problems, 1961 cases of ear problems (including 82 cases of
     deafness), and 992 cases of metabolic problems.




       Medicines & Healthcare products Regulatory Agency.(April 15, 2021). Coronavirus vaccine - weekly summary of Yellow
     Card reporting.
     https://www.gov.uk/eovernment/Dublications/coronavirus-covid-19-vaccine-adverse-reaction5/coronavirus-vaccine-
     summarv-of-vellow-card-reporting#annex-l-vaccine-analvsis-print

       COVID-19 mRNA Pfizer- BioNTech vaccine analysis print.(April 12,2021).
     https://assets.publishine.service.gov.uk/eovernment/uDloads/sv5tem/uploads/attachment data/file/978316/050421 PR
     DAP.pdf

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     It is very worrying how specifically the ministry of health in Israel, the world's leading country in corona
     immunization rates, does not provide the public with available data regarding the extent of adverse
     events from the vaccine (we will expand the reasons for this in Chapter 4), and the information the
     public receives is based on a limited number of reports that can be counted on one hand's fingers. So
     far, five adverse events reports have been published by the ministry of health in Israel", the last of
     which was published on March 1, 2021, i.e. more than two months ago (!). The ministry of health's
     latest adverse events report from March 1^^ shows an absurd outlook, according to which, apparently,
     there has been a significant decrease,and in some cases huge,in a variety ofserious pathological effects
     that appeared in the proximity of vaccination, suspected as vaccine-related adverse events, as
     compared to the corresponding period in the years 2017-2019. For example, the report shows that
     during the vaccination period there was a 1000 times reduction in myocardial infarction compared to
     the corresponding period in 2017-2019; 3650 times reduction in heart failure; 385 times reduction in
     stroke; 90 times reduction in pericarditis and 26.5 times in myocarditis. As members of the Public
     Emergency Council for the Corona Crisis noted in their position paper on children vaccines, published
     on April 12^^ the conclusion of this ministry of health's report is that Pfizer's corona vaccine protects
     not only from the corona virus but also from dozens of other serious medical conditions. It is quite clear
     that this result is not medically plausible, so this raises significant doubts about the reliability of the
     report.


     CHAPTER 4 - ON THE SILENCING MECHANISMS ASSOCIATED WITH VACCINE ADVERSE EVENTS
             j
     IN SHCjJRT; We describe a web of moves initiated by the Israeli ministry of health, in cooperation
     (volunjary or submissive) of the entire Israeli health system, and under the auspices of the main
     communication channels In Israel, leading to a massive disruption of the truth about corona vaccine
     adverse events in Israel. The incomprehensible gap between the reality in ground and the information
     published by the Israeli ministry of health and by the Israeli media raises the fear of dangerous
     deception not only of Israeli citizens but of citizens all around the world, who see Israel as the research
     laboratory of Pfizer's corona vaccine product.




        Ministry of Health. Discussions in the Committee for vaccine monitoring and Corona improvement
     https://www.eov.il/he/departments/publication$/reports/vaccine-efficacv-safetv-follow-uD-committee

    "Ministry of Health,symptoms that appeared in the proximity of receiving a corona vaccine ,Division of Epidemiology,
     Public Health Services updated to 1.03.21
     https://www.gov.il/BlobFolder/reports/vacclne-efficacv-safetv-follow-up-committee/he/files publications corona side-
     effects-after-vaccination-01032021.pdf

       Public Emergency Council for the Corona Crisis.(April 12, 2021). Position paper: Covid 19 children and adolescents
     under 16 years vaccintion.
     https://www.pecc.org.il/docs/childvac.pdf?fbclid=lwAR2B4iSKbuNf6b6MIJELotvfZNsPe Q6Fclo-QaVtVT83GntAD2Wl-
     KDEmw




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     The gloomy picture of the extent and severity of adverse events that many Israeli citizens experienced
     in proximity after receiving the corona vaccine, as revealed in the previous chapters of the report, is in
     absolute contrast to the optimistic picture the Israeli ministry of health portrays to the public and the
     one which is reflected in the Israeli media. In this chapter we will explain how can there be such a deep
     gap between the reality in the ground and the information provided to the Israeli public by the
     authorities and the media, and which is well rooted in the minds of the citizens of Israel. We will also
     describe the tools through which this gap in perception of reality has been created, present those
     responsible for its creation, and try to establish the motives that guide them.
     We will start by saying that a necessary and extremely important condition for granting a permit for
     mass use of any new experimental product is the existence of systems for close and strict tracking,
     monitoring and alerting about the adverse events and risks. Let alone such systems are essential in the
     context of a mass vaccination campaign defined as experimental for the citizens of an entire country,
     especially when it pretends to serve as a global model for other countries. Indeed, as part of the
     granting of the permit for emergency use of its corona vaccine product, and as a condition of receiving
     it, Pfizer has pledged to the US Food and Drug Administration - the FDA - to conduct comprehensive
     and rigorous monitoring and control of the observed adverse events in patients, who have been treated
     with the vaccine product, and report to the FDA any case of serious adverse effect and any case of
     hospitalization or mortality reported to the company^^-^®. And so, the state of Israel pledged to the
     Pfizer's company, according to the media reports. Despite all this, and despite the fact that the Prime
     Minister of Israel and senior officers of the Israeli ministry of health are proud that Pfizer has chosen
     Israel to be the experimental country thanks to the advanced technological systems ofthe Israeli HMOs,
     in practice there is paralyze and shutdown of all monitoring and alarming systems that might detect
     adverse events that occur in proximity after getting the vaccine and alert about them.
     There are transparent systems in the world designed to report adverse events associated with any new
     medical product or treatment,such as the VAERS(Vaccine Adverse Effect Reporting System)^^. Systems
     such as these invite the general public to report any adverse events that the patients themselves or
     their relatives have experienced in proximity after using the medical product, and also allow them to
     observe the adverse events reported by others, in their own words. This, without any mediation by the
     health authority,so that all the reports are published, without the authority deciding what it considered
     to be related to the medical treatment and what is not. Although such reporting systems are far from
     perfect, and according to the scientific literature they reflect the adverse events In considerably deficit
     (according to estimates in the research literature, they reflect between 1% and 10% of the adverse



    "FDA.( February 25,2021)
     httPS.7/www.fda.gov/media/144412/download

     ^°httPs://www.fda.BOv/vaccines-blood-biologics/vaccine5/emereencv-use-authorization-vaccines-explained

    "Vaccine Adverse Event Reporting System (VAERS).
     https://vaers.hhs.gov/esub/lndex.jsp
                                                             23
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     events in reality^®'^®'^®), they are of enormous Importance, since they constitute an essential database
     for research on the safety of new medical procedures and preparations. In contrast to the practice in
     well administrated and managed Western countries, the state of Israel does not have such a
     transparent system for reporting adverse events,and therefore there is no orderly follow-up of adverse
     events related to Pfizer's corona vaccine. This is despite the choice to make the state of Israel a kind of
     the laboratory of the world.
     With the start of the corona vaccine campaign in Israel, an online form has been set up on the Israeli
     ministry of health's website, which allows the public to report adverse events after the vaccine^^. Until
     lately, however, the report was completely anonymous, with no identifying details and no means of
     returning to the reporter to find out more details. In addition, it was not possible to describe in free
     text tl|e complaints, and the list of symptoms to be marked was limited and referred to only mild
     symptoms. Recently, after the committee's legal team sent a letter on this matter to the Attorney
     General and then also filed a petition to the High Court of Justice, the form was slightly modified, the
     possibility of free text was expanded and the possibility of contact details was added. However, even
     now, absurdly, the form still does not allow to fill in the name of the reporter, and moreover - this
     change was made very late, after most of the adult population has already been vaccinated.
     Furthermore, not only did the poor structure of the form make the report worthless, but worse - the
     report is not publicized in transparency, it reaches the ministry of health only, and thus the decision
     regarding its exposure to the public is subject to the sole discretion of the authorities. The latest report
     on vaccination related adverse events found on the ministry of health website was published on March
     1, 2021^^, and it does not mention even a single reference of a mortality case, although we know that
     doctors reported to the ministry of health the death of patients after vaccination. There is no escape
     from the conclusion that the ministry of health's reporting form is a deliberate deception directed at
     the Israeli citizens, to throw dust in their eyes and make them believe that there is a reporting system,
     when in practice it is only an apparent reporting system that does not allow effective follow-up and
     monitoring of vaccine related adverse events. From the protocol of the meeting on March 22, 2021,
     held by the Ministry of Health Priority Committee for Corona Vaccines, it appears that even the
     members of this committee are aware that the adverse events associated with the corona vaccine are
     not at all monitored, as stated by Dr. Tal Brosh, a member of the committee:"The data collected in the


       Kessler, D.(1993). Introducing MEDWatch. A new approach to reporting medication and device adverse effects and
     product problems. JAMA (269):21, p.2785.

    "Lazarus et al.(2010). Electronic Support for Public Health-Vaccine Adverse Event Reporting System (ESP:VAERS).
       Shimabukuro et al.(2015). Safety monitoring in the Vaccine Adverse Event Reporting System (VAERS). 2015
     https://www.ncbi.nlm.nih.eov/pmc/articles/PMC4632204/
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       Ministry of Health.(2021). Reporting of adverse events that have occurred in proximity to a vaccine against orona.
     https://govforms.BOv.il/mw/forms/CovidVacci nationSideEffectsReportOhealth.eov.il

       Ministry of Health. Vaccine Operation Committees
     https://eovextra.gov.il/ministrv-of-health/covidl9-vaccine/covid-19-vaccine-efficacv-safetv-follow-up-
     committee/?fbclid=iwAR3B5roQ2avnwE0tHzEoPaw7 UWY6U5N5KikBmo2eYYbWXmUH3rP0woSJBe

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     country cannot be relied upon. No adverse event was reported and this is due to lack of data collection
     as in a study..."(see section 1.9.15.8 in the protocol^.
     Furthermore, there seems to be no tracking and monitoring of even the most vulnerable populations,
     such as pregnant women and elderly people. While in the US, the CDC and the FDA have initiated
     specific systems for tracking and monitoring pregnant women receiving the vaccine product^^ in stark
     contrast it turns out that in Israel there is no monitoring system that will allow following of vaccine-
     related adverse events in pregnant women, pregnancy status, fetus status, and the baby's condition
     after birth. And this, despite the fact that Israel is the only country in the world that proactlvely and
     comprehensively recommends that all pregnant women be vaccinated, and even forces them to do so
     by applying the green passport policy. In response to a query sent by the Freedom of Information
     Movement to the ministry of health, the latter admitted of having no data even about the number of
     vaccinated pregnant women^^ and hence it is quite clear that the ministry does not have any data on
     their condition. As for the elderly,the situation is even worse. As part of the national program to protect
     the elderly population in Israel from the corona virus, the "Protecting Fathers and Mothers" program,
     a reporting system was activated from April 2020, which used to publish detailed reports on an almost
     daily basis on cases of corona outbreaks, hospitalizations and mortality in nursing homes.Astonishingly,
     on December 29, 2020 of all days, the day the vaccination campaign began in the nursing homes,the
     publication of the detailed reports was abruptly stopped, and in fact since then there have been no
     more reports of outbreaks, hospitalizations and deaths In the nursing homes. Moreover, in recent
     weeks, after we sent a warning letter to the Attorney General about the cessation of reports and we
     published it in our interim conclusions report, the "Protection Fathers and Mothers" website, which
     was open to the public^^ has been completely removed. Instead, another new website was established
     with access limited only to the relevant role holders in those institutions, using a username, password
     and code.

     From the testimonies of doctors brought before us, we get the impression that the doctors in Israel are
     standing helpless when it comes to treating the adverse events from the vaccine. This helplessness is



       Ministry of Health (22 March 2021). The team for treating epidemics. Priority Committee for corona Vaccine.
     https://www.gov.il/BlobFolder/repoits/vaccine-priorities-board/he/files publications corona vaccine-priorities-board-
     21032021.Ddf

       Information about COVID-19 Vaccines for People who Are Pregnant or Breastfeeding.
     https://www.cdc.gOv/coronavirus/2019-
     ncov/vaccines/recommendations/pregnancv.html?fbclld=lwARlzV8lil<SeCvMxhrE5vCaQrmULeV ILWZ WaSOAGvzAgrhuR
     Urn lvTnGW4

       The Movement for Freedom Information (2021). Request for information under the Freedom of Information Act -
     Vaccination of Corona virus in pregnant women.
     https://www.meida.org.il/wp-content/uploads/2021/02/Pregnant-women-with-corona-
     convertedl.pdf?fbclid=lwAR17sPeM7XJfpQRDIoHKvhRuuHg8ufznE-Si851mpDLDZ3hrcF5n6 VvLSk

       Protecting Fathers and Mothers- update situation.
     httPs://govextra.gov.il/minis.../care-covidl9/dailv-reports/
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     probably due to the complete lack of appropriate guidelines on the part of the heads of the health
     system in Israel, which is negligent at best or intentional at worst. In particular, we were informed of a
     document" published by the Israeli ministry of health to the district physicians on February 2, 2021,
     which numbered a long list of 29 serious diagnoses (Including, ADE - increased immunology disease,
     stroke acute myocardial infarction, acute encephalitis, meningitis, pericarditis, transverse myelitis,
     coagulopathy, acute renal injury, acute liver injury, acute respiratory distress syndrome, inflammatory
     multisystem syndrome in children, and more severe diagnoses)for the purpose of reporting symptoms
     in proximity after the corona vaccine. Surprisingly, however, this important document was not
     distributed to physicians in the field. Testimonies from doctors indicate that the ministry of health does
     not instruct doctors to monitor adverse events from the vaccine and to examine the connection
     between adverse events that appear in the proximity of the vaccine and the vaccine. Moreover, it
     appeals from the evidence that even when physicians are interested in reporting, many of them do not
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     know how to do so. There are two ways doctors and medical staff can report adverse events to the
     ministry of health. One way is a report by a medical staff at the HMO performed through the patient's
     medical file. Testimonials from doctors indicate that many doctors do not know how to report in this
     way, and until recently the report enabled marking only local and mild adverse events. The second way
     is to report within the hospital, but this is a cumbersome and time-consuming way of reporting. For
     example, reporting myocarditis required filling out a multi-page form and sending it by email - an
     unreasonable task as part of intensive emergency room work. As a result of these flaws, the reporting
     rate by physicians is low, and they tend to report only in exceptional cases. And if this is not enough, it
     appears from the evidence that we received that even when doctors report of adverse events they
     encoui^ter, using the report form,these reports are not published transparently to the public, or even
     to the doctors themselves. In addition, testimonies from doctors also indicate that the Israeli ministry
     of health forbids them to give approval or a recommendation not to vaccinate or postpone the vaccine,
     and th^t they are obligated to recommend the vaccine in any case, regardless of the medical situation
     or history of their patients. For example, as we encountered from the testimony of one of the doctors,
     recommending the vaccine is required even in cases where the patient has previously had Bell
     syndrome,a syndrome reported as an adverse event of the vaccine.

     We are also experiencing a growing phenomenon of active repression on Israeli physicians, who express
     critical views regarding the way in which the vaccination campaign is conducted. Moreover, the
     authorities in Israel also prevent the obtaining of scientific evidence that could jeopardize the imaginary
     and dictated consensus from above regarding the safety of the vaccine, and they fight with aggressive
     measures against anyone who still dares to bring such evidence and make scientifically proven claims
     about the need for more careful vaccination. Unfortunately, it seems that the main communication
     channels in Israel have joined the ministry of health's efforts to impose scientific tyranny regarding the
     safety pf Pfizer's corona vaccine product. The research literature is replete with studies indicating that
     the mass media outlets often disclaim their responsibility to serve as a mechanism for overseeing and


    "Reference 113342221
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    criticizing the conduct of the authorities and as a platform for presenting pluralism and instead choose
    to serve as a mouthpiece for the establishment and those in power. However, during the corona crisis,
    the major media channels in Israel reached new records of embezzlement in their role as important
    gatekeepers of democracy and the public. They have sweepingly espoused the government narrative,
    constantly echoing the messages of the ministry of health and the government, according to which the
    vaccine is the only way out of the crisis and back to normal life, and it is safe and effective and free of
    any adverse events. This, while glorifying the virtues of the vaccine product, and on the other side
    concealing and even hiding its shortcomings, suppressing any discourse regarding the risks involved,
     and considerably underreporting the adverse events observed in proximity after vaccination. There is
     a massive of silencing of voices that dare to raise claims about possible risks associated with an
     experimental vaccine product, which has not yet been approved but has only been allowed for
     temporary emergency use, and which is based on new technology that has not been tested on humans
     adequately,and certainly not on pregnant women,children and adolescents. Doctors who express such
     opinions have received warning letters from the Committee for the Prevention of Misleading the Public
     in the Israeli ministry of health (see, for example, the letters regarding Dr. Michal Haran^®*^®, and Dr.
     Avshalom Carmel^®). And if that's not enough, in many cases these brave doctors are either - at best -
     ignored by the media, or- at worst - even exposed to defamation in the media, when their words are
     categorized as false information (or in popular parlance "fake news"). This is while doctors and
     scientists, who have chosen to join this dictated consensus, have gained the status of the beloved of
     the government and the media and have become celeb substitutes, with their messages, even the
     evidently unfounded ones, frequently are heard through the various media outlets. The authorities,
     with the active assistance of the media, have created on one hand a reward system for opinions that
     support Pfizer's vaccine product, and on the other hand have also built a kind of modern inquisition
     that silences any claims regarding possible risks. For example, a case of the young Israeli girl, who died
     of myocarditis following the vaccine, was framed in the media as malpractice by the hospital, although
     it is known that myocarditis, mainly autoimmune, can cause severe morbidity and mortality^.
     Unfortunately, almost without exception, physicians in the Israeli health care system,from the front
     line workers to the top of the hierarchy, have succumbed to the pressures and dictates of the ministry
     of health. They even did this at the expense of violating basic norms of medical ethics and proper
     medical administration. Our committee has received many reports of physicians, who encouraged and
     even pressured patients into getting the vaccinate. It appears that they were given instructions as to
     how every patient should be treated, regardless of their medical history and with no reference to the
     patient information leaflet of the Pfizer's vaccine product. Many patients reported to us that physicians



     ^°https://www.health.gov.il/$ervices/Committee/deceive/Documents/2017204.pdf

       https://www.health.gov.il/Services/Committee/deceive/Documents/211220721.pdf

       https://www.health.gov.il/Services/Committee/deceive/Documents/223666321.pdf

       Myocarditis and inflammatory cardiomyopathy; current evidence and future directions
                                                                                        |  Nature Reviews Cardiology
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     brushed aside the possibility that the various adverse events they were experiencing following
     vaccination are related to the vaccine. We have received reports of hundreds of vaccine-injured, who
     needed hospitalization since vaccinations began, many with severe adverse events, but hospitals refuse
     to recognize the link between the vaccinations and the subsequent adverse events, even though most
     patients experienced the side effects right after the first or second vaccine, and the majority
     experienced adverse events they had never encountered before. Among the many reports we received,
     there were cases of officials within the Israeli health care system approaching families, whose loved
     ones had died immediately after the vaccine, urging them not to report it.
    We received many testimonies from doctors and medical staff. Here are selected quotes from a letter
    sent to the committee by a medical staff member in an internal ward of one of the largest hospitals in
    Israel, describing numerous hospitalizations in his ward, all of which point to consistent problematic
    management of post-vaccination adverse events, characterized by lack of caution and professionalism
    and largely stemming from the fact that the ministry of health has never issued clear guidelines in this
    regard The cases described in this letter include a variety of pathologies, which occurred right after
    taking the Pfizer vaccine and led to hospitalization, including ITP, neutropenia, chest pain, vasculitis,
    fever, speech disorder, high blood pressure, acute renal failure and bradycardia. In every single case,
    the physicians refrained from linking the vaccine to the event that led to the hospitalization, didn't even
    mention the vaccine in the patient's medical file, and didn't report the case to any external party. The
    letter states,for example:"[The case] was not reported to any external party, and if the family brought
    up the subject,they were simply told that there was no connection between [the vaccine and the event]
    because bradycardia takes a long time to develop". About another case: "Even chest pain near the
    vaccine site with an increase in troponin in a patient lacking a cardiac background was not treated as a
    possible result of the vaccine. Of course it was not reported to the ministry of health and was not
    discussed with the patient". Another example:"I admitted the patient to the ward and questioned him
     why he had been hospitalized. He did not even mention the vaccine, and only after I asked him did he
     mentidn that the speech disorder appeared a few hours after he received the vaccination. The doctor
     on dut|later came to ask him some questions, and the patient didn't even mention the vaccine to him.
     Even after I hinted to the doctor that it might be worthwhile to check out a connection to the vaccine,
     he ignored me. An intensive care consultation was ordered,and the doctor on-call examined the patient
     and to d the doctor on duty that she had to consult with the senior physician about the various
     diagnojses. I hinted to her that it might be worthwhile checking a connection to the vaccine, but she
     brushe^ me aside with the answer,'OK, OK,there could be a thousand reasons for this'...". One more
     exampje:"Although the diagnosis of vasculitis is unusual and so is treating it with chemotherapy, the
     doctors didn't imagine for a minute that there could be a connection between the diagnosis and the
     vaccine. This is despite the strange coincidence oftwo patients in beds next to each other in the hospital
     having the same diagnosis about 10 days after the vaccine without having similar background diseases
    (the patient with myocarditis was released but was returned to the ward after a few days). I asked a
    senior doctor how he could be sure it was unrelated to the vaccine, and he simply replied that 'It's a
     disease that develops over a long period of time,so there's no way it was caused by the vaccine'...". He
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    claims that what makes the situation even worse is the fact that the doctors are relying on the principle
    of evidence-based medicine,so they refrain from reporting a phenomenon that is not recognized in the
    medical literature. As he wrote it, "Even if he (the doctor) is an independent thinker, at the end of the
    day a diagnosis in the patient's file must be backed by the professional literature. If the literature
    doesn't talk about it (or the literature is not written in a textbook that the internal medicine doctor
    deems acceptable) he simply will not write it down. If it hasn't been researched, it doesn't exist". This
    testimony of a medical-staff member shows the diagnostic tendency to outright reject any connection
     between the side effect and the vaccine, leading to a significant non-reporting of vaccine-related side
    effects from hospitals and clinics.

    Statements that no one in Israel died from the vaccine, but only with the vaccine,are heard from senior
    health officials(for example. Prof. Galia Rahav, March 2021)"^ while the fact is that hundreds of people
    in Israel died right after receiving the vaccine, and excess mortality has also been reported in countries
     with high immunization rates, with mortality after vaccination standing at approximately 1:25000. The
     health care system's behavior stands in stark contrast to the accepted medical codes, according to
    which deaths and serious illness caused after any medical treatment should be attributed to the
    treatment itself unless proven otherwise. Regardless of whether a patient suffering from an abnormal
    health event after receiving the Covid-19 vaccine, or the doctor treating him, believes that the event is
    related to the vaccine or not, it is essential that any such event (large or small) be reported in the
    system. We can only discover the causal relationship between the vaccine and a particular health event
    with the passage of time and with the accumulation of data regarding the frequency of such events
    during the vaccination period, and by comparing it with past data. Ignoring the link between the vaccine
    and exceptional health events that occurred shortly after receiving it completely obliterates our ability
    to collect and analyze the data and draw critical conclusions regarding the safety of the vaccine.
     The lack of an orderly system encouraging the public to report the vaccine side effects is striking in view
     of the Israeli ministry of health's intensive campaign to get people vaccinated, which combined
     intimidation on the one hand with inflated promises on the other. A culture of fear was inculcated in
     the Israeli public not only from the virus itself, but also concerning their right to find out and report the
     vaccine's side effects. This situation has led to an unprecedented deluge of thousands of dire reports
     on social media, which seem to be the only platform where people are still allowed to tell what really
     happened to them.These reports on social media show a disturbing picture of a large number ofserious
     side effects and deaths, which were observed in all age groups in the population shortly after receiving
     the corona vaccine. We wonder how could such a widespread phenomenon of social media reports
     about vaccine-related side effects receive no response from the ministry of health, which is supposed
     to monitor and analyze these effects, nor media coverage or response from any public figures. Needless
     to say, we assume, how much the tendency to deny, hide and ignore the plight of people, who are
     caught up in the statistics of side effects, further intensifies their distress, sense of chaos and anxiety.



       httDs://www.facebook.com/1154000821406625/videos/456037805598468/

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     It certainly does not aid In their recovery process during the crisis, but perhaps quite the opposite. In
     this context, here is a post by Dr. Michal Haran on her Facebook page dated April 9,2021:"Almost every
     day at least one person turns to me who got ill after taking the vaccine and is suffering from conditions
     that none of the doctors he approached knows how to treat. What characterizes almost all of these
     people is a sense of despair and hopelessness. They come to me as a last resort in the hope that I can
     help them and find a cure for their illness".

     The absence of any processes for monitoring, examining and reporting side effects, which observed
     shortly after receiving Pfizer's Covid-19 vaccine, prevents establishing the safety of the new vaccine,
     mapping the risks associated with it, and providing citizens with the information they need. It precludes
     taking the appropriate measures to identify people at higher risk of developing symptoms and
     recommending procedures to reduce their risk, and further raises the worry that the lack of
     contraindications for populations at higher risk for vaccinations has unnecessarily harmed the health of
     the country's citizens and caused excess mortality. We cannot abstain from asking ourselves whether
     carryirjg out a mass vaccination operation deemed as experimental in an entire country,in the complete
     absencje of professional and acceptable infrastructure for monitoring and reporting side effects, is an
     extrerne systemic negligence of the Israeli ministry of health or worse - an intentional act of a cover-
     up whose aim is to help Pfizer evade its obligation to report to the FDA any unusual event within a
     month of dispensing the vaccine, whether or not it is attributed to the vaccine. Either way, the dire
     implications are that medical ethics have been apparently sacrificed on the altar of the vaccination
     campaign. This is not only an issue of irreparably destroying the public's trust in medicine.The egregious
     gap between the reality on the ground and the information published by the Israeli ministry of health
     and the Israeli media raises the concern of dangerously deceiving not only Israeli citizens but people
     around the world, who view Israel as the research laboratory of Pfizer's corona vaccine.Such deception,
     whether caused by negligence or deliberate intent, can cause serious, life-threatening, damage to all of
     humanity on earth.

     EPILOGUE

     Dr. Pinky Feinstein: Never has a vaccine injured so manyl
     When I decided a few months ago to found the People's Committee, I did so out of a strong feeling that
     humanity, especially in the Western world, is under a powerful attack threatening the foundations of
     its existence — socially, economically, politically and medically.The impression of attack stemmed from
     observing the combination of an extreme lockdown policy, followed by an aggressive, deceptive, and
     lethal vaccination campaign. A campaign that aims at accomplishing the rapid, uncontrolled vaccination
     of a very large population, devoid of any monitoring, protective, ethical and precautionary mechanisms
     designed to protect citizens from dangerous and hasty medical interventions.
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     When j look at the table of side effects we have publicized here, which reflects only a small fragment
     of the reality in Israel, I find it difficult not to be shocked in view of the number of body systems that
     experiemced a "biological attack" after the Pfizer vaccination, an attack that ended in death in a
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     significant number of cases. When I look at the table of mortality reports from the vaccines in the United
     States — again only part of the real situation — showing a jump of thousands of percent in deaths
     following vaccines Just in the first quarter of 2021 alone, I am shocked again. And it is clear to me that
     this will not be the last shock of mine concerning what is transpiring in Israel and around the world due
     to the new mRNA technology, which is currently in advanced stages of mass experimentation, under a
     propaganda blitz to penetrate the public as massively and widely as possible.
     There has never been a vaccine, which has caused damage to so many(and it is not clear whether it is
     really a vaccine or a genetic experiment), and whose both immediate and long-term consequences are
     uncertain and alarming. There has never been a local or a global campaign that almost completely
     ignores the grave cost of rushing through a medical intervention on which there is no consensus, while
     mounting at the same time a vehement and aggressive attempt to silence opposing opinions or doubts
     regarding its correctness.

     This is how mankind is trapped into a consciousness attack, which is sacrificing human rights at an
     unparalleled level for the purpose of carrying out mass experimentation while using multiple means of
     intimidation and pressure. The human body is similarly being forced to absorb, contain and deal with a
     new technology, which in many cases has disrupted defensive, regulatory and adaptive mechanisms,
     causing damage to vital systems and bringing on premature collapse, suffering and pain. Furthermore,
     it seems that the medical system is also under a massive assault. Most doctors do not have the
     information,tools or guidelines of how to treat people who experience side effects due to the vaccine,
     and they are additionally subject to constant pressure to cover up the vaccine's harm and even
     encourage patients to be vaccinated without solid evidence about the safeness of the vaccine.
     It is generally thought that a psychotic state reflects an emotional system collapse and a severe loss of
     balance between various mental forces. When in a psychotic state, a person's assessment and
     perception of reality become flawed and the same is true for his decision-making processes. An
     onlooker clearly sees that a person in a psychotic attack has left the normal trajectory of life and entered
     a world of conceptualizations and feelings that distort his perception of reality and Judgment. When I
     am looking, shocked, at the list of side effects showing multi-systemic harm and a dramatic increase in
     mortality due to the vaccines, similar to the report coming from the United States, wondering how
     come there hasn't been a sharp public debate to halt these attack processes, I can only conclude that
     parts of western society are enmeshed in a kind of "social psychosis". A social psychosis, in which moral
     Judgment as well as health paradigm has been shattered to pieces, replaced by a mindset based
     primarily on fear. It is a fear that leads to silencing, denial, extreme behavior harmful to human beings,
     and excessive adherence to a one and only way of thinking, regardless of its price and possible
     consequences. It is worthwhile emphasizing that most psychotic individuals feel under an intense
     attack, which comes from within themselves. Just as we believe is happening now.

     Anyone who sees himself as part of the human fabric should be losing sleep over our report of adverse
     effects related to the corona vaccine. The parents among us should especially be on guard and do

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     everything legitimately possible to prevent this psychosis from migrating to our children's young bodies.
     There Is no reason whatsoever to risk their health and force them to undergo a kind of "Russian
     rouletlte". No one knows today who will or will not be harmed by the vaccine. We are In the dark
     concerning the harm It may do to children's development and body systems, and whether God forbid
     It can make them permanently handicapped or even cause their death. And children are not at any risk
     from Govld-191

     Given the massive list of side effects, which contains only a small fraction of the reality, and
     nevertheless did not arouse any public figure to shout, protest or call to stop and think, and In view of
     the declared Intention to Implement this mass vaccination experiment on children without any medical
     justlflqatlon, we can only conclude that this Is a type of social psychosis driven by a government whose
     values of human compassion and loving kindness are non-existent. In such a situation,the citizens have
     no chciice but to rely on their own values, determine their own priorities, and act to the best of their
     ability to deal with the new situation, while maintaining an uncompromising struggle for their own
     sanity and the restoration of social sanity to our country and the worldwide.
     This Is what we In the People's Committee have undertaken to do. For us,the battle has just begun. We
     are here to act and Influence until the grip of the local and global social psychosis Is released and
     replaced with healing and recovery processes. The people, who have unfortunately been harmed by
     the vaccine, are the physical evidence of the price of this social psychosis, and we hope they will be
     healed soon. We send our condolences and embrace to the families, who have lost loved ones In this
     process, and let them know that they are not alone.




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     DETAILS ABOUT THE ISRAELI PEOPLE'S COMMITTEE:

    The Israeli People's Committee is an independent and apolitical group of Israeli citizens, who vary in
    their worldviews and areas of expertise. Among us there are physicians, lawyers, scientists and
    researchers from a wide range of academic disciplines. The glue that binds us together is our deep
    concern with respect to the safety of the Israeli people and the fate of our country in view of the chaotic
    vortex,which was orchestrated by the Israeli leadership during the last year in the shadow of the corona
    crisis, and which the Israeli public finds itself trapped in. In the vacuum that was created due to the
    disintegration of all the systems of our country, we arrive at the understanding that the cure for all the
    (health, moral,social, economic) ills, which were brought by the spin of the irresponsible government's
    management of the corona crisis, must come from the people. We therefore banded together recently
    and established The Israeli People's Committee in an attempt to of initiate a process of investigation,
    exposure, change, correction and recovery, and with the hope to encourage many other Israeli citizens
    to follow us and join our self-healing Journey.

     The link to our website: https://www.the-people-committee.com/

     For contact, please email us at the.people.committee@gmail.com




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     APPENDIX -STATISTICAL ANALYSIS


     METHODOLOGY:

     Our statistical analysis, whose main insights were described in chapter 2, aims at understanding the
     cause of the abnormal excess mortality observed in Israel during the corona vaccination campaign.The
     analys|s indicates a statistically significant relationship between the daily overall mortality data and the
     daily \|accination data. It also provides estimates for the length of the time window between the
     vaccinjation event and the subsequent death event, as well as estimates for the ratio of the number of
     post-vaccination death events to the number of vaccinated people,for the entire Israeli population and
     in segmentation of the population into different age groups.
     The analysis is based on the following linear regression model:                                 where the
     independent variable F, is the number of corona vaccinated on day r,the dependent variable                is
     the number of deaths on day t+ A,and s, is the error variable. The sample period is January-March
     2021,the midst of the corona vaccine campaign in Israel. The sample includes daily observations of the
     number of corona vaccinated in Israel, as published by the ministry of health,for all days within the first
     quarter of 2021. It also includes daily observations of the number of deaths in Israel, as published by
     the Central Bureau of Statistics,for the same period.
     The regression model was run multiple times, with each run based on the entire series of observations
     of the daily number of corona vaccinated in Israel for all days t within the Israeli vaccination campaign
     periodj January-March 2021,and the series of daily observations of the number of deaths in Israel in a
     time difference A from the vaccination date t, where the lag A varies between runs. We apply the
     analyses to the entire Israeli population and also to three age groups: a young group of ages 20-49, an
     intermediate group of ages 50-69,and an older group of ages 70 and up. In each of the four populations
     examined, we searched for the optimal lag A, which results in the highest correlation between the
     daily mortality data and the daily vaccination data, and used the slope of the corresponding regression
     line to estimate the ratio of dead to vaccinated within the specific population.

     We implemented three different measures with respect to the independent variable V,: the number
     of vaccinated in the first or second dose on day r,the number of vaccinated in the first dose on day /,
     and the number of vaccinated in the second dose on day t. The results are statistically significant when
     referring to either the two vaccine doses together or each of them alone, but the highest correlation is
     obtained in the regressions where the independent variable V, is calculated as the number of
     vaccinated in the second dose on day r. We thus derived our main estimates based on the regressions
     that link the mortality data to the second vaccination dose data. The results of these regressions are
     given below.




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     THE RESULTS FOR THE ENTIRE POPULATION:

                     Vaccination                                          Regression   Regression
      Lag in days                       Mortality date                                                          Pearson
                      date range                            Sample size    intercept     slope      p-value
          A                             range /+ A                                                             correlation
                           t                                                 a             B
          0         10 Jan - 31 March   10 Jan-31 March         81          142.8      0.000263     1.344E-4     0.412
          1         10 Jan - 31 March    11 Jan -1 April        81          142.7      0.000254     2.264E-4     0.399
          2         10 Jan - 31 March    12 Jan-2 April         81          140.8      0.000282     4.428E-5     0.437
          3         10 Jan - 31 March    13 Jan-3 April         81          136.4      0.000346     4.874E-7     0.525
          4         10 Jan - 31 March    14 Jan-4 April         81          138.8      0.000294     2.629E-5     0.449
          5         10 Jan-31 March      IS Jan - 5 April       81          138.6      0.000292     2.272E-5     0.452
          6         10 Jan-31 March      16 Jan-6 April         81          136.9      0.000319     2.420E-6     0.497
          7         10 Jan - 31 March    17 Jan - 7 April       81          136.5      0.000318     3.197E-6     0.491
          8         10 Jan-31 March      18 Jan - 8 April       81          137.4      0.000285     2.610E-5     0.449
          9         10 Jan-31 March      19 Jan - 9 April       81          136.5      0.000290     2.035E-5     0.454
          10        10 Jan - 31 March   20 Jan -10 April        81          138.5      0.000252     3.012E-4     0.392


     In the entire population,the most significant correlation was obtained with lag of A = 3 days between
     vaccination day and subsequent death day. The intercept 136.4 of the regression line obtained with lag
     of 3 days is within one standard deviation of the average daily mortality in prior year in the entire
     population. The slope of the regression line obtained in the entire population with lag of 3 days is
     0.000346, or 1/3000 after rounding down (showing a more optimistic assessment), implying an
     estimate 1:3000 of the dead to vaccinated ratio within the entire population. The 95% confidence
     interval for this ratio is 1:2118-4532. By applying the estimated ratio of 1:3000to the corona vaccinated
     population in Israel (about 5 million second dose vaccinated), our assessment is that the number of
     deaths following vaccination in Israel currently stands at about 1600-1700 people.

     THE RESULTS FOR THE YOUNG AGE GROUP 20-49:

                     Vaccination                                          Regression   Regression
      Lag in days                       Mortality date                                                          Pearson
                      date range                            Sample size    intercept     slope      p-value
          A                             range / -1- A                                                          correlation
                            t                                                 a            B
          0         10 Jan-31 March     10 Jan-31 March         81           7.0       0.000011     5.420E-1     0.069
          1         10 Jan-31 March      11 Jan-1 April         81           6.6       0.000020     2.692E-1     0.124
          2         lOJan-31 March       12 Jan - 2 April       81           6.4       0.000029     1.146E-1     0.177
          3         10 Jan-31 March      13 Jan - 3 April       81           6.1       0.000036     4.954E-2     0.219
          4         10 Jan-31 March      14 Jan - 4 April       81           6.3       0.000029     1.173E-1     0.175
          5         10 Jan-31 March      IS Jan -5 April        81           6.2       0.000034     6.560E-2     0.206
          6         10 Jan-31 March      16 Jan -6 April        81           5.8       0.000044     1.631E-2     0.266
          7         10 Jan-31 March      17 Jan - 7 April       81           5.8       0.000038     4.353E-2     0.225
          8         10 Jan-31 March      18 Jan -8 April        81           5.3       0.000057     2.173E-3     0.336
          9         10 Jan-31 March      19 Jan -9 April        81           5.3       0.000055     2.976E-3     0.326
          10        10 Jan-31 March     20 Jan-10 April         81           5.7       0.000043     1.951E-2     0.259


     In the young age group 20-49, the most significant correlation was obtained with lag of A = 8 days
     between vaccination day and subsequent death day. The intercept 5.3 of the regression line obtained
     with lag of 8 days is within one standard deviation of the average daily mortality in prior year in the age
     group 20-49. The slope of the regression line obtained in the age group 20-49 with lag of 8 days is
     0.000057, or 1/18000 after rounding down, implying an estimate 1:18000 of the dead to vaccinated
     ratio in ages 20-49. The 95% confidence interval for this ratio is 1:10788-47212.

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     THE RESULTS FOR THE INTERMEDIATE AGE GROUP 50-69:
                     Vaccination                                          Regression   Regression
      Lag Inldays                       Mortality date                                                           Pearson
                      date range                            Sample size    intercept     slope       p-value
                                        range t + A                                                             correlation
                           t                                                 a             B
          0         10 Jan - 31 March   lOJan-31 March          81          25.9       0.000133     1.882E-3      0.340
          1         10 Jan - 31 March    11 Jan -1 April        81          25.6       0.000146     5.348E-4      0.376
          2         10 Jan-31 March      12 Jan - 2 April       81          25.9       0.000131     2.043E-3      0.338
          i         10 Jan-31 March      13 Jan•3 April         81          25.3       0.000162     1.590E-4      0.408
          4         10 Jan - 31 March    14 Jan -4 April        81          24.5       0.000201     1.212E-6      0.509
          5         10 Jan-31 March      IS Jan-5 April         81          24.3       0.000214     1.828E-7      0.541
          6         10 Jan-31 March      16 Jan -6 April        81          24.9       0.000181     1.673E-5      0.459
          7         10 Jan•31 March      17 Jan-7 April         81          25.3       0.000160     1.602E-4      0.407
          8         10 Jan - 31 March    18 Jan -8 April        81          24.7       0.000182     1.769E-5      0.457
          9         10 Jan - 31 March    19 Jan -9 April        81          24.7       0.000172     5.390E-5      0.433
          10        10 Jan-31 March     20 Jan -10 April        81          24.8       0.000167     9.550E-5      0.420


     In the intermediate age group 50-69, the most significant correlation was obtained with lag of A = 5
     days between vaccination day and subsequent death day. The intercept 24.3 of the regression line
     obtained with lag of 5 days is within one standard deviation of the average daily mortality in prior year
     in the age group 50-69. The slope of the regression line obtained in the age group 50-69 with lag of 5
     days is 0.000214,or 1/5000 after rounding down,implying an estimate 1:5000 ofthe dead to vaccinated
              i
     ratio in ages 50-69. The 95% confidence interval for this ratio is 1:3470-7175.

     THE RESULTS FOR THE OLDER AGE GROUP 70+:

                     Vaccination                                          Regression   Regression
      Lag in days                       Mortality date                                                           Pearson
                      date range                            Sample size    intercept     slope       p-value
                                        range t+ A
         40
                           t
                    10 Jan - 31 March   10 Jan - 31 March       81
                                                                             a
                                                                            115.0
                                                                                          0
                                                                                       0.000794     6.541E-9
                                                                                                                correlation

                                                                                                                  0.591
          1         10 Jan - 31 March    11 Jan-1 April         81          115.0      0.000747     6.671E-8      0.557
          2         10 Jan-31 March      12 Jan - 2 April       81          114.3      0.000791     1.436E-8      0.580
          3!        10 Jan-31 March      13 Jan - 3 April       81          112.4      0.000921     6.977E-12     0.671
          4         10 Jan•31 March      14 Jan-4 April         81          113.3      0.000791     1.356E-8      0.580
          5         10 Jan - 31 March    15 Jan-5 April         81          113.2      0.000752     5.075E-8      0.561
          6         10 Jan-31 March      16 Jan - 6 April       81          112.4      0.000831     5.693E-10     0.622
          7         10 Jan-31 March      17 Jan - 7 April       81          111.8      0.000859     8.539E-11     0.644
          8         10 Jan-31 March      18 Jan-8 April         81          111.8      0.000788     2.497E-9      0.603
          9         10 Jan-31 March      19Jan-9 April          81          111.2      0.000792     2.450E-9      0.604
          10        10 Jan-31 March     20 Jan•10 April         81          111.1      0.000782     5.352E-9      0.593


     In the older age group 70+, the most significant correlation was obtained with lag of A = 3 days
     between vaccination day and subsequent death day.The intercept 112.4 of the regression line obtained
     with lag of 3 days is within one standard deviation of the average daily mortality in prior year in the age
    group|o+.The slope of the regression line obtained in the age group 70+ with lag of3 days is 0.000921,
    or 1/1100 after rounding down, implying an estimate 1:1100 of the dead to vaccinated ratio in ages
    70+. The 95% confidence interval for this ratio is 1:871-1443.




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New CDC Director Wants More                                                                                                              "The CDC has failed
                                                                                                                                          America in every way.
                                                                                                                                          Its core competency
Money Despite Agency Faiiures                                                                                                             was supposed to be
                                                                                                                                          infectious disease,
By Bonner Russell Cohen                                                                                                                   and It has irreversibly
Budget cuts will affect the national                                        CDC Failures                                                  lost the faith of the
    security functions of the Centers
for Disease Control and Prevention          •    "CDC Impeded testing capabilities          The agency relied on faulty                   American people,
(CDC), says CDC Director Mandy                   from the outset of the pandemic            science in advancing damaging
                                                                                            guidance on social distancing,
                                                                                                                                          who refuse to take
Cohen.                                           by distributing a faulty test and
  The CDC's spending was cut to pre-             prohibiting use of other effective         masking, and school closures that             its recommendations
pandemic levels in the debt-ceiling deal         tests, causing efforts to combat           led communities that trusted its
                                                                                            authority to impose mandates that
                                                                                                                                          seriously anymore."
signed in June by President Joe Biden.           the outbreak to fall hopelessly
The CDC had a budget of $9 billion               behind."                                   did more damage than good."                   KATY TM-ENTO

and a workforce of 15.000 employees in                                                                                                    CEO

2020.
                                            •    "CDC was repeatedly slow to                The agency communicated                       AUBETTER HEALTH

  The agency needs more funding,                 update its guidelines and public           incomplete and Inconclusive data
                                                 Information based on evolving              as scientific fact and excluded
Cohen told National Public Radio in an
interview on August 1.                           sdentific information showing,             people with opinions that                   legislative, the report says.
  "The CDC is an important national              for instance, that deep cleaning           challenged its preferred narrative."          "Congress must engage in the hard
security asset," Cohen, "I think we              and surface disinfection provided                                                      work of outlining exactly what activi
understand that in a different way than          no real benefit that disease                                                           ties the CDC should and should not
ever before. We need to have a strong            could be spread by airborne                                                            undertake," Zinberg and Keyes write.
asset that can identify threats and              transmission, and that natural                                                         "It should undertake a comprehensive,
                                                 immunity resulting from infection        Source; /oei M.Zmberg. M.O,, J.O., and Drew   center-by-center authorization of the
respond to them quickly so that we can                                                    Keyes, "Unauthorized and Unprepared: Refo
protect everyone's health. ... Cuts are          was real and provided protection         cusing the CDC after C0VID-t9." Paragon       CDC."
not going to allow us to do it. In fact,         that is as good or better as vaccine     Health Institute, August 2023                   The CDC has pursued an ever-wid
we need the right investments to make            protection."                                                                           ening agenda, while public health has
sure we have the data infrastructure                                                                                                    declined, says Katy Talento, CEO of
and the workforce needed to be that                                                                                                     AllBetter Health and a former health
national security asset that the coun      fuse agency with priorities that are far     of executive branch officials to delegate       adviser to President Donald Trump.
try deserves."                             afield from its core mission of control      authority to CDC led to a rapid expan             "The CDC has failed America in
  The cuts to the CDC's budget were        ling and preventing communicable dis         sion of the agency's responsibilities           every way," said Talento. "Its core
made after widespread criticism of the     ease outbreaks. The profusion of pro         beyond its original mission of dealing          competency was supposed to be infec
agency for its response to the COMD-       grams left the agency unprepared for         with communicable diseases," Zinberg            tious disease, and it has irreversibly
19 pandemic.                               the pandemic and distracted it from an       and Keyes write.                                lost the faith of the American people,
                                           effective response."                                                                         who refuse to take its recommendations
Mission Creep                                The Communicable Disease Center,           Social Priorities                               seriously anymore.
The CDC has strayed from its primary       as the CDC was originally known, was         Unfettered by congressional restraints,           "Rather than focusing on doing that
function, says a report titled "Unau       created on July 1, 1946, through execu       the CDC "grew by acquisition," adding           one job well, the CDC has expanded
thorized and Unprepared; Refocusing        tive action rather than legislation, and     programs in communicable and non-               into unaccountable grantmaking and
the CDC after COVID-19." by Joel M.        started with a budget of $10 million         communicable diseases alike. Zinberg            programs for chronic conditions," said
Zinberg, M.D.. J.D., director ofthe Pub    and fewer than 400 employees.                and Keyes write.                                Talento. "On that front, Americans—
lic Health and American Well-Being                                                        "CDC priorities now include address           especially children—have grown expo
Initiative at the Paragon Health Insti     Success and Expansion                        ing 'the public health consequences of          nentially sicker on its watch, including
tute (PHI) and a senior fellow at the      The CDC's original mission was "to           the climate crisis,' 'reducing racial dis       from Type II diabetes, obesity, autism,
Competitive Enterprise Institute, and      diagnose and control communicable            parities in public health,' addressing          and allergies,"
Drew Keyes, a senior policy analyst        diseases through the application of epi-     'the social determinants of health con            Overbearing policies during the pan
with PHI.                                  demiological science and. with that goal     ditions in the places where people live,        demic raised public awareness of the
  "The CDC's failures during the           in mind, to serve the states with 'train     learn, work, and play' and 'increases           CDC's influence, says Marilyn Single
pandemic undermined public trust."         ing. investigations, and control technol     in injury and violence prevention pro           ton. M.D, J.D.
the report states. "Unless the CDC is      ogy' and surveillance of disease-related     grams that will help to address the               "I like to point out that there were
reformed and refocused on its core mis     threats," the report states-                 growing crisis of domestic, sexual, and         good things that came out ofthe COVID
sion it will be unprepared to act effec      Successes in responding to malaria,        gun violence,'" states the report.              debacle," said Singleton. "It opened
tively in future pandemics which will      polio, and several pandemics, along             The overextended agency made                 everyone's eyes to the consequences of
surely come."                              with the CDC's role in the eradication       numerous missteps during the pan                a sprawling government with unbri
  The CDC has expanded far beyond          of smallpox, boosted the agency's repu       demic, but money wasn't the reason,             dled power and passive acceptance of
its basic purpose. Zinberg and Keyes       tation.                                      the report states.                              incompetence with no accountability.
state.                                       The agency's expansion beyond its            "We cannot rely on the CDC to reform          The CDC has become, as the adage
  "After reviewing the history, organi     original mission was made possible           itself," write Zinberg and Keyes,"[L]ack        goes, a jack-of-all-trades and a master
zation, and pandemic performance of        by the absence of statutory guardrails       of focus and incompetent performance,           of none."
the CDC. we identify the basic prob        from Congress, say Zinberg and Keyes.        not inadequate funding, were the causes
lem as mission creep, abetted by the         "The lack of direct congressional          ofthe CDC's pandemic failures."                 BonnerRussell Cohen,Ph.D.(bcoben®
lack of congressional authorization for    authorization, aggressive efforts by the                                                     nationalcenter.org) is a senior fellow
the agency." Zinberg and Keyes write.      CDC's early directors to expand the          Calls for Congressional Action                  at the National Center for Public Policy
"The CDC has grown into a large, dif-      agency's purview, and the willingness        The remedy for the CDC's failures is            Research.
